Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 1 of 120 PageID #: 6




                      EXHIBIT A
Case 1:21-cv-01782-JRS-DML Document  1-2 Filed 06/16/21 Page 2 of 120 PageID
                            18C03-21 05-PL-000061                         Filed:#: 7
                                                                                 5/28/2021                                       5:13 PM
                                                                                                                                    Clerk
                                                    Delaware Circuit Court 3                                     Delaware County, Indiana




 STATE OF INDIANA                    )                              IN    THE DELAWARE CIRCUIT COURT
                                     )   SS:
 COUNTY OF DELAWARE                  )                              CAUSE NO.



 IVY TECH COMMUNITY COLLEGE                                         )

 OF INDIANA,                                                        )

                                                                    )

                    Plaintiff,                                      )

                                                                    )

           V.                                                       )

                                                                    )
 THE TRAVELERS INDEMNITY COMPANY,                                   )

                                                                    )
                    Defendant.                                      )




                                                      COMPLAINT


           Plaintiff Ivy   Tech Community College 0f Indiana (“Ivy Tech”), by counsel and                         for   its



 Complaint against Defendant The Travelers Indemnity Company (“Travelers”),                          states as follows:


                                                       Introduction

           1.       This lawsuit arises from Travelers’ refusal t0 provide insurance coverage that                       it




 both agreed to provide and for Which          it   accepted premium payments.


           2.       On   0r about   November        24, 2020, an explosion occurred at the Fisher Building              on

 Ivy Tech’s Muncie campus (the “Explosion”).                    The Explosion caused extensive damage              t0 the


 Fisher Building, including the basement of the Fisher Building.


           3.       Prior to the Explosion, Ivy        Tech purchased an insurance policy from Travelers             (the


 “Policy”).     Ivy Tech purchased the Policy           t0,   among     other things, protect Ivy   Tech from damage

 to the Fisher Building in the event       0f such an incident. The Policy was in effect             at the   time of the


 Explosion.


           4.       Thus, following the Explosion, Ivy Tech sought coverage under the Policy for the


 loss or   damage   the Explosion caused to the Fisher Building.
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 3 of 120 PageID #: 8




          5.       Despite the plain terms 0f the Policy, Travelers has repeatedly refused to provide


 the bargained-for and paid-for coverage.                Speciﬁcally, Without any legal basis, Travelers has


 refused t0 provide any coverage for the “Building               damage portion” 0f Ivy Tech’s        claim.


          6.       Although Ivy Tech has — on multiple occasions — advised Travelers 0f the legal and

 factual issues With Travelers” coverage position, Travelers continues to maintain the “Building


 damage portion” 0f Ivy Tech’s claim            is   “not covered” under the Policy.


          7.       Left with n0 other option, Ivy Tech has been forced to ﬁle this suit seeking a


 declaration from the Court stating that the Policy requires Travelers to provide coverage t0 Ivy


 Tech   for the direct physical loss or      damage     to the Fisher Building       caused by or resulting from the


 Explosion.


          8.       Ivy Tech also seeks to recover the damages              it   has incurred as a result of Travelers”


 wrongful denial.


                                                         I’W_tieS


          9.       Ivy Tech     Community College         is   a state educational institution under Indiana    Code

 § 21-22.      Ivy Tech’s principal place of business           is   in Indianapolis, Indiana.     Ivy Tech currently


 offers services at over   40 locations, including on a campus located                in   Muncie, Indiana.

          10.      Travelers    is   an insurance company organized and existing under the laws of the


 State of Connecticut, with       its   principal place 0f business located in Hartford, Connecticut.


          1 1.     This Court has personal and subj ect matter jurisdiction over Travelers and this case.


          12.      Venue   is   appropriate in this Court.


                                                Factual Background

                                                      The Explosion

          13.      On   or about     November    24, 2020, an explosion occurred at the Fisher Building            on

 Ivy Tech’s Muncie campus (deﬁned above as the “Explosion”).



                                                           -2-
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 4 of 120 PageID #: 9




          14.        The Explosion caused extensive damage                       t0 the Fisher Building, including the


 basement 0f the Fisher Building.

          15.       Ivy Tech has incurred signiﬁcant damages and losses as a direct result 0f the


 Explosion.


                                                           The Policy

          16.       Prior to the Explosion, Travelers issued Ivy                    Tech a property insurance   policy,


 Policy No.     KTKCMB-1D9 1 7688               (deﬁned above as the “Policy”).         A true and accurate copy 0f the
 Policy   is   attached hereto, and incorporated herein, as Exhibit A.


          17.       The Policy     is   effective     from July   10,    2020   to July 10, 2021.


          18.       Among    other things, the Policy provides coverage for direct physical loss 0r


 damage    t0 the Fisher Building         caused by or resulting from the Explosion.


                            Travelers’ Coverage Position                 and Claims-Handling

                                                           The Denial

          19.       After the Explosion, Ivy Tech submitted a claim t0 Travelers t0 recover the losses


 or   damages caused by the Explosion                (the “Claim”).


          20.       On   January 14, 2021, Travelers denied the Claim, contending that “the Building


 damage portion” of the Claim                 “is   not covered” under the Policy because “no Building value         is



 listed for the loss location in [Ivy Tech’s]            most recent Statement 0f Values[.]”        A true and accurate

 copy of Travelers’ January             14,   2021 denial    letter is   attached hereto, and incorporated herein, as


 Exh ibit B.

          21.       Travelers’ position selectively and unfairly reads the Policy to distort the available


 coverage.


          22.       Put simply, Travelers has misrepresented the Policy terms, misrepresented 0r


 ignored the relevant     facts,   and misstated the available coverages.


                                                               -3-
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 5 of 120 PageID #: 10




               23.         By    refusing to provide full coverage for the Claim, Travelers has breached                 its



  obligations under the Policy and denied Ivy               Tech the bargained-for beneﬁt 0f the Policy.

                                               The Bad Faith Claims-Handling

               24.         In repeatedly denying full coverage for the Claim, Travelers has taken a coverage


  position         Which   is   inconsistent with the Policy and the relevant facts.


               25.         After Ivy Tech received Travelers’ denial, Ivy Tech advised Travelers of the legal


  and factual issues with Travelers’ coverage position and presented Travelers with                        facts   showing

  there   is   coverage under the Policy for the “Building damage portion” of the Claim.                      A true    and

  accurate copy of Ivy Tech’s February 10, 2021 letter to Travelers                         is   attached hereto, and


  incorporated herein, as Exhibit C.


               26.         Despite being informed of the legal and factual issues With           its   coverage position,


  Travelers continues to deny coverage for the “Building                damage portion” of the Claim.

               27.         Travelers has, in effect, misrepresented the terms 0f the Policy and the relevant


  facts in     an apparent attempt to pressure Ivy Tech t0 abandon           its full   Claim.


                                               Request for Declaratorv Relief

               28.         Ivy Tech repeats, realleges, and incorporates    all   preceding paragraphs as      if fully set



  forth herein.


               29.         The Policy     requires Travelers t0 provide coverage t0 Ivy            Tech    for the direct


  physical loss or          damage     t0 the Fisher Building caused   by 0r resulting from the Explosion.

               30.         Travelers has repeatedly refused t0 provide any coverage t0 Ivy Tech for the direct


  physical loss or          damage     to the Fisher Building caused   by or resulting from      the Explosion.


               3   1.      The   parties disagree about their respective rights    and obligations under the Policy,

  and a justiciable controversy             exists   between Ivy Tech and Travelers regarding those            rights   and

  obligations.
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 6 of 120 PageID #: 11




            32.    Ivy Tech seeks a declaration from the Court stating that the Policy requires


  Travelers to provide coverage to Ivy Tech for the direct physical loss or            damage    to the Fisher


  Building caused by 0r resulting from the Explosion.


                                               Breach 0f Contract

            33.    Ivy Tech repeats, realleges, and incorporates     all   preceding paragraphs as    if ﬁllly set


  forth herein.


            34.    The Policy   is   a valid, binding, and enforceable contract 0f insurance.


            35.    The Policy    requires Travelers t0 provide coverage to Ivy           Tech   for the direct


  physical loss or   damage   to the Fisher Building caused     by or resulting from   the Explosion.


            36.    Travelers has failed t0 provide the coverage required under the Policy. In doing so,


  Travelers has breached the terms 0f the Policy.


            37.    A11 conditions precedent to bringing this action have been performed, have


  occurred, 0r have been excused or waived.


            38.    Ivy Tech has been (and continues to be) damaged as a result 0f Travelers” breach


  of the Policy.


                                                   Bad Faith

            39.    Ivy Tech repeats, realleges, and incorporates     all   preceding paragraphs as    if fully set


  forth herein.


            40.    Travelers has refused to pay amounts         owed under    the Policy and misrepresented


  the coverages available under the Policy in an apparent effort to pressure Ivy         Tech   t0   abandon   its



  full   Claim.


            41.    Travelers has failed to fully consider the coverages provided under the Policy and


  wrongﬁllly continued t0 deny coverage owed t0 Ivy Tech Without reasonable justiﬁcation and


  despite being informed that such coverage        is   owed.


                                                         -5-
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 7 of 120 PageID #: 12




            42.      Travelers has acted with dishonest purpose, moral obliquity, furtive design, and                              ill




  will,   thereby breaching       its   duties 0f good faith      and   fair dealing.



            43.      As   a result, Ivy       Tech has been (and continues         to be)   damaged by        Travelers’ actions


  and inactions and       is   entitled to    both compensatory and punitive damages.


            WHEREFORE,             Ivy Tech, by counsel, prays            for:   (1) a declaratory action stating that the


  Policy requires Travelers to provide coverage to Ivy Tech for the direct physical loss or                                   damage

  to the Fisher Building         caused by or resulting from the Explosion;                 (2) a   judgment     in favor      of Ivy


  Tech and against Travelers             in   an amount that Will ﬁllly compensate Ivy Tech for                 its   damages and

  losses resulting    from Travelers’ breach of the Policy;                    (3) a   judgment     in favor   of Ivy Tech and

  against Travelers in an          amount       that will fully    compensate Ivy Tech for            its   damages and        losses


  resulting   from Travelers’ breach 0f its duties 0f good faith and fair dealing, including consequential

  and incidental damages and prejudgment                  interest; (4)   an award of punitive damages;                (5)   an award


  of costs, attorney   fees,     and    litigation   expenses in this action, with        interest; (6)     an award of fees and


  costs incurred in connection With Ivy’s Tech’s investigation, analysis,                      and pursuit of third-parties,

  as necessitated    by   Traveler’s wrongful denial and breach of the Policy; and (7)                         all    other just and


  proper   relief.



                                                             Respectfully submitted,



                                                             /s/   Nicholas B. Reuhs
                                                             Nicholas B. Reuhs, Attorney N0. 3 1 18 1 -49
                                                              Samuel B. Gardner, Attorney N0. 32825-29
                                                             ICE MILLER LLP
                                                             One American Square
                                                              Suite     2900
                                                             Indianapolis,       IN 46282-0200
                                                              (317) 236-2100
                                                             Nicholas.Reuhs@icemiller.com
                                                              Samuel.Gardner@icemiller.com


                                                             Attorneys for Plaintiff
                                                             Ivy Tech      Community College of Indiana
                                                               -6-
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 8 of 120 PageID #: 13




                                      REQUEST FOR JURY TRIAL

          Plaintiff Ivy   Tech Community College of Indiana respectfully requests that all issues herein

  properly triable by jury be so   tried.




                                                   /s/   Nicholas B. Reuhs
                                                   Nicholas B. Reuhs
                                                   ICE MILLER LLP
                                                   One American Square
                                                   Suite   2900
                                                   Indianapolsis,   IN 46282-0200




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Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 9 of 120 PageID
                            18C03-2105-PL-000061                             #:5/28/2021
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                                                                                                 Clerk
                                   Delaware Circuit Court 3                   Delaware County, Indiana




                     EXHIBIT A
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 10 of 120 PageID #: 15


                                                                                                                         Ms   01 00 1o 18
                            THE TRAVELERS INSURANCE COMPANIES
                                                      One Tower Square
                                                              CT 06183
                                                      Hartford,


                                                     DECLARATIONS

Policy Number:                 KTK-CMB-1 D91768—8-20                                               Issue Date:        07/1 3/2020


NAMED INSURED AND MAILING ADDRESS:
IW TECH COMMUNITY COLLEGE OF
INDIANA
50 WEST FALL CREEK PKWY N. DR.
INDIANAPOLIS, IN 46208


POLICY PERIOD:                          FROM:          07/10/2020                            TO:       07/10/2021

Effective 12:01 a.m. at description   and   location of property covered.


POLICY TERRITORY: The          United States of America and           Canada

COVERAGE FORMS AND ENDORSEMENTS FORMING A PART OF THIS                                              POLICY:
The complete    policy consists of this Declarations   and the Supplemental Coverage Declarations and the forms                     listed
on   MS CO 02   07 99.

PREMIUM:          $ 554,572



INSURING COMPANIES:
In return for payment of the premium, the Company agrees with the Named Insured to provide the insurance
afforded by this policy. That insurance will be provided by the Company designated by an “X" below.


X




MMCSQ/g
       The Travelers Indemnity Company




Secretary



The company
representative.
                listed   above has executed
                                              (a   Stock Company)




                                              this policy, but   it   is
                                                                           ﬂ
                                                                          President



                                                                           valid only   if   countersigned by our authorized



PRODUCER NAME AND ADDRESS                                                 Countersigned by:
A J GALLAGHER RMS                                                                                             (Authorized Representative)
2850 GOLF RD                                                                                  Date:
ROLLING MEADOWS, IL 60008




                                                          Page        1    of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 11 of 120 PageID #: 16

                                                                                                     MS CO   O1 O7 99




                                                 NAMED INSURED

In   addition to thefirst Named Insured shown in the Declarations, the following are added as Named Insured, as

their interest   may appear with respect to insurance provided under this policy for the first Named Insured shown   in
the Declarations:

 IVY    TECH FOUNDATION




 KTK—CMB-1 D91768-8—20                             Page   1   of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 12 of 120 PageID #: 17

                                                                                         MS CO    02 O7 99

                                                                 INDEX 0F FORMS

   Named   Insured                                                                    MS COO’I 07 99
   Index of Forms                                                                     MS C002 O7 99
   Supplemental Coverage Declarations                                                 MS C0031018
   Property Coverage Form                                                             MS C1 00 1O 18
   Business Income and/or Rental Value Coverage Form Including Extra Expense          MS C1 01 1O 18
   Earthquake, Volcanic Eruption, Landslide and Mine Subsidence                       MS 0204 1O 18
   Flood                                                                              MS C2 06 10 18
   Boilerand Machinery                                                                MS C21010 18
   ElectronicVandalism                                                                MSCZ191O 18
   Exclusion Nuclear Hazard War            Military Action   & Pathogenic             MS CZ 37 09 02
   Builders Risk                                                                      MS C3 01 10 18
   Contractors Equipment                                                              MS C309 1O 18
   Expediting Expenses — Boiler and Machinery                                         MS 032007 99
   Utility Services - Direct Damage                                                   MS C327 1018
   Utility   Services   -
                            Time Element                                              MS C409 1018
                                        and Definitions Form
   Policy Conditions, Additional Provisions                                           MS 0501 1018
   Repﬁacement Cost                                                                   MS C5051018
   Errors and Omissions                                                               MS 05261018
   Extra Expense Deductible                                                           MS 05271018
   High Hazard Wind Areas — U.S.A.                                                    MS C6061015
   HH/Mod Haz EQ, Volcanic Eruption, Landslide & Mine Subsidence Areas            -

   U.S.A.                                                                             MS CG 09   10 15
   Indiana Changes - Cancellation and Nonrenewal                                      MS C8 72   10 18
   Indiana Changes                                                                    MS C8 73   10 18
   JURISDICTIONAL INSPECTIONS OF EQUIP IN THE USA(INCL ITS
   TERRITORIES/POSSESSIONS)                                                           PN T1 89   1O 15
   IMPORTANT NOTICE REGARDING INDEPENDENT AGENT AND BROKER
   COMPENSATION                                                                       PN T4 54 01 08
   Terrorism Disclosure                                                               TR IA O1 O1 15
   Cap on Certified Terrorism                                                         TR IA O4 O1 15




                                                              Page   1   of   1


    KTK-CMB-1 D91 768—8—20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 13 of 120 PageID #: 18

                                                                                                                        MS CO   O3 1O 18
                                      Supplemental Coverage Declarations
   READ THE ENTIRE POLICY CAREFULLY TO DETERMINE RIGHTS, DUTIES AND WHAT                                                  IS   AND   IS
   NOT COVERED.

    A.   POLICY LIMIT: In no event shall liability under this policy arising out of one occurrence exceed
         $1 ,OO0,000,000, nor shall liability exceed any specific Limit of Insurance applying to any insured
         loss,   coverage or         Iocation(s).


    B.   LIMITS        OF INSURANCE — For application of Limits of Insurance, refer to Conditions A.2.                         and
         A.3.    in   the Policy Conditions, Additional Provisions and Definitions Form:


         1.                       any one occurrence:
                      Buildings‘ in                                                                                            Included
                      Included means, included in the Policy Limit.


                      Business Personal Property excluding Personal Property 0f
                      Others, in any one occurrence:                                                                           Included
                      Included means, included in the Policy Limit.


                      Personal Property of Others,             in   any one occurrence:                                    1,000,000

                      “Electronic Data Processing Data                   and Media",         in   any one
                      occurrence:                                                                                         50,000,000

                  Accounts Receivable,               in   any one occurrence:                                              1,000,000
                                                                                                                 mwmw



                      Valuable Papers and Records,                  in   any one occurrence:                               1,000,000

                      “Fine Arts”,    in   any one occurrence:                                                             1,000,000

                      Newly Constructed or Acquired Property,                         at   any one   building,
                      in any one occurrence:
                                                                                                                           2,500,000
                        Number of days 120.

                      “Outdoor Property” including Debris Removal, in any one
                      occurrence:                                                                                              250,000
                       Trees, shrubs and plants are subject to a maximum per
                       item   of:                                                                                                2,500

         10.          Personal Effects and “Fine Arts” of Officers and Employees of
                      the Insured:
                       Per Employee:                                                                                             2,500
                       In any one occurrence:                                                                                  250,000

         11.          Covered Property         at   Undescribed Premises,                  in   any one
                      occurrence:                                                                                              500,000

         12.          Covered Property         in   Transit,   in   any one occurrence:                                        500,000

         13.          Debris Removal, in any one occurrence:
                      a.   25% of the sum of the amount paid for Covered Property
                           loss and the applicable deductible.
                      b‘     Additiona! Debris        Removal Expense:                                                     1,000,000

         14.          “Pollutant”    Cleanup and Removal                 ——   Direct   Damage, aggregate
                      in   any one policy year:                                                                                100,000

         15.          Claim Data Expense - Direct Damage,                        in    any one occurrence:                      50,000

                                                                          Page     1   of 7
    KTK—CMB-‘I 091 768—8—20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 14 of 120 PageID #: 19

                                                                                                      MS CO   03 1O 18

        16.    Ordinance or Law
                 Loss to the Undamaged Portion of Buildings,                  in   any one
                    occurrence:                                                                         10,000,000
                    Demolition Cost,any one occurrence:
                                         in                                                               Included
                 Increased Cost of Construction, in any one occurrence:                                   Included
               Included means, included in the Limit shown for Loss to the
               Undamaged         Portion of Buildings.


         17.   Limited “Fungus”,         Wet Rot and Dry Rot Coverage              —-   Direct
               Damage:
               a.      In any one occurrence:                                                                 15,000
                                                                                                 aw
               b.      Aggregate in any one poiicy year:                                                   100,000

         18.   Business Income, in any one occurrence:                                                  55,058,361
                                                                                                 ww
               Rental Value, in any one occurrence:                                                      1,000,000
               Extra Expense, in any one occurrence:                                                       Included
               Included means, included in the Limit shown               for   Business
               Income and Rental Value.

               Ordinary Payroll:          Included


               Extended Business Income or Rental Value                 at    60 days.
                Revised to 90 days.

               Civil   Authority 3O days.


               Ingress or Egress,         in   any one occurrence:                                         100,000
                Number      of miles     1.

                Number      of   days 30.

               “Dependent Property”,            in   any one occurrence:                                 1,000,000

               Newly Acquired Premises               — Time Element,   in   any one
               occurrence:                                                                               1,000,000
                Number      of   days 120.

               “Pollutant”    Clean Up and Removal - Time Element, aggregate
               in   any one   policy year:                                                                    25,000

               Limited “Fungus”,         Wet Rot and Dry Rot Coverage              -—
                                                                                        Time
               Element 30 days.

         19.   Earthquake, Volcanic Eruption, Landslide and Mine
               Subsidence - aggregate in any one policy year, for all losses
               covered under this policy, commencing with the inception date
               of this policy:


               a.      Occurring    in   Alaska, Hawaii or Puerto Rico:                                Not Covered

               b.      Occurring    in   California:                                                   Not Covered

               c.      Occurring in High Hazard Earthquake, Volcanic Eruption,
                       Landslide and Mine Subsidence Areas as per MS CB O9:                            Not Covered




                                                              Page 2   of 7
    KTK—CMB-1 D91 768-8—20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 15 of 120 PageID #: 20

                                                                                                               MS CO   O3 1O 18
               d.         Occurring    Moderate Hazard Earthquake, Volcanic
                                          in

                          Eruption, Landslide and Mine Subsidence Areas as per
                          MS CB     09:                                                                    $     25,000,000

               e.         Occurring anywhere else                 in   the Policy Territory:               $     50,000,000

               If more than one Annual Aggregate Limit applies in any one

               occurrence, the most the Company wiH pay is the highest
               invoived Annual Aggregate Limit. The most the Company will
               pay during each annual period is the largest of the Annual
               Aggregate Limits shown.

        20.    Flood —- aggregate               in   any one     policy year, for    all    losses
               covered under this               policy,       commencing        with the inception date
               of this policy:


               a.         Occurring       in   the Policy Territory resulting from Flood to
                          buildings, structures or propeny in the open within Flood
                          Zone A     or   Zones      A as classified under the
                                                      prefixed
                          National Flood Insurance Program or to property in or on
                          buildings or structures located within such Flood Zones:                         $      5,000,000

               b.         Occurring       in   the Policy Territory resulting from Flood to
                          buildings, structures or property                in   the open within Flood
                          Zone V     or   Zones       prefixed    V    as classified under the
                          National Flood Insurance Program or to property in or on
                          buildings or structures located within such Flood Zones:                              Not Covered

               c.         Occurring anywhere else                 in   the Policy Territory:               $     50,000,000

               Any loss resulting from Flood to a building, structure or
               property in the open which is, at the time of loss, within more
               than one Flood Zone will be subject to the insurance and
               Annual Aggregate                 Limit,   if   any, that would apply under this
               policy      if   that building, structure or property          in the open was

               wholly located within the most hazardous of the Flood Zones,
               as identified in MS CZ 06, in which it is located. The Flood
               Zone that applies to a building or structure will also apply to
               any property in or on such building or structure.

               If,  the time of loss resulting from Flood, the community in
                     at
               which property  is located has been suspended from the

               National Flood Insurance Program, the Flood Zone(s) that
               applied prior to the suspension                     will   be used   in   determining the
               Flood Zone(s) that appiy to the property.

               If more than one Annual Aggregate Limit applies in any one

               occurrence, the most the Company will pay is the highest
               involved Annual Aggregate Limit. The most the Company will
               pay during each annual period is the largest of the Annual
               Aggregate Limits shown.

         21.   Boiler      and Machinery (Insured’s Premises                       only):
               Property      Damage, in any one Accident:                                                          Included

               Business Income, Rental Value and Extra Expense,                                 in   any
               one Accident:                                                                                       Included




                                                                          Page   3 of 7
    KTK—CMB—1 D91768-8—20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 16 of 120 PageID #: 21

                                                                                                                        MS CO   03 1O 18
                Hazardous Substance,                 in    any one Accident:
                 Ammonia Contamination:                                                                             $       100,000
                 Any other substance:                                                                               $       100,000
                Water Damage,              in   any one Accident:                                                   $       100,000

                Consequential Damage,                     in   any one Accident:                                    $       100,000

                Included means, included in the Limit of Insurance that
                otherwise applies under this policy to the coverage for which
                included is indicated.


                Boiler and Machinery (Insured’s Premises only)                               all   coverages
                combined, maximum in any one Accident:                                                              $    100,000,000

          22.   Limited Electronic Vandalism                     Cause    of   Loss Coverage,
                aggregate      in   any one        policy year:                                                     $           25,000

          23.   Builder’s Risk,       in any one occurrence:

                Maximum        at   any one Construction Site:                                                      $      5,000,000
                Maximum        at   all   Construction Sites:                                                       $      5,000,000

                Builder’s Risk, Property At                    Temporary Storage Location:                          $       500,000

                Builder’s Risk, Property              in transit:                                                   $       500,000

          24.   Contractors Equipment — specific amounts of insurance, per
                item, as per schedule on file with the Company, not to exceed
                in any one occurrence:                                                                              $       248,451

                Newly Acquired Contractors Equipment,                            in   any one
                occurrence:                                                                                         $           25,000
                Equipment Rental Expense,                       in   any one occurrence:                            $           25,000

          25.   Expediting Expenses, Boiler                     & Machinery          only,   in   any one
                occurrence:                                                                                         $        100,000

          26.   Errors and Omissions,                in   any one occurrence:                                       $      1,000,000

          27.   Utility   Services        —— in
                                                  any one occurrence:

                Utility   Services,       combined Direct Damage and Time Element,
                including Boiler          and Machinery:                                                            $      5,000,000

     C.   DEDUCTIBLES:           For application of Deductibles, refer to the Application of Deductibles
          conditions   in   the Policy Conditions, Additional Provisions and Definitions Form,


          1.    By Earthquake, Volcanic                    Eruption, Landslide             and Mine
                Subsidence:

                a.     Occurring in Moderate Hazard Earthquake,
                       Volcanic Eruption, Landslide and Mine
                       Subsidence Areas as per                       MS CS     09,    in   any one
                       occurrence:                                                                          2   %   $        100,000
                       Percentage applies per Unit




                                                                        Page 4        of 7
    KTK-CMB-1 D91 768-8-20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 17 of 120 PageID #: 22

                                                                                                                       MS CO   03 1O 18
              b.     Occurring anywhere else in the Policy Territory
                     where Earthquake, Volcanic Eruption, Landslide
                     and Mine Subsidence coverage                    applies,       in    any
                     one occurrence:                                                                               $       100,000

              As    respects Business Income, any applicable percent
              deductible    shown above               applies.


              As    respects Business Income,              if no percent deductible


              applies, the deductible for              Business Income is included
              in   the occurrence deductible,


              As respects Rental Value, any applicable percent
              deductible shown above applies.


              As    respects Rental Value,              if   no percent deductible
              applies, the deductible for Rental                  Va‘ue is included          in

              the occurrence deductible.

              As respects      Extra Expense, the deductible                   is   included
              in   the occurrence deductible.


         2.   By Flood:

              a.     Occurring within Flood Zone      A or Zones prefixed A, as
                     classified     underthe Nationa! Flood Insurance Program,
                     the deductible,        in   any one occurrence            for   each building or
                     structure      and   its   contents separately,        will     be the amount
                     recoverable under the National Flood Insurance Program
                     when     the   maximum amount                of insurance permitted by the
                     National Flood Insurance Program applies, whether or
                      not the coverage           is   purchased or maintained.              in    the
                     event the community                in   which the premises are located
                      has been suspended from the National Flood Insurance
                      Program, each such deductible                  shall instead          be the
                     amount     that   would have been recoverable under the
                      National Flood Insurance Program  if the community had


                      not been suspended and the maximum amount of
                      insurance that would have been permitted by the
                      National Flood Insurance Program applied.
                      In addition,    the following deductible           wiII       apply to property
                      not eligible and coverages not available under the
                      National Flood Insurance Program that are covered
                      under            and any difference in the valuation
                              this policy,

                      between the policies, in any one occurrence:                                                 $       250,000

              b.      Occurring anywhere else in the Policy Territory where
                      Flood coverage applies, in any one occurrence:                                               $       100,000

              As respects Business Income, the deductible                            is   included      in   the
              occurrence deductible.

              As respects Rental Value,                 the deductible    is    included          in   the
              occurrence deductible.



                                                                   Page 5   of 7
    KTK-CMB-1 D91 788-8-20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 18 of 120 PageID #: 23

                                                                                                                    MS CO   03 1O 18
              As respects Extra Expense, the deductible                          is   induded    in   the
              occurrence deductible

              Any  loss resulting from Flood to a building, structure or
              property in the open which is, at the time of loss, within more
              than one Fiood Zone will be subject to the Flood deductible, if
              any, that would apply under this policy if that building,
              structure or property in the open was whoily located within the
              most hazardous ofthe Flood Zones, as identified in MS C2 06,
              in which it is located. The Flood Zone that applies to a building

              or structure will also apply to any property in or on such
              building or structure.


              If,      time of loss resulting from Flood, the community in
                    at the
              which property   is iocated has been suspended from the

              National Flood Insurance Program, the Flood Zone(s) that
              applied prior to the suspension will be used in determining the
              Flood Zone(s) that apply to the property.

         3.   By “Windstorm" or              Hail:


              a.      Occurring   High Hazard Wind Areas, as per
                                       in

                      MS C6        any one occurrence:
                                 06,    in                                                              5   %   $       250,000
                      Percentage applies per Unit

              b.      Occurring anywhere else in the Policy Territory
                      where “Windstorm” or Hail coverage applies, in
                      any one occurrence:                                                                       $       250,000

              As     respects Business Income, any applicable percent
              deductible        shown above           applies.


              As respects Business Income,                    if no percent deductible


              applies, the deductible for                 Business Income is included
               in   the occurrence deductible.


              As     respects Rental Vaiue, any applicable percent
              deductible        shown above           applies.


              As respects Rental                 Value,   if   no percent deductible
               applies, the deductible for Rental                   Value is included      in

              the occurrence deductible.


              As respects     Extra Expense, the deductible                      is   included
               in   the occurrence deductible.


         4.   By Boiler and Machinery, in any one Accident:                                                     $           50,000
              Applicable to Direct Damage, Business Income, Renta|
              Value and Extra Expense.

         5.    To    Contractors Equipment,                    in   any one occurrence:                         $           25,000

         6.    To    Utility   Services      —   Direct   Damage,         including Boiler   and
               Machinew,         in   any one occurrence:                                                       $           50,000

         7.    To Utility Services - Time Eiement, including Boiler and

               Machinery, in any one occurrence:                                                            Hours               24

         8.    To any     other covered toss,              in       any one occurrence:                         $           50,000
                                                                        Page 6   of 7
    KTK-CMB-‘I D91 768-8—20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 19 of 120 PageID #: 24

                                                                                                             MS CO 03       10 18
                  Except to printers and copiers:                                                 $                      10,000

    D.   VALUATION PROVISION: Replacement                 Cost applies as per       MS 05    05, except   as otherwise
         stated within endorsement      MS CS   05, within this Supplemental        Coverage Declarations           or
         elsewhere    in this policy,



    E.   SOLE AGENT PROVISION: For any insurance afforded by this policy, IVY TECH COMMUNITY
         COLLEGE OF INDIANA shall act on behalf of all insureds with respect to the giving and
         receiving of notice of cancellation or nonrenewal, the           payment   of premiums, the receiving of
         return   premiums, and the acceptance of any endorsement issued               to   form a part of   this policy.


    F.   PREMIUM ADJUSTMENT:             This policy   will   be adjusted as needed     for   any changes      in   values
         and premiums.

    G.   ISSUING COMPANY:           Travelers Indemnity       Company     (a   Stock Company)




                                                         Page 7    of 7
    KTK—CMB—1 D91 768—8-20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 20 of 120 PageID #: 25

                                                                                                                                     MS    C1 00 1O 18

                                                    PROPERTY COVERAGE FORM
   Various provisions            in this   policy restrict coverage.     Read the       entire policy carefuily to           determine       rights,
   duties     and what     is   and   is   not covered.

   Words and phrases              that     appear   in   quotation marks have special meaning. Refer to Section D.,
   Definitions, in the Policy Conditions, Additional Provisions                    and    Definitions Form.


   A.    COVERAGE
         The Company    will pay for direct physical loss of or damage to Covered Property caused by or

         resultingfrom a Covered Cause of Loss. Covered Causes of Loss means risks of direct physical loss
         unless the loss is excluded in Section D., Exclusions, limited in Section E‘, Limitations, or otherwise
         extended, excluded or limited in this Coverage Form‘ the Supplemental Coverage Declarations or by
         endorsement. The Company will also pay for Covered Costs and Expenses as described in Section
         B.2.


    B.   COVERED PROPERTY AND COVERED COSTS AND EXPENSES
         Covered Property means the types of property, as described in this Section B1. and                                      limited in
         Section C., Property and Costs Not Covered, for which a Limit of Insurance is shown                                      in   the
         Supplemental Coverage Declarations.

         1.     COVERED PROPERTY
                a.   Buildings, meaning the buildings or other structures at the lnsured’s premises for which a
                     Building value is shown in the most recent Statement of Values or other documentation on
                     file with the Company, including:


                     (1)   Completed         additions;

                     (2)   Fixtures, including outdoor fixtures;

                     (3)   Machinery and equipment permanently attached                         to the building;

                     (4)   Personal property owned by the Insured that                   is   used    to maintain or service the buitdings,
                           structures or grounds;             and

                     (5)   lf   not covered by other insurance:

                           (a)    Additions under construction, alterations and repairs to the buildings or structures;
                                  and
                           (b)    Materials, equipment, supplies and temporary structures, on or within 1,000 feet of
                                  the Insured’s premises, used for making alterations or repairs to the buildings or
                                  structures.

                     Buildings do not include “Outdoor Property" except as provided                              in    Section B.1   .h,


                     Business Personal Property located in or on the buildings or structures at the Insured‘s
                     premises for which a Business Personal Property value is shown in the most recent
                     Statement of Values or other documentation on file with the Company, or in the open (or in a
                     vehicle) within 1,000 feet of such premises, consisting of the following unless otherwise
                     specified in the Supplemental Coverage Declarations:

                     (1)   Furniture        and   fixtures;

                     (2)   Machinery and equipment, including “electronic data processing equipment”;

                     (3) “Stock”;

                     (4)   AH other personal property owned by the Insured and used                              in    the Insured’s business;

                     (5)   Labor, materials or services furnished or arranged by the Insured on personal property of
                           others;




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    KTK-CMB-1D91768—8-20                                             Page   1   0f 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 21 of 120 PageID #: 26

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               (6)   The Insured’s use interest as tenant in improvements and betterments. Improvements
                     and betterments are fixtures, alterations, installations or additions:

                     (a)    Made a     part of the buildings or structures occupied or leased, but not                               owned, by the
                            Insured;   and
                     (b)    Acquired or made            at   the Insured’s expense but which the Insured                       is   not permitted to
                            remove; and

               (7)   Personal Property of Others (including the Insured’s employees) used in the Insured’s
                     business that is in the care, custody, or control of the Insured or for which the Insured has
                     agreed in writing to insure prior to any loss or damage.

                     However, payment by the Company for loss or damage                                 to    Personal Property of Others
                        only be for the account of the owner of the property.
                     will


               Business Personal Property does not include:

               (1)   “Electronic Data Processing Data                  and Media” except as provided                 in   Section B.1      .c.;


               (2)   Accounts Receivable except as provided                      in   Section B.1      .d.;


               (3)   Valuable Papers and Records except as provided                           in   Section B.1     .e.;   or

               (4)   “Fine Arts” except as provided               in   Section   B.1.f.

          c.   “Electronic Data Processing Data and Media”

               at or within1,000 feet ofthe Insured’s premises for which a Building, Business Personal
               Property or “Electronic Data Processing Data and Media” value is shown in the most recent
               Statement of Values or other documentation on file with the Company.

          d.   Accounts Receivable
               meaning accounts receivable records   of the Insured while at or within 1,000 feet of the
               lnsured’s premises for which a Building or Business Personal Property value is shown                                               in   the
               most recent Statement of Values or other documentation on file with the Company, including
               records stored on electronic data processing media. Credit card company charge records will
               be considered accounts receivable records until delivered to the credit card company.

               (1)   The Company          will   pay:

                     (a)    Amounts due the Insured from customers that the Insured is unable to collect
                            because of loss or damage to the lnsured’s accounts receivable records;
                     (b)    Interest charges on any loan required to offset amounts the Insured is unable                                     to
                            collectbecause of loss or damage to the lnsured’s accounts receivable records,
                            pending the Company’s payment of these amounts;
                     (c)    Collection expenses in excess of the Insured’s normal coliection expenses that are
                            made necessary by the loss; and
                     (d)    Other reasonable expenses that the Insured incurs to re—establish the lnsured’s
                            records of accounts receivable.

               (2)   The Company          wil|   not pay for loss or       damage       that requires          an audit of records or any
                     inventory computation to prove                its   factual existence.

               (3)   In the event the Insured cannot accurately establish the amount of accounts receivable

                     outstanding as of the time of loss, the following method will be used:

                     (a)    The Company          will   determine the total of the average monthly amounts of accounts
                            receivable for the 12         months immediately preceding the month in which the loss
                            occurs;
                     (b)    The Company   will adjust the total for any normal fluctuations in the amounts of

                            accounts receivable for the month in which the loss occurred or for any demonstrated
                            variance from the average for that month; and




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    KTK-CMB—1 D91768—8—20                                         Page 2     of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 22 of 120 PageID #: 27

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                     (c)   The foHowing will be deducted from the total amount of accounts receivable, however
                           that amount is established:
                           (i)   The amount of the accounts for which there is no loss;
                           (ii)  The amount of the accounts that the Insured is able to re-establish or collect;
                           (iii) An amount to allow for probable bad debts that the Insured is normaHy unable to

                                collect;  and
                           (iv) All   unearned           interest   and service charges.
          e.   Valuable Papers and Records

               at or within 1,000 feet of the Insured‘s
                                                     premises for which a Building or Business Personal
               Property value is shown in the most recent Statement of Values or other documentation on
               file with the Company. This coverage does not apply to papers and records that exist on

               electronic data processing media, records of accounts receivable, or                                money   or securities.

          f.   “Fine Arts”

               at or within1,000 feet ofthe Insured’s premises for which a Building, Business Personal
               Property or “Fine Arts” value is shown in the most recent Statement of Values or other
               documentation on file with the Company.

          g.   Newly Constructed or Acquired Property meaning:
               (1)   New  buildings while being built on the lnsured’s premises for which a Building or
                     Business Personal Property vaiue is shown in the most recent Statement of Values or
                     other documentation on file with the Company, or on a newly acquired location, including
                     materials, equipment, supplies and temporary structures which are at or within 1,000 feet
                     of the premises;

               (2)   Buildings newly acquired by the Insured at locations other than the Insured’s premises                                 for
                     which a Building or Business Personal Property value is shown in the most recent
                     Statement of Values or other documentation on file with the Company;

               (3)   Buildings the Insured               becomes newly        required to insure under a written contract; and

               (4)   Personai property of a type insured under this policy at or within 1,000 feet of a newly
                     acquired building or a newly acquired location.

               Insurance under             this   coverage     for   each newly constructed or acquired property              will   end when
               any   of the following           first   occurs:

               (1)   This policy      is   cancelled or expires;

               (2)   120 days (or the revised number of days shown for this coverage in the Supplemental
                     Coverage Declarations) expire after the Insured acquires or begins to construct the
                     buildings;

               (3)   The Insured           reports the      new values     to the   Company;       or

               (4)   The property          is   more     specifically insured elsewhere.

               If the Company elects to add the property as Covered Property under this policy, the

               Company wil! charge the Insured additiona! premium for values reported from the date
               construction begins or the Insured acquires the property.

          h.   “Outdoor Property”
               at the lnsured’s  premises for which a Building or Business Personal Property value is shown
               inthe most recent Statement of Values or other documentation on file with the Company, but
               only for loss or damage caused by or resulting from the following Covered Causes of Loss:

               (1)   Fire;


               (2)   Lightning;

               (3)   Explosion;


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    KTK—CMB—1 091 768-8-20                                           Page 3   of   19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 23 of 120 PageID #: 28

                                                                                                                               MS   C1 00 1O 18

               (4)   Riot or   civil   commotion;

               (5)   Vandalism; or

               (6)   Aircraft or vehicles.

               This insurance also applies to the necessary and reasonable expense incurred by the
               Insured to remove debris of “outdoor property” at the Insured‘s premises caused by or
               resulting   from a Covered Cause of Loss   listed above that occurs during the policy period.
               Such expenses        be paid only if reported to the Company in writing within 180 days of the
                                       will

               date of direct physical loss or damage. This will not increase the Limit of Insurance that
               applies to “Outdoor Property”.

          i.   Personal Effects and “Fine Arts” of Officers and Employees of the Insured

               meaning personal effects and “fine ans” owned by officers, partners or employees of the
               Insured. Such property must be located at or within 1,000 feet of the Insured’s premises for
               which a Building or Business Persona! Property value is shown in the most recent Statement
               of Values or other documentation on file with the Company. Payment for loss or damage to
               personal effects and “fine arts" wilI only be for the account of the owner of the property.

          j.   Covered Property               at   Undescribed Premises meaning:

               (1)   Covered Property at an “exhibition" site, including while in transit                            to   and from the
                     “exhibition” site. Coverage for this property applies worldwide.

               (2)   Covered Property that will or has become a permanent part of an installation project
                     being performed for others by the Insured, or on the lnsured’s behalf, while such property
                     is at the installation premises or at other premises where the property is temporarily

                     stored. Coverage for this installation property applies only at premises within the Policy
                     Territory that are not owned, {eased or regularly operated by the Insured and are not
                     otherwise insured underthis policy, and will apply only until the lnsured's interest in the
                     property ceases, the installation is accepted, the installation is abandoned, or this policy
                     is canceued or expires, whichever occurs ﬁrst.


               (3)   Covered Property   at any other premises within the Policy Territory that are not owned,
                     leased or regularly operated by the Insured and are not otherwise insured under this
                     policy.

               This coverage does not apply to personal effects of officers, partners or employees of the
               Insured.

          k.   Covered Property               in   Transit

               meaning Covered Property                  in   due course       of transit at the risk of the Insured:

               (1)   Over the     road,       on inland waters, on          “territorial   waters” or     in air   space   of countries or
                     jurisdictions within the Policy Territory;                 and

               (2)   Over the road, on inland waters, on                    “territorial   waters” or     in air   space of countries or
                     jurisdictions that are not within the Policy Territory, while in the                           due course of transit    at
                     the risk of the Insured between points within the Policy Territory.

               This coverage applies to shipments from the time the Covered Property leaves the initial
               point of shipment and continues until the property is delivered at its destination. In the event
               the Covered Property is not deliverable or is rejected by the consignee, such property will be
               covered while in due course of transit back to the Insured and while temporarily being held by
               the receiver or carrier awaiting                 its   return to the Insured.

               The Company will               also pay   for:


               (1)   Any general average              or salvage charges incurred by the Insured as respects losses to
                     waterborne shipments.




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    KTK-CMB—1 D91768—8—20                                             Page 4   of   19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 24 of 120 PageID #: 29

                                                                                                                                           MS   C1 00 1O 18

                 (2)   The                              in shipments sold on a F.O.B. (Free On Board) basis
                              Insured's contingent interest
                       but only  the event that any loss recoverable hereunder is not collectible from the
                                     in

                       consignee or any other insurance.

                 (3)   Loss    of    Covered Property occasioned by the unintentional acceptance of fraudulent bills
                       of lading, shipping receipts or   messenger receipts by the Insured or any agent, customer
                       or consignee of the Insured.

                 This coverage does not apply to personal effects or “fine arts" of officers, partners or
                 employees of the Insured, or to Covered Property in due course of transit to or from an
                 “exhibition” site or to Covered Property in the custody of any officer, partner or employee of
                 the Insured while temporarily traveling outside of the Policy Territory.

           I.    Covered Property Temporarily Outside of the Policy Territory
                 meaning Covered Property while    in the custody of any officer, partner or employee of the

                 Insured while temporarily traveling outside of the Policy Territory. But this coverage does not
                 apply to Covered Property at, or in due course of transit to or from, an “exhibition".

           Coverages}. Covered Property at Undescribed Premises, k. Covered Property in Transit and                                                      I.


           Covered Property Temporarily Outside of the Policy Territory are each subject to the applicable
           Limit of Insurance specified in the Supplemental Coverage Declarations for the coverage, but in
           no event will the Company pay more for loss or damage to any type of Covered Property than the
           amount that would have been paid for that type of Covered Property if the loss or damage had
           occurred at or within 1,000 feet of the lnsured’s premises.

      2.   COVERED COSTS AND EXPENSES
           Covered Costs and Expenses are the costs and expenses:
           o     Described in Sections B.2.b. through B.2.f. below for which a Limit of Insurance                                           is   shown   in
                 the Supplementa! Coverage Declarations; and

           o     Described in Sections B.2.a. and B.2.g. through B.2.k. below (which may have, but do not
                 require‘ a Limit of Insurance to be shown in the Supplemental Coverage Declarations to
                 apply);

           but   do not include any costs or expenses as                        limited        in   Section C., Property and Costs Not
           Covered.

           a.    Debris Removal

                 (1)   The Company will pay the necessary and reasonable expense incurred by the Insured                                                      to
                       remove debris of Covered Property at the Insured’s premises, other than “outdoor
                       property”, caused by or resulting from a Covered Cause of Loss that occurs during the
                       policy period.Such expenses will be paid only if reported to the Company in writing
                       within180 days of the date of direct physical loss or damage. Coverage for the expense
                       to remove debris of “outdoor property” is provided separately under Section 8.1 .hA of this
                       Coverage Form.

                 (2)   For    this   coverage, the     Company         wiH pay up to                25%    of:


                        (a)    The amount the Company pays                      for the direct physical loss or                   damage    to the
                               Covered Property; plus
                        (b)    The deductible        in this   policy applicable to that direct physical loss or                           damage.
                       This    limit is   part of   and not    in   addition to the Limit of Insurance that applies to the lost or
                       damaged Covered              Property.       But   if:




                       (a)    (i)    The sum   of direct physical loss or                  damage and             debris removal expense exceeds
                                     the Limit of Insurance; or
                              (ii)   The   debris removal       expense exceeds the above                           25%      limitation;
                              and
                       (b)    A     Limit of Insurance    is   speciﬁed         in   the Supplemental Coverage Declarations for
                              Additional Debris       Removal Expense;

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    KTK-CMB-1DQ1768—8~20                                             Page 5          of   19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 25 of 120 PageID #: 30

                                                                                                                                    MS     C1 00 10 18

                     the    Company             will   also pay an additional amount, up to the Limit of Insurance specified                        in
                     the Supplemental                  Coverage Declarations forAdditional Debris Removal Expense,

               (3)   In    no event           will this   coverage apply   to:


                     (a)    Costs to extract “pollutants" from iand or water; or
                     (b)    Costs to remove, restore or replace polluted land or water,

          b.   “Pollutant” Cleanup                      and Removal - Direct Damage
               The Company     will pay the necessary and reasonable expense incurred by the Insured to

               extract “pollutants” from land or water outside of buildings at the Insured’s premises if the
               discharge, dispersal, seepage, migration, release or escape of the “pollutants”                                        is   caused by
               or results from a “specified cause of loss” that occurs during the policy period,

               Such expenses  will be paid only if reported to the Company                               in   writing within       180 days    of the
               date on which the “specified cause of loss” occurs.

               This coverage does not apply to costs to test for, monitor or assess the existence,
               concentration or effects of “pollutants". But the Company will pay for testing that is performed
               in the course of extracting the “pollutants” from the land or water.


               The most       the       Company
                                            pay under this coverage for the sum of all covered expenses
                                                          will

               arising out of           allcause of loss” occurrences that occur during each separate 12
                                              “specified
               month period of this policy (commencing with the inception date of this policy) is the Limit of
               Insurance specified in the Supplemental Coverage Declarations for “Pollutant” Cleanup and
               Removal —           Direct       Damage.
          c.   Decontamination Expense - Direct                          Damage
               (1)   The Company     will pay the necessary and reasonable additional expense incurred by the

                     Insured to repair, replace or dispose of polluted Covered Property at the Insured’s
                     premises caused solely by the enforcement                       of,   or compliance with,           any ordinance or         law,
                     in   effect at the time of loss, that:

                     (a)    Requires the insured to remove “pollutants" from, or detoxify or neutralize “pollutants”
                            in;    or
                     (b)    Regulates removal or disposal                  of;

                     that part ofsuch Covered Property that is polluted as a result of a discharge, dispersal,
                     seepage, migration, release or escape of “poltutants” caused by or resulting from a
                     “specified cause of loss” to Covered Property that occurs during the policy period.

               (2)   This coverage applies onIy to Ioss incurred in complying with the                                 minimum standards           of
                     the ordinance or law. This coverage does not apply to:

                     (a)    Loss due       any ordinance or law that:
                                                to
                            (i)     The         was required to comply with before the
                                               Insured                                                         loss,   even   if   the property   was
                                    undamaged; and
                            (ii)    The insured failed to comply with.

                     (b)    Loss caused by or resulting from the enforcement of any ordinance or law that
                            requires any Insured or others to test for, monitor, or assess the existence,
                            concentration or effects of “pollutants”. But this does not apply to testing that is
                            performed in the course of removing “pollutants” from, or detoxifying or neutralizing
                            “pollutants” in, that part of the Covered Propeny that is polluted as described in
                                                                                                                 (1)
                            above, if the ordinance or law, as enforced, requires such testing.

          d.   Claim Data Expense — Direct                           Damage
               The Company wiIl pay   the reasonable expenses incurred by the Insured in preparing claim
               data required by the                    Company
                                              to adjust a covered loss. This mcludes the cost of taking
               inventories, making appraisals and preparing other documentation to show the extent of loss.
               The Company                will    not   pay   for:




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    KTK—CMB-1 D91768—8-20                                              Page 6 of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 26 of 120 PageID #: 31


                                                                                                                                MS C1 00     1O 18

               (1)   Any expenses                 incurred, directed, or biiled by or payable to attorneys, insurance adjusters
                     or their associates or subsidiaries;

               (2)   Any expenses incurred, directed or billed by or payable to insurance brokers or agents, or
                         associates or subsidiaries, without the Company’s written consent prior to such
                     their
                     expenses being incurred; or

               (3)   Any costs as provided                   in   the Appraisal Loss Condition           in   Section B.2. of the Policy
                     Conditions, Additional Provisions and Definitions Form.

          e.   Ordinance or Law

               (1)   If   loss or     damage by         a Covered Cause of Loss to buildings that are Covered Property
                     results in a requirement to             comply with an ordinance or law that:
                     o      Is in    force at the time of the loss or             damage; and
                     o      Regulates the demolition, construction or repair of buildings, or establishes zoning or
                            land use requirements at the Insured’s premises;

                     the    Company will pay for:
                     (a)    Loss      to the        Undamaged          Portion of Buildings, meaning loss to the undamaged
                            portion of the covered buildings                caused by a requirement to comply with an
                            ordinance or law that requires the demolition of undamaged parts of the                                  same
                            building.

                            If     repIacement cost valuation applies and the property                         is   repaired or replaced   on the
                            same or another premises, the most the Company will pay under this Loss                                   to the
                            Undamaged Portion 0f Buildings coverage is the lesser of:
                            (i)      The cost  to repair, rebuild or reconstruct the undamaged portion of the buildings
                                     that   was
                                              necessarily demolished to comply with the ordinance or law, but not for
                                     more than the amount it would cost to restore that undamaged portion of the
                                     buildings on the same premises and to the same height, ﬂoor area, style and
                                     comparable         quality of the original property insured; or
                             (ii)    The     Limit of Insurance speciﬁed in the             Supplemental Coverage Declarations                 for
                                     Ordinance or Law — Loss              to the      Undamaged      Portion of Buildings.

                              replacement cost valuation applies and the property is not repaired or replaced, or
                             If

                              replacement cost valuation does not apply, the most the Company will pay under
                             if

                            this Loss to the Undamaged Portion of Buildings coverage is the lesser of:

                             (i)     The    actual cash vaIue at the time of loss of the undamaged portion of the
                                     buildings that          was
                                                            necessarily demolished to comply with the ordinance or law; or
                             (ii)    The     Limit of Insurance specified in the Supplemental Coverage Declarations for
                                     Ordinance or Law — Loss              to the      Undamaged      Portion of Buildings.

                     (b)     Demolition Cost, meaning the cost incurred by the Insured to demolish and clear the
                                    undamaged parts of the covered buildings caused by a requirement to
                             sites of
                             comply with an ordinance or law that requires demolition of such undamaged
                             property.

                             The Company              will   not pay   more     for Demolition    Cost than the lesser         of:


                             (i)     The amount the Insured actually spends to demolish and cIear the sites; or
                             (ii)    The Limit of Insurance specified in the Supplemental Coverage Declarations                                for
                                     Ordinance or Law — DemoIition Cost.

                     (c)     Increased Cost of Construction meaning the increased cost incurred by the
                             Insured        to:


                             (i)     Repair or reconstruct damaged portions of the damaged covered buildings; or
                             (ii)    Reconstruct or remodel undamaged portions of the damaged covered buildings,
                                     whether or not demolition             is   required;



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    KTK-CMB—1 D91768-8-20                                              Page 7    of   19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 27 of 120 PageID #: 32

                                                                                                                             MS   C1 00 10 18

                           when  the increased cost is caused by a requirement to comply with the minimum
                           standards of an ordinance or law. This Increased Cost of Construction coverage
                           applies only if the covered buildings are repaired, reconstructed or remodeled, and
                           then only if the restored or remodeled property is intended for similar occupancy as
                           the current property, unless such occupancy is not permitted by zoning or land use
                           ordinance or law.

                           The Company will not pay under this Increased Cost of Construction coverage until
                           the property is actually repaired or replaced, at the same location or elsewhere, and
                           then only if the repairs or replacement are made as soon as reasonably possible after
                           the loss or damage but not to exceed 2 years. The Company may extend this period
                           in     writing during the 2 years.

                           Ifthe buildings are repaired or replaced at the same premises, or if the Insured elects
                           to rebuild at another premises, the most the Company will pay under this Increased
                           Cost of Construction coverage is the lesser of:

                           (i)     The increased cost of construction at the same premises; or
                           (ii)    The Limit of Insurance specified for Ordinance or Law -— Increased Cost                          of
                                   Construction shown in the Supplemental Coverage Declarations.

                           If    the ordinance or law requires relocation to another premises, the most the
                           Company will pay under this      Increased Cost of Construction coverage is the lesser
                           of:


                           (i)     The increased cost of construction incurred at the new premises; or
                           (ii)    The Limit of Insurance specified in the Supplemental Coverage Declarations                            for
                                   Ordinance or Law — Increased Cost of Construction.

               (2)   These Ordinance                 or   Law coverages   apply only in response to the minimum requirements
                     of the ordinance or law.                    Losses and costs incurred in complying with recommended
                     actions or standards that                 exceed actual requirements are not covered.
               (3)   These Ordinance                 or   Law coverages do          not apply   to:


                     (a)   "Vacant” properties;
                     (b)   Any loss due to the Insured’s failure to comply with any ordinance or law that the
                           Insured was required to comply with before the loss, even if the Covered Property
                           was undamaged;
                     (c)   Costs associated with the enforcement of or compliance with any ordinance or law
                           which requires the Insured or others to test for, monitor, clean up, remove, contain,
                           treat, detoxify or neutralize, or in any way respond to, or assess the effects of
                           “pollutants”, “fungus”, wet rot or dry rot; or

                     (d)   Enforcement of or compiiance with any ordinance or law which requires the
                           demolition, repair, replacement, reconstruction, remodeling or remediation of property
                           due to contamination by “pollutants” or proliferation, spread or any activity of
                           “fungus”, wet rot or dry rot.

          f.   Limited “Fungus”,               Wet Rot and Dry Rot Coverage                     -   Direct   Damage
               (1)   The coverage described     in (2) below only applies when the “fungus”, wet rot or dry rot is

                     the result of a “specified cause of loss”, other than fire or lightning, that occurs during the
                     policy period,and only if all reasonable means have been used to save and preserve the
                     property from further damage at the time of and after the occurrence of the “specified
                     cause of        loss”.


               (2)   The Company              will   pay     for direct physical loss of or         damage    to    Covered Property caused
                     by “fungus”, wet           rot       or dry   rot,   including:

                     (a)   The  cost of removal of the “fungus”, wet rot or dry rot;
                     (b)   The  cost to tear out and replace any part of the building or other property as needed
                           to gain access to the “fungus”, wet rot or dry rot; and




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    KTK—CMB—1 D91 768—8-20                                                Page 8   of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 28 of 120 PageID #: 33

                                                                                                                                                         MS   C1 00 1O 18

                       (c)    The cost of testing performed after removal, repair, replacement or restoration of the
                              damaged property is completed, provided there is a reason to believe that “fungus",
                              wet       rot       or dry rot       is   present,

               (3)     The most the Company                              will    pay under        this   coverage       for the total of        all   “fungus”,   wet     rot
                       and dry          rot loss or             damage          arising out of       all   “specified         causes of     loss” (other      than   fire   or
                       lightning) occurring during                          each separate 12 month period                         of this policy       (commencing
                       with the inception date of this policy)
                                                          is the aggregate Limit of Insurance specified                                                              in   the
                       Supplemental Coverage Declarations for Limited “Fungus”, Wet Rot and Dry Rot
                       Coverage —- Direct Damage in any one policy year.
                       When         a Limit of Insurance                        is   also specified        in   the Supplemental Coverage Declarations
                       for Limited             Wet Rot and Dry Rot Coverage — Direct Damage in any one
                                                  “Fungus”,
                       occurrence, that Limit of Insurance is the most the Company will pay under this coverage
                       for all “fungus”, wet rot and dry rot loss or damage arising out of any one occurrence of
                       “specifiedcauses of loss” (other than fire or lightning). That Limit of Insurance is included
                         and will not increase, the aggregate Limit of Insurance specified in the Supplemental
                       in,

                       Coverage Declarations for Limited "Fungus”, Wet Rot and Dry Rot Coverage - Direct
                       Damage in any one policy year.
                       With respect to a particular occurrence of loss which results in “fungus”, wet rot or dry rot,
                       the Company will not pay more than the applicable Limits of Insurance described above,
                       even if the “fungus", wet rot or dry rot continues to be present or active, or recurs, in this
                       or a later policy period.

               (4)     If   there       is   covered loss or               damage to Covered                    Property that       is    not   caused by “fungus",
                       wet    rot or      loss payment will not be limited by the terms of this coverage, except to
                                              dry    rot,

                       the extent that “fungus", wet rot or dry rot causes an increase in the loss. Any such
                       increase              in   the loss       will    be subject       to the     terms of       this      coverage.

               (5)     The terms  of this coverage do not increase or reduce the coverage provided under the
                       Water, Other Liquids, Powder or Molten Material Damage coverage in Section B.2.k. of
                       this Coverage Form or the coverage provided for collapse of buiidings or structures under
                       the Collapse exclusion in Section D.2.h. of this Coverage Form,

          g.   Fire     Department Service Charge
               When          the    fire      department            is   called to       save or protect Covered Property from a Covered
               Cause         of Loss, the                 Company wiH pay                for any fire department service charges incurred by the
               Insured that are:

               (1)     Assumed by                   contract or          agreement          prior to loss; or

               (2)     Required by                  tocal ordinance.

          h.   Fire Protective                     Equipment Discharge
               lf   fire    protective             equipment            at the Insured’s           premises discharges accidentally or                      to control a
               Covered Cause                       of Loss, the           Company          will   pay the Insured’s cost to:
               (1)     Refill      or recharge the system with the extinguishing agents that                                               were discharged; and

               (2)     Replace or repair                        fauIty valves or controls that                   caused the discharge.
          i.   Preservation of Property

               If it   becomes necessary
                                      to temporarily move Covered Property from the insured premises to
               preserve  from the threat of imminent loss or damage by a Covered Cause of Loss, the
                                   it


               Company wilt pay for any direct physical loss or damage to Covered Property while it is being
               moved from the insured premises, while temporarily stored at another location or while it is
               being moved back to the insured premises.

               This coverage                      will   apply only        if   the loss or       damage occurs within 180 days after the property
               is first      moved and                   will   cease when the             policy   is amended to provide insurance at the new




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    KTK—CMB-1 091768—8-20                                                             Page 9      of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 29 of 120 PageID #: 34

                                                                                                                                     MS   C1 00 1O 18

                 location, the property                   is   returned to the existing location, or this policy           is   cancelled or expires,
                 whichever occurs                  first.


                 Protection of Property

                 (1)    If it    becomes necessaryto temporarily move Covered Property from the insured premises
                        to   preserve  from the threat of imminent |oss or damage by a Covered Cause of Loss,
                                             it


                        the Company will pay for the necessary and reasonable expenses actually incurred by
                        the Insured to remove the Covered Property from the insured premises, to temporarily
                        store the removed Covered Property at a location away from the insured premises and to
                        move the Covered Property back to the insured premises within a reasonable time after
                        the threat of imminent loss or damage to the property by the Covered Cause of Loss
                        passes.

                 (2)    The Company will   also pay for other necessary and reasonable expenses actually
                        incurred by the Insured to temporarily safeguard Covered Property against the threat of
                        imminent direct physical Ioss or damage by a “specified cause of loss".

                 (3)    The most the Company will pay under this coverage for the sum of all expenses incurred
                        due to the threat of loss or damage from any one occurrence is $250,000, subject to the
                        following:

                        (a)      When    Earth Movement, Eanhquake, Earthquake Sprinkler Leakage, Volcanic
                                 Eruption, Landslide orMine Subsidence is a “specified cause of loss” under this
                                 policy, the Company’s payment for the sum of all expenses incurred due to the threat
                                 of loss or damage from aH threatened occurrences of ail such “specified causes of
                                 loss" in any one policy year will not exceed $250,000. This Limit of Insurance is not
                                 subject      and does not reduce, the Limits of Insurance that otherwise apply to such
                                             to,
                                 “specified causes of loss”.
                         (b)     When Flood is a “specified cause of loss” under this policy, the Company’s payment
                                 for the sum of ail expenses incurred due to the threat of loss or damage from all
                                 threatened occurrences of such “specified cause of loss" in any one policy year wil!
                                 not exceed $250,000. This Limit of Insurance is not subject to, and does not reduce,
                                 the Limit of Insurance that otherwise applies to such “specified cause of loss”,
                         (c)     If the threat of imminent direct physical loss or damage to Covered Property from the

                                 same occurrence spans over multiple policy years, only the Limit of Insurance that
                                 applies in the policy year in which the expenses are first incurred by the Insured will
                                 apply to the expenses incurred due to the threat of loss or damage from that
                                     occurrence.

                  (4)    This Protection of Property coverage is subject to the deductible that applies to loss or
                         damage to the Covered Property by the Covered Cause of Loss against which the
                         property is being safeguarded.

                 Water, Other Liquids,                         Powder or Molten          Material   Damage
                  If   covered loss or             damage caused by or resulting from water or other liquid, powder or molten
                  material           damage       occurs, the  Company win also pay the necessary cost to tear out and
                  replace any part                of the building or structure to repair damage to the system or appliance from
                  which the water or other substance escapes.

                  This coverage             is    subject to the Limit of Insurance that applies to the covered water or other
                  liquid,      powder or molten material damage                        loss.


    C.   PROPERTY AND COSTS NOT COVERED
         Covered Property and Covered Costs and Expenses do not                                     include:

         1‘   Currency, deeds or other evidences of debt, money, notes, checks, drafts, or securities;

         2.   Contraband, or property                  in      the course of   illegal   transportation or trade;

         3.   Water whether             in its    natural state or otherwise,     above or below ground (except bottled water, or
              water that        is   contained       in     storage tanks at the Insured’s premises and used at such premises in

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    KTK—CMB-1D91768-8-20                                                  Page 1O       of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 30 of 120 PageID #: 35


                                                                                                                             MS     C1 00 1O 18

             the lnsured’s manufacturing or processing operations or for                         fire   protection) watercourses, aquifers
             or the cost of reclaiming or restoring water;

      4.     Land whether in its natural state or otherwise (including land on which the property                              is   located),
             land improvements or the cost of restoring or stabilizing land;

      5.     Grain, hay, straw or other harvested crops while outside of buildings, growing crops or standing
             timber;

      6.     The cost    of excavations, grading, backfiIIing or    This does not apply to costs necessarily
                                                                                filling.

             incurred to repair or replace covered loss or                 damage to Covered
                                                                               Property, but any costs
             associated with land stabilization and land reconstruction are excluded;

      7.     Property sold by the Insured under an installment plan‘ conditional sale, trust agreement or other
             deferred payment plan after deﬁvery to the purchasers;

      8.     Vehicles or self-propelled machines that:

             a.    Are licensed      for   use on public roads; or

             b.    Are operated       principally      away from   the insured premises;

      9.     Aircraft or watercraft;

       10. Live animals;

       11.   Bulkheads,       pilings, piers,    wharves, docks, dikes, dams, canals, sea walls or vehicular bridges;

       12.   Underground tanks (including their contents), pipes, ﬂues, drains or tunnels, or underground and
             overhead wires, alI whether or not connected to buildings, or mines or underground mining
             PVOPeFtY;

       13.   Any   “electronic data processing data              and media” which          is   obsolete or unused by the Insured;

       14.   Human body         parts   and   ﬂuids, including organs, tissue, blood               and     cells;

       15.   With respect to property           in   due course    of transit:

             a.   Shipments by a government postal service, except by registered                              mail;

             b.   Any export or import shipment while covered under an Ocean Marine Cargo or other
                  insurance policy;

             c.   Theft from a conveyance or container while unattended, unless the portion of the conveyance
                  or container containing the Covered Property is fully enclosed and securely locked, and the
                  theft is   by forcible entry of which there         is   visible evidence;

             d.   Property of others for which the Insured                 is   responsible     whﬂe     acting as a   common or contract
                  carrier, car-Ioader, freight forwarder, freight consolidator, freight broker,                        shipping association
                  or similar arranger of transportation, or public                 warehouseman;
             e.   Property while waterborne, except while in transit by inland water carriers or by coastwise
                  vessels operating within ”territorial waters” of countries where coverage applies;

       16. Property that        is   covered under any other policy of insurance in which it is more specifically
             described, except for the excess of the       amount due (whether the Insured can collect on it or                            not)
             from that other insurance;

       17.   Any   of the specific types of        Covered Property described in Section B.1.a. through BAH. ofthis
             Coverage Form           for   which a Limit of Insurance is not shown in the Supplemental Coverage
             Declarations; or

       18.   Any   of the    Covered Costs and Expenses described in Section B.2.b. through                              B.2.f. for   which a
             Limit of Insurance     is not shown in the Supplemental Coverage Declarations.




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    KTK-CMB-1 D91768-8—20                                          Page 11 of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 31 of 120 PageID #: 36

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    D.   EXCLUSIONS
         1   .   The Company will not pay for loss or damage caused directly or indirectly by any of the following.
                 Such loss or damage is exctuded regardless of any other cause or event that contributes
                 concurrentiy or in any sequence to the toss. These exclusions apply whether or not the loss
                 event results           in   widespread damage or affects a substantial area.

                 a.   Earth       Movement
                      Any of the following, whether naturally occurring or due to                                 man-made          or other   artificiai
                      causes:

                      (1)    (a)    Earthquake, including tremors and aftershocks, and earth sinking, rising or shifting,
                                    related to such event;
                             (b)    Landslide, including tremors and aftershocks, and earth sinking, rising or shifting
                                    related to such event;
                             (c)    Mine subsidence, meaning subsidence                       of a     man-made         mine, whether or not mining
                                   activityhas ceased; or
                             (d)   Earth sinking (other than “sinkhole collapse”), rising or shifting including soil
                                   conditions which cause settling, cracking or other disarrangement of foundations or
                                   other parts of realty. Soil conditions include contraction, expansion, freezing‘
                                   thawing, erosion, improperly compacted                       soil   and the action          of   water under the ground
                                    surface.

                             But    if   earth       movement as described in (1)(a) through (1)(d) above results in fire or
                             explosion, the            Company will pay for the loss or damage caused by that fire or explosion.
                      (2)   Volcanic eruption, explosion or effusion. But if volcanic eruption, expiosion or effusion
                            results in “volcanic action”, building glass breakage or fire, the Company will pay for the
                             loss or          damage caused by         that “volcanic action", building glass                 breakage or        fire.

                      This exclusion does not apply to property                       in   due course       of transit.

                      Flood

                      Flood meaning:

                      (1)    Flood, surface water, underground water,                       waves       (including tidal         waves and tsunami),
                             tides, tidal water,overflow 0f any body of water, or their spray,                                all   whether driven by wind
                             or not (including storm surge);

                      (2)    Mudstide or mudflow;

                      (3)    Release of water impounded by a dam;

                      (4)    Water or sewage that backs up or overflows or is otherwise discharged from a sewer,
                             drain, sump, sump pump or related equipment; and

                      (5)    Waterborne material carried or otherwise moved by any                                  of the    water referred to          in (1   ),   (3)
                             or (4) above, or material carried or otherwise                         moved by mudslide            or mudflow;

                      all   whether naturally occurring or due                  to   man—made         or other      artificial   causes.

                      But    if   Flood as described    in (1) through (5) above results in fire, explosion or leakage from fire

                      protective          equipment not otherwise excluded, the Company will pay for the loss or damage
                      caused by               that   fire,   explosion or leakage from       fire   protective equipment.

                      This exclusion does not apply to property                       in   due course       of transit.

                      Governmental Action
                      Seizure or destruction of property by order of governmental authority, except as provided for
                      under Covered Costs and Expenses, Section B.2.e. Ordinance or Law.




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    KTK—CMB—1D91768-8-20                                                    Page 12    of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 32 of 120 PageID #: 37

                                                                                                                                         MS        C1 00 1O 18

               But the Company will pay for loss or damage caused by or resulting from acts of destruction
               ordered by governmentat authority and taken at the time of a fire to prevent its spread, if the
               fire would be covered under this Coverage Form.


          d.   Nuclear Hazard

               Nuclear reaction or radiation, or radioactive contamination, however caused.

               But    if   nuclear reaction or radiation, or radioactive contamination, results                                   in fire,   the    Company
               will   pay    for loss or   damage caused by               that    fire.


          e.   War and         Military Action

               (1)    Hostile or warlike action in time of peace or war, including action                                    in   hindering, combating
                      or defending against an actual, impending or expected attack:

                      (a) By any government or sovereign power (de jure or de facto), or by any authority
                          maintaining or using military, naval or air forces;
                      (b) By military, naval or air forces; or
                      (c) By an agent of any such government, power, authority or forces.

               (2)    Insurrection, rebellion, revolution,                civil   war, usurped power, or action taken by
                      governmental authority             in   hindering, combating or defending against such                                 an occurrence.

               (3)    Any     discharge, explosion or use of any weapon of war employing nuclear fission or fusion
                      will   be conclusively presumed to be such a hostile or warlike action by such a
                      government, power, authority or forces.

          f.   Electronic Vandalism

               “Electronic vandalism”.

               But    if   “electronic vandalism” results            in   a “specified cause of               loss",   the   Company will pay               for
               loss or       damage caused by           that “specified           cause      of loss”.

          g.   Programming Errors or Omissions
               Programming          errors,       omissions or incorrect instructions to a machine.

               But  programming
                      if                     errors,    omissions or incorrect instructions to a machine result                                    in   a
               “specifiedcause of            loss”,   the     Company       will   pay    for loss or        damage caused by that                  “specified
               cause of loss”.
          h.   Ordinance or Law
               The enforcement             of or   compliance with any ordinance or law:

               (1)    Regulating the construction, use or repair of any property; or

               (2)    Requiring the tearing           down     of   any    property, including the cost of removing                          its   debris;

               except as provided            in   Covered Costs and Expenses, Section                           B.2.e.   Ordinance or Law.
               This Ordinance or Law exclusion applies whether the loss results from an ordinance or law
               that is enforced even if the property has not been damaged, or whether the loss results from
               the increased costs incurred to comply with an ordinance or law in the course of construction,
               repair, renovation, remodeling or demolition of property, or removal of its debris, following a
               physical loss to that property.

          i.   Utility       Services

               The  failure or fluctuation of power, communication, water or other utility service provided to
               the insured premises, however caused, if the failure or ﬂuctuation:

               (1)    Originates     away from         the insured premises; or

               (2)    Originates at the insured premises, but only if such failure or fluctuation involves
                      equipment used to supply the utility service to the insured premises from a source                                                    away
                      from the insured premises.


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    KTK-CMB—1 091768—8—20                                           Page 13        of   19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 33 of 120 PageID #: 38


                                                                                                                                            MS C1            00 1O 18

                 Failure or fluctuation of               any   utility   service includes lack of sufficient capacity                      and reduction              in
                 supply.

                 If   the failure or fluctuation of power, communication, water or other utility service results                                                 in   a
                 Covered Cause        of Loss, the Company will pay for the loss or damage caused by that
                 Covered Cause                  of Loss.

                 Communication services include services                             relating to internet           access or access to any
                 electronic, cellular or satellite network.

            j.   “Fungus”, Wet Rot and Dry Rot

                 Presence, growth,                 proliferation,   spread or any          activity of “fungus”,            wet   rot or   dry   rot.

                 But if “fungus”, wet rot or dry rot results in a “specified cause of loss”, the                                     Company            will     pay
                 for the loss or damage caused by that “specified cause of loss".

                 This exclusion does not apply:

                 (1)    When         “fungus”, wet rot or dry rot results from                 fire   or lightning; or

                 (2)    To    the extent that coverage               is   provided under the Limited “Fungus”,                      Wet Rot and Dry Rot
                        Coverage            -   Direct   Damage     in    Section B. of this Coverage Form.

            k.   Virus or Bacteria

                 Any    virus,       bacterium or other microorganism that induces or                               is   capable of inducing physical
                 distress, illness or disease.

                 With respect to any loss or                   damage       subject to this exclusion, this exclusion supersedes any
                 exclusion relating to “pollutants”.

            l.   Certain Computer—Related Losses

                 (1)    Failure, malfunction or                inadequacy      of,   or the inability to use or have access                      to:


                        (a)   Any      of the following,        whether belonging             to the Insured or to others:
                              (i)     Computer hardware, including microprocessors;
                              (ii)    Computer application software;
                              (iii)   Computer networks;
                               (iv)   Microprocessors, including computer chips, not part of any computer system;                                                     or
                               (v)    Any other computerized or electronic equipment or components;
                              or
                        (b)   Any      other products and services, data or functions that directly or indirectly use or
                               rely    upon, in any manner, any of the items listed in paragraph (1)(a) above;


                        due    to the inability to correctly recognize, distinguish, interpret or accept                                   one    or    more
                        dates or times.

                 (2)    Any  advice, consultation, design, evaluation, inspection, installation, maintenance, repair,
                        replacement or supervision provided or done by or      for the Insured to determine, rectify or
                        test for, any potential or actual failure, malfunction or inadequacy described in paragraph
                        (1)   above.

                 If   an excluded Cause of Loss as described                          in   paragraphs         (1)    and   (2)   above     results      in   a
                 Covered Cause                  of Loss, the    Company will pay            for the loss or          damage caused by that
                 Covered Cause                  of Loss.

                 The Company                will   not pay for repair, replacement or modification of any items in paragraph
                 (1)    above       to correct       any actual or potential deficiencies or change any features.
       2.   The Company              will   not pay for loss or          damage caused by             or resulting from any of the following:

            a.   Artificially       generated         electrical,   magnetic or electromagnetic energy that damages, disturbs,
                 disrupts or otherwise interferes with any:

                 (1)    Electrical or electronic wire, device, appliance,                        system or network; or


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    KTK-CMB—1DQ1768-8-20                                                  Page 14     of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 34 of 120 PageID #: 39


                                                                                                                       MS      C1 00 1O 18

               (2)   Device, appliance, system or network                   utilizing cellular     or satellite technology.

               Electrical,      magnetic or electromagnetic energy includes:

               (1)   Electrical current, including arcing;

               (2)   Electrical     charge produced or conducted by a magnetic or electromagnetic                        field;


               (3)   Pulse of electromagnetic energy;

               (4)   Electromagnetic waves or microwaves.

               But   if   artificially   generated       electrical,   magnetic or electromagnetic energy results in fire or
               explosion not otherwise exciuded, the                     Company will pay for the loss or damage caused by
               that fire or explosion.

          b.   Delay, loss of use, loss of market or interruption of business, except as specifically provided.

          c.   (1)   Wear and        tear ordepletion;

               (2)   Rust, corrosion, erosion, decay, deterioration, hidden or latent defect or                       any     quality   in   the
                     property that causes           it   to   damage    or destroy     itself;


               (3)   Smog;
               (4)   Settting, cracking, shrinking, bulging or               expansion;

               (5)   Nesting or infestation or discharge or release of waste products or secretions, by insects,
                     birds,rodents or other animals;

               (6)   Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal
                     force; or

               (7)   The     following     causes    of loss to personal property:

                     (a)     Dampness or dryness of atmosphere;
                     (b)     Changes in or extremes of temperature;
                     (c)     Changes in flavor, color, texture or finish;
                     (d)     Contamination by other than               “poltutants”,    evaporation or leakage; or
                     (e)     Marring or scratching.

               But   an excluded cause of loss that is listed in 2.c.(1) through (7) above results in a
                     if

               “specifiedcause of loss” or building glass breakage, the Company will pay for the loss or
               damage caused by that “specified cause of loss” or building glass breakage. Also, if a
               mechanical or machinery breakdown excluded in 2.(c)(6) above results in elevator collision
               not otherwise excluded, the Company will pay for the loss or damage caused by that elevator
               collision.

          d.   Explosion of steam boilers, steam generators, steam pipes, steam engines or steam turbines
               owned    or ieased by the Insured, or operated under the Insured’s control. But if explosion of
               steam boilers, steam generators, steam pipes, steam engines, or steam turbines results in
               fire or combustion explosion, the Company will pay for loss or damage caused by that fire or
               combustion explosion. The Company will also pay for loss or damage caused by or resulting
               from the explosion of gases or fuel within the furnace of any fired vessel or within the flues or
               passages through which the gases of combustion pass.
          e.   Dishonest or criminal act (including theft) by the Insured, any of the Insured’s partners,
               members, officers, managers, employees (including temporary employees and leased
               workers), directors, trustees or authorized representatives whether acting alone or in
               collusion with each other or any other party; or theft by any person (other than a carrier for
               hire or bailee) to whom the Insured entrusts the property for any purpose, whether acting
               alone or in collusion with each other or any other party.

               This exclusion:

               (1)   AppIies whether or not an act occurs during the Insured’s normal hours of operation;



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    KTK-CMB—1D91768—8-20                                          Page 15    of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 35 of 120 PageID #: 40


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               (2)    Does not apply to acts of destruction by the Insured’s employees (including temporary
                      employees and leased workers) or authorized representatives; but theft by the lnsured’s
                      employees (including temporary employees and leased workers) or authorized
                      representatives            is   not covered.

          f.   Rain, snow, sand, dust, ice or sleet to persona! property                                    in   the open (other than t0 property           in
               the custody of a carrier for hire).

          g.   Discharge, dispersal, seepage, migration, release or escape of “pollutants” unless the
               discharge, dispersal, seepage, migration, release or escape is itself caused by a “specified
               cause of loss”. But if the discharge, dispersal, seepage, migration, release or escape of
               “pollutants” results             in   a “specified cause of loss”, the                Company will pay           for   such resulting loss
               or    damage caused by                 that “specified cause of loss",

          h.   Collapse, subject to the following provisions:

               (1)    Collapse includes any of the following conditions of property or any portion of the
                        property:

                      (a)    An abrupt         falling     down   or caving      in;

                      (b)    Loss of structural integrity, including separation of portions of the property or property
                             in danger of falling down or caving in; or

                      (c)    Any      cracking, bulging, sagging, bending, leaning, settling, shrinkage, or expansion as
                             such condition relates      to paragraphs (a) or (b) above.

                      But    if   coIIapse results          in a Covered Cause of Loss at the insured premises,                            the   Company
                      will   pay     for the loss or         damage caused by that Covered Cause of Loss.
               (2)    This Collapse exclusion does not apply:

                      (a)    To      collapse, including “abrupt collapse",                    caused by one or more of the following:
                             (i)     Any      of the “specified        causes of        loss” or  breakage of building glass, all only as
                                     otherwise insured against;
                             (ii)    Weight      of rain that collects          on a    roof; or
                             (iii)   Weight      of people or personal property;
                             or
                      (b)    To      “abrupt collapse” caused by one or more of the following:
                             (i)      Building decay that is hidden from view, unless the presence of such decay                                       is

                                      known to the Insured prior to collapse;
                             (ii)     Insect or vermin           damage     that   is   hidden from view, unless the presence of such
                                     damage          is   known   t0 the Insured prior to collapse;
                             (iii)   Use of defective material or methods in construction, remodeling or renovation if
                                     the “abrupt collapse” occurs during the course of the construction, remodeling or
                                      renovation;
                             (iv)    Use of defective material or methods of construction, remodeling or renovation if
                                     the “abrupt collapse” occurs after the construction, remodeling, or renovation is
                                     complete, but only           if   the collapse       is   caused       in   part by:

                                      o   A   cause       of loss listed   in   paragraphs         (b)(i)   or   (b)(ii)   above;
                                      o   Any   of the “specified          causes of      loss” or     breakage of building glass,            all   only as
                                          otherwise insured against;
                                      o   Weight      of rain that col|ects        on a    roof; or
                                      o   Weight      of people or property.

          iA   Voluntary parting with any property by the Insured or anyone else to whom the Insured has
               entrusted the property, whether or not the insured was induced to do so by any fraudulent
               scheme, trick or device. But this exclusion does not apply to the insurance provided under
               this Coverage Form for loss of Covered Property in Transit due to the unintentional
               acceptance of fraudulent bills of lading, shipping receipts or messenger receipts.




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    KTK-CMB—1 D91768-8—20                                               Page 16        of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 36 of 120 PageID #: 41


                                                                                                                                            MS C1     00 1O 18

            j.   Smoke, vapor 0r gas from agricultural smudging or industrial operations But this exclusion
                 does not apply to emissions or puff backs of smoke, soot, fumes or vapors from a boiler,
                 furnace or related equipment.

            k.   Any   of the following,        even     if   they are Covered Causes of Loss, if the insured’s premises
                                                                                     ”
                 where the      loss or      damage occurs has been          “vacant” for more than 60 consecutive days
                 before that loss          or damage occurs:

                 (1)   Vandalism;

                 (2)   Sprinklerleakage;

                 (3)   Building glass breakage;

                 (4)   “Waterdamage”;

                 (5)   Theft; or

                 (6)   Attemptedtheft.

            l.   Continuous or repeated seepage, leakage or flow of water or other liquid, or the presence or
                 condensation of humidity, moisture or vapor, that occurs over a period of 14 days or more.

            m.   Shortage disclosed by audit or upon taking inventory or by a profit and loss statement, or
                 other instances where there is no physical evidence to show what happened to the property.


            As respects Accounts Receivable, Valuable Papers and Records,                                              “Electronic Data Processing
            Equipment” and “Electronic Data Processing Data and Media”:

                 (1)   The    following exclusions             in   Section D.2. above do not apply:                       a.,   c.(2)   through   c.(6),
                       c.(7)(c)   through      c.(7)(e), d.,        f.,   9., h.,   j.,   k.   and   L;


                 (2)   Exclusions c.(1), c.(7)(a) and c.(7)(b) in Section D2. above apply, but if mechanical
                       breakdown not otherwise excluded results, the Company will pay for that resulting loss or
                       damage by mechanical breakdown.
       3.   The Company         wil!      not pay for loss or         damage caused by                    or resulting from any of the following:

            a,   Weather       conditions.          But this exclusion only applies if weather conditions contribute in any
                 way with a cause            or event excluded      in Section D.1. above to produce the loss or damage,


                 But   if   weather conditions, as excluded above, result in a Covered Cause of Loss, this
                 exclusion does not apply to loss or     damage caused by that resulting Covered Cause of Loss.
            b.   Acts or decisions, including the failure to act or decide, of any person, group, organization or
                 governmental body.

                 But if an act or decision or the failure to act or decide, as excluded above, results in a
                 Covered Cause of Loss, this exclusion does not apply to loss or damage caused by that
                 resulting Covered Cause of Loss,

            c.   Faulty, inadequate or defective:

                 (1)   Planning, zoning, development, surveying, siting;

                 (2)   Design, specifications, workmanship, repair, construction, renovation, remodeling,
                       grading, compaction;

                 (3)   Materials used          in   repair, construction, renovation or remodeling; or

                 (4)   Maintenance;

                 of part or    all   of   any property on or              off the    insured premises.

                 But if an excluded cause of loss that is listed in 3.c.(1) through 3.0.(4) above results                                            in   a
                 Covered Cause of Loss, this exclusion does not apply to loss or damage caused by                                                    that
                 resulting Covered Cause of Loss; But the Company will not be liable for:




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    KTK-CMB-1 D91 768—8-20                                                Page 17         of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 37 of 120 PageID #: 42


                                                                                                                                                   MS    C1 00 10 18

                  (a)   Any  cost of correcting or making good the fault, inadequacy or defect itself, except as
                        provided for fire extinguishing equipment under Limitation E.3. below;
                  (b)   Any cost incurred to tear down, tear out, repair or replace any part of any property to
                        correct the fault, inadequacy or defect, except as specifically provided under the Water,
                        Other Liquids, Powder or Molten Material Damage coverage in Section B.2.k. of this
                        Coverage Form;                or
                  (c)   Any     resulting loss or          damage by           a Covered Cause of Loss to the property that has the
                        fault,   inadequacy or defect                until    the fault, inadequacy or defect is corrected

   E.   LIMITATIONS
        1.   The Company            wil!   not   pay               damage to property, as described and limited in this
                                                        for loss of or
             section.    In addition,        the      Company     not pay for any loss of Business Income, Extra Expense or
                                                                    will
             other indirect loss that            is   a consequence of loss or damage as described and limited in this
             section.

             a.   Steam boilers, steam generators, steam pipes, steam engines or steam turbines caused by
                  or resuiting from any condition or event inside such equipment. But the Company will pay for
                  loss of or damage to such equipment caused by or resulting from an explosion of gases or
                  fuel within the     furnace of any              fired     vessel or within the ﬂues or passages through which the
                  gases    of    combustion pass.

                  Hot water boilers or other water heating equipment caused by or resulting from any condition
                  or event inside such boilers or equipment, other than expiosion.

                  The   interior of        a building or structure or to personal property                                 in   the building or structure,
                  caused by or resulting from rain, snow, sleet, ice, sand or                                        dust,       whether driven by wind or not,
                  unless any of the following exceptions applies:

                  (1)   The      building or structure           first     sustains        damage by a Covered Cause                        of   Loss   to   its   roof or
                        walls through which the rain, snow, sleet,                                  ice,   sand or dust enters;

                  (2)   The      loss or     damage        is   caused by or          results         from thawing of snow, sleet or ice on the
                        building or structure; or

                  (3)   The      rain,     snow,                sand or dust enters the building or structure through an
                                                      sleet, ice,
                        identifiable, existing             opening in the building or structure that:

                        (a)    ls   architecturally intended to                be    in   such building or structure, such as a window or vent;
                              and
                        (b)    Is   not a    fault,     defect or inadequacy             the design, specifications, workmanship, repair,
                                                                                               in

                              construction, renovation, remodeling or                      maintenance of such building or structure, or
                               in   the materials used                in     the repair, construction, renovation or remodeling of the
                               building or structure.

                  Any   portion of a building or structure that                           is   within the exterior-facing surface material of                        a
                  building or structure shall constitute the interior of that building or structure.

                  Merchandise, goods or other product caused by or resulting from error or omission by any
                  person or entity (including those having possession of the property under an arrangement
                  where work or a portion of the work is outsourced) in any stage of the development,
                  production or use of the product, including planning, testing, processing, packaging,
                  installation,       maintenance or             repair.      This limitation applies to any effect that compromises the
                  form, substance or quality of the product.                         But if such error or omission results in a Covered
                  Cause       of Loss, the         Company          will    pay   for loss or            damage caused by            that   Covered Cause             of
                  Loss.

             e.   Accounts receivabie caused by or resulting from:

                  (1)   Bookkeeping, accounting or                         billing   errors or omissions; or

                  (2)                                       concealment, destruction or disposal 0f records of
                        Alteration, falsification, manipulation,
                        accounts receivable committed to conceal the wrongful giving, taking‘ obtaining or


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    KTK-CMB-1 D91768—8-20                                                   Page 18            of   19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 38 of 120 PageID #: 43


                                                                                                                                    MS   C1 00 10 18

                         withholding of money, securities or other property but only to the extent of such wrongful
                         giving, taking, obtaining or withholding.

              f.   Valuable papers and records or “electronic data processing data and media” caused by or
                   resulting from unauthorized viewing, copying, use or transfer by any person, even if such
                   activity is characterized as theft.

              gA   “Electronic data processing data              and media” while being sent               electronicaliy.

              h‘   “Electronic data processing equipment”                 and    “electronic data processing data                   and media”
                   caused by or      resulting from:

                   (1)   Errors or deficiency in design, installation, maintenance, repair or modification of the
                         lnsured's electronic data processing system or any electronic data processing system or
                         network to which the Insured’s system is connected or on which the Insured’s system
                         depends                                  in such system or network). But if errors or
                                     (including the electronic data
                         deficiency    design, installation, maintenance, repair or modification of the lnsured’s
                                         in

                         electronic data processing system or any electronic data processing system or network to
                         which the Insured’s system is connected or on which the Insured’s system depends
                         (including the electronic data in such system or network) results in any of the “specified
                         causes  of loss” or results in mechanical breakdown of “electronic data processing
                         equipment”, the   Company will pay for loss or damage caused by that “specified cause                                   of
                         loss” or   mechanical breakdown of “electronic data processing equipment”; or

                   (2)   Unexplained or indeterminable failure, malfunction or slowdown of any electronic data
                         processing system or network, including the electronic data in such system or network,
                         and the inability to access or properly manipulate the electronic data.
         2‘   As respects          garments and garments trimmed with fur, jewelry, watches, watch
                             furs, fur
              movements, jewels,                    and semi~precious stones, bullion, gold, silver, platinum and
                                              pearls, precious
              other precious alloys or metals, the most the Company will pay for loss or damage by theft,
              regardless of the types or           number     of articles that are lost or       damaged            is   $50,000.

         3.   The Company         will   notpay the cost to repair any defect to a system or appliance from which
              water, other liquid,       powder or molten material escapes. But the Company will pay the cost to
              repair or replace      damaged        parts of the   fire   extinguishing equipment             if   the damage:

              a,   Results   in   discharge of any substance from an automatic                      fire   protection system; or

              b.   ls directly    caused by       freezing.


    F.   LIMITS    OF INSURANCE
         Refer to the Application of Limits of Insurance conditions                   in   the Policy Conditions, Additional
         Provisions and Definitions Form.


   G.    DEDUCTIBLES
         Refer to the Application of Deductibles conditions                 in   the Policy Conditions, Additional Provisions and
         Definitions Form.




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    KTK-CMB—1 D91768-8—20                                         Page 19 of 19
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 39 of 120 PageID #: 44


                                                                                                                                      MS C1   O’l   1O 18

                    BUSINESS INCOME AND/OR RENTAL VALUE COVERAGE FORM
                                 INCLUDING EXTRA EXPENSE
   Various provisions           in this      policy restrict coverage.         Read the        entire policy carefully to determine rights,
   duties and       what   is   and   is   not covered.

   Words and phrases             that      appear   in   quotation marks have special meaning; Refer to Section D.,
   Definitions, in the Policy Conditions, Additional Provisions                              and   Definitions Form,


   A.   COVERAGE
        When  a Limit of Insurance is shown in the Supplemental Coverage Declarations for Business Income
        and/or Rental Value, the Company will pay for the actual loss of Business Income and/or Rental Value
        sustained by the Insured due to the necessary “suspension” of the lnsured’s “operations” during the
        “period of restoration”,The Company will also pay for the actual and necessary Extra                                         Expense the
        Insured incurs during the “period of restoration”.

        The “suspension” and   the Extra Expense must be caused by direct physical loss of or damage to
        property at the Insured’s premises where coverage applies, as described below, including personal
        property in the open (or in a               vehicle) within 1,000 feet of             such premises, caused by or resulting from a
        Covered Cause of Loss:
        o      Business Income coverage applies at the Insured’s premises specified for Business Income
               coverage in the Supplemental Coverage Declarations or, if not so specified, at the Insured’s
               premises for which a Business Income value is stated in the most recent Statement of Values or
               Business Income Worksheet or other documentation on file with the Company,

        o      Rental Value coverage applies at the Insured’s premises specified for Rental Value coverage                                           in
               the Supplemental Coverage Declarations or, if not so specified, at the Insured’s premises for
               which a value for Rental Value is stated in the most recent Statement of Values or Business
               Income Worksheet or other documentation on                            file   with the   Company,
        o      Extra Expense coverage applies                     at the Insured’s          premises where Business Income and/or Rental
               Value coverage applies.

        If   the Insured occupies only part of a building, the lnsured’s premises include the portion of the
        building that the Insured rents, leases or occupies, as well as                       any area within that building or on the
        site of that building,          if   such area services or        is   used to gain access to the lnsured’s portion of that
        building.

        Covered Cause            of   Loss means         risks of direct physical loss unless the loss is                   excluded in accordance
                                           accordance with Section
        with Section C., Exclusions, limited                 in                                        D., Limitations, or      excluded or limited in
        the Supplemental Coverage Declarations or by endorsement.

        1.     Business Income and Rental Value
               a.    Business Income means the sum                      of:


                     (1)   Net Income (Net Profit or Loss before income taxes) that would have been earned or
                           incurred by the insured including, for manufacturing risks, the net sales value of
                           production; plus

                     (2)   Continuing normal operating expenses incurred by the Insured.

                     But Business Income does not include Rental Value.

               b.    Rental Value            means the sum        of:


                     (1)   Net Income (Net Profit or Loss before income taxes) that would have been earned or
                           incurred by the insured as rental income from tenant occupancy of the Insured’s premises,
                           including fair rental value of any portion of such premises that is occupied by the Insured;
                           plus




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    KTK-CMB—1D91768—8-20                                                 Page    1    of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 40 of 120 PageID #: 45


                                                                                                                         MS   C1 O1 1O 18

                   (2)   Continuing normal operating expenses incurred by the Insured in connection with such
                         premises, including the amount of all charges that are the legal obligation of the tenants
                         and that would otherwise be the obligation of the Insured.

              c.   Under the above definitions of Business Income and Rental Value, continuing normal
                   operating expenses incurred by the Insured do not include “ordinary payroll expenses" except
                   when “ordinary payroll expenses” are either included or limited to a specified number of days
                   as indicated on the Supplemental Coverage Declarations. If limited, the number of
                   consecutive days during which coverage for “ordinary payroll expenses” applies                         may be used
                   in two separate periods during the “period of restoration”.


         2.   Extra     Expense
              Extra Expense means the following expenses incurred by the Insured that the insured would not
              have incurred  if there had been no direct physical loss of or damage to property caused
                                                                                                       by or
              resulting from a Covered Cause of Loss:

              a.   Reasonabie and necessary expenses (other than expenses                         to repair or replace   any   property),
                   incurred to:

                   (1)   Avoid or minimize the “suspension” of business and to continue “operations":

                         (a)   At the lnsured’s premises; or

                         (b)   At replacement premises or at temporary locations, including relocation expenses
                               and costs to equip and operate the replacement premises or temporary locations;
                               and

                   (2)   Minimize the “suspension” of business ifthe Insured cannot continue ”operations”;

                   or

              b.   Reasonable and necessary expenses to repair or replace any property, but only to the extent
                   they reduce the amount of loss that otherwise would have been payable under this coverage
                   form.


    B.   COVERAGE EXTENSIONS
         Unless otherwise indicated  in the Supplemental Coverage Declarations or by endorsement, the Civil

         Authority Coverage Extension, the Extended Business Income or Rental Value Coverage Extension
         and the Limited “Fungus", Wet Rot and Dry Rot - Time Element Coverage Extension apply subject to
         the applicable coverage period stated within each Coverage Extension. The Ingress or Egress
         Coverage Extension applies only when a number of days, with or without a Limit of Insurance, is shown
         in the Supplemental Coverage Declarations for the Coverage Extension. Each of the remaining

         Coverage Extensions applies only when a Limit of Insurance is shown in the Supplemental Coverage
         Declarations for that Coverage Extension. The insurance available under each appIicable Coverage
         Extension for loss of Business Income and/or loss of Rental Value and Extra Expense applies only
         when such coverage is otherwise provided under this coverage form.
         1.   Civil   Authority

              a.   The insurance provided by this coverage form for loss of Business Income and/or loss of Rental
                   Value and Extra Expense is extended to apply to such loss of Business Income and/or loss of
                   Rental Value and Extra Expense incurred by the Insured caused by the action of civil authority
                   that prohibits access to the Insured’s premises where such coverages apply:

                   (1)   Due to direct physical loss of or damage to property other than property at the lnsured’s
                         premises, caused by or resulting from a Covered Cause of Loss, provided both of the
                         following apply:

                         (a)   Access        area immediately surrounding the damaged property is prohibited by
                                          to the
                               civi!   authority as a result of the
                                                             damage, and the Insured’s premises are within that
                               area but are not more than 10 miles from the damaged property; and




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    KTK—CMB—1 D91768-8—20                                        Page 2   of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 41 of 120 PageID #: 46


                                                                                                                                               MS C1      01 10 18


                         (b)   The           civil authority is taken in response to dangerous physical conditions
                                          action of
                               resuitingfrom the damage or continuation of the Covered Cause of Loss that caused
                               the damage, or the action is taken to enable a civil authority to have unimpeded
                               access to the damaged property;

                         0r

                 (2)     Due    to   an actual or attempted violent crime, suicide or armed robbery occurring                                            at or
                       within 1,000 feet of       such premises, provided both of the following appty:

                         (a)   The        actual or attempted violent crime, suicide or                      armed robbery             is   not   caused    by, the
                               result of, or carried out              by     means    of,    an excluded cause of              loss;   and

                         (b)   The        action of    civil   authority     is   taken to enabIe a civil authority to have unimpeded
                               access         to the location of the actual or             attempted violent crime, suicide or armed
                               robbery.

                         The exclusion             of losscaused by dishonest or criminal acts by the Insured’s employees or
                         authorized representatives             in Section D.2 e. of the Property Coverage Form does not

                         apply to this            coverage for loss caused by an actual or attempted violent crime, suicide or
                         armed       robbery.

            b.   Civil   Authority coverage for BusinessIncome and Rental Value will begin 72 hours after the
                 time of the         first   action of    civil      access to the Insured’s premises and will
                                                                  authority that prohibits
                 then apply for a period of up to 30 consecutive days (or the revised number of consecutive days
                 shown for this Coverage Extension in the Supplemental Coverage Declarations). No other hour
                 deductible applicable to Business Income or Rental Value applies to this coverage.

            c.   Civil   Authority coverage for Extra                   Expense       will   begin immediately after the time of the first
                 action of the            civil   authority that prohibits         access     to the lnsured’s premises and will end on the
                 later of      the foIIowing:

                 (1)     30 days          (or the revised       number       of consecutive          days shown       for this    Coverage Extension              in
                         the Supplemental Coverage Declarations) after the date of that                                       civil   authority action; or

                 (2)     The date          Civil   Authority coverage for Business                   Income and Rental Value coverage                      at   such
                         premises ends.

       2.   Ingress or Egress

            a.   The insurance provided by this coverage form for loss of Business Income and/or loss of Rental
                 Value and Extra Expense is extended to apply to such loss of Business Income and/or loss of
                 Rental Value and Extra Expense incurred by the Insured when ingress to or egress from the
                 Insured’s premises where such coverages apply is prevented (other than as provided in the
                 Civil Authority Coverage Extension) as a direct result of loss of or damage to property that is

                 away from,             1 miIe (or the revised number of miles shown for this Coverage
                                      but within
                 Extension     the Supplemental Coverage Declarations) of the lnsured’s premises, caused by
                                     in

                 or resulting from a Covered Cause of Loss.

            b.   Ingress or Egress coverage for Business Income and/or Rental Value will begin at the time
                 ingress to or egress from the Insured’s premises is first prevented or, if a number of hours is
                 shown as the applicable Business Income and/or Rental Value deductible in the Supplemental
                 Coverage Declarations, that number of hours after the ingress or egress is first prevented.
                 Coverage will then apply up to the number of consecutive days shown in the Supplemental
                 Coverage Declarations as the coverage period for this Coverage Extension.

            c.   Ingress or Egress coverage                       for Extra       Expense     will   begin immediately after ingress to or egress
                 from the Insured’s premises                      is first   prevented and       will   end on the later of the following:

                 (1)     The number of consecutive days shown                           for this      Coverage Extension               in   the Supplemental
                         Coverage Declarations; or

                 (2)     The date Ingress              or Egress coverage for Business                   Income and Rental Value                   at   such
                         premises ends.


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    KTK-CMB—1D91768-8—20                                              Page 3 of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 42 of 120 PageID #: 47


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       3.   Extended Business Income or Rental Value
            Ifthe necessary “suspension” of the Insured’s “operations" produces a Business Income and/or
            Renta! Value loss payable under this policy, the insurance provided by this coverage form is
            extended  to apply to such loss of Business Income and/or Rental Value incurred by the Insured
            during the period that:

            a.     Begins on the date property (except “finished stock") is actually repaired, rebuilt or replaced                     and
                   “operations" are resumed or, with respect to Rental Value, tenantability is restored; and

            b.     Ends on the   earlier of:

                   (1)   The date the Insured could restore “operations” or, with respect to Renta! Value, restore
                         tenant occupancy, with reasonable speed, to the level that would generate the Business
                         Income or Rental Value amount that would have existed if no direct physical loss or
                         damage had         occurred; or

                   (2)   60 consecutive days          (or the revised number of consecutive days shown for this Coverage
                         Extension    in    the Supplemental      Coverage Declarations) after the date determined in 3.3.
                         above.

            However, this Coverage Extension does not apply to loss of Business Income or Rental Value
            incurred as a result of unfavorable business conditions caused by the impact of the Covered Cause
            of Loss in the area where the Insured’s premises are located.

            Loss of Business Income and Rental Value must be caused by direct physical loss of or damage to
            property at the Insured’s premises, at the premises of a “dependent property”, at newly acquired
            premises or in transit, or to Covered Property at undescribed premises, all only as insured under
            this   coverage form, caused by or           resulting   from a Covered Cause of Loss.

            The    expiration date of this policy wiH not cut short the extended Business                     Income   or Rental   Value
            period of coverage

       4.   “Dependent Property”
            The insurance provided by this coverage form for loss of Business Income and/or loss of Rental
            Value and Extra Expense is extended to apply to such:

            o      Loss of Business Income and/or Rental Value due                to a “suspension” of “operations”;          and
            o      Extra Expense;

            at the Insured’s     premises where such coverage applies, that                is:


            a.     Incurred by the Insured during the “period of restoration” due to direct physical loss or damage
                   by a Covered Cause of Loss to property at the premises of a “dependent property" within the
                   Policy Territory. With respect only to this extension, the phrase, at the Insured’s premises, as
                   used in paragraph 15Va.(1) of the definition of “period of restoration” in Section D, of the Policy
                   Conditions, Additional Provisions and Definitions Form, is deleted and replaced by the phrase
                   at the premises of a “dependent property”.

            b.     Incurred by the Insured and caused by the action of civil authority that prohibits access to a
                   “dependent property” within the Policy Territory. This civil authority coverage is subject to the
                   provisions of the Civil Authority        Coverage Extension, except the phrase, the lnsured’s premises,
                   where used    in   the   Civil   AuthorityCoverage Extension in Section B.1. above, is deleted and
                   replaced by the phrase the premises of a “dependent property”.

            c.     Incurred by the Insured when ingress to or egress from a “dependent property” within the
                   Policy Territory is prevented (other than as provided in the Civil Authority Coverage) as a
                   direct resuIt of loss of or damage to property that is away from, but within 1 mile of the
                   “dependent property”, caused by or resulting from a Covered Cause of Loss. This ingress or
                   egress coverage applies only when a coverage period is shown in the Supplemental Coverage
                   Declarations for the Ingress or Egress Coverage Extension in Section B.2. above, and is then
                   subject to the provisions of the Ingress or Egress Coverage Extension in Section B2. above
                   except:


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    KTK-CMB—‘I D91768-8—20                                       Page 4   of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 43 of 120 PageID #: 48


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                 (1)   The phrase,             the lnsured’s premises,          where used             in   the Ingress or Egress         Coverage
                       Extension          in   Section 8.2. above,        is   deleted and replaced by the phrase the premises of a
                       “dependent property”.

                 (2)   In   addition to the coverage period that applies to the Ingress or Egress                                       Coverage
                       Extension, this ingress or egress coverage                              subject
                                                                                         not increase, the Limit of
                                                                                         is                  to,   and    wilI

                       Insurance that applies to all loss under this “Dependent Property” Coverage Extension If a
                       smaller Limit of Insurance is shown in the Supplemental Coverage Declarations for the
                       Ingress or Egress Coverage Extension in Section 8.2. above, payment under this coverage
                       for loss      due       to the prevention of ingress to or egress from a                           “dependent property”       will   be
                       further limited to the                amount   of that smaller         limit.


            This Coverage Extension does not apply to “dependent property” for which the Insured has                                                  more
            specific insurance, whether under this poticy or another policy.

      5.    Ordinance or Law — Increased “Period of Restoration”
            a.   Ifdirect physical loss or damage by a Covered Cause of Loss occurs to propeny at the
                 Insured’s premises where Business Income and/or Rental Value and Extra Expense coverage
                 applies, the insurance provided under this coverage form is extended to apply to such loss and
                 expense the Insured incurs during the reasonable and necessary increase in the “period of
                 restoration" caused by or resulting from the enforcement of or compliance with any ordinance or
                 law   that:


                 (1)   Regulates the construction or repair of any property;

                 (2)   Requires the tearing down of parts of any property not damaged by a Covered Cause of
                       Loss;       and

                 (3)    Is in   force at the time of loss.

            b.   Insurance under this Coverage Extension applies onIy to the increased period required to
                 repair or reconstruct the property to comp!y with the minimum requirements of the ordinance
                 or law.

            c.   Under        this   Coverage Extension, the Company                      wiII    not pay          for:


                 (1)   Any      loss   due      to the   enforcement of or compliance with any ordinance or law                              that:

                        (a)     The Insured was                required to comply with before the loss, even                     if   the property   was
                                undamaged; and

                        (b)     The    Insured failed to comply with.

                 (2)   Any  loss caused by or resulting from the enforcement of or compliance with any
                        ordinance or law that requires:

                        (a)     The  demolition, repair, replacement, reconstruction, remodeling or remediation of
                                property due to contamination by “pollutants” or due to the presence, growth,
                                proliferation, spread or any activity of “fungus”, wet rot or dry rot; or

                        (b)     Any    Insured or others to test           for,   monitor, clean up, remove, contain, treat, detoxify or
                                neutralize, or          in   any way respond       to, or assess the effects of “pollutants”, “fungus",
                                wet    rot     or dry   rot,


       6.   Newly Acquired Premises — Time Element
            a.   The insurance provided by this coverage form for loss of Business Income and/or Ioss of Renta!
                 Value and Extra Expense is extended to apply to such loss and expense incurred by the
                 Insured during the “period of restoration”                       due                            damage by a Covered
                                                                                        to direct physical loss or
                 Cause        of   Loss      to property, including property            under construction, within the Policy Territory at
                 any:

                 (1)    Premises newly acquired by the Insured; and

                 (2)    Premises the Insured becomes newly required                                to insure          under a written contract.


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    KTK—CMB-1D91768-8-20                                               Page 5 of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 44 of 120 PageID #: 49


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            b.   Insurance under             this   Coverage Extension            for   each premises            will   end when any    of the
                 following ﬁrst occurs:

                 (1)    This poIicy     is   canceHed or expires;

                 (2)    120 days (or the revised number of days shown for this Coverage Extension in the
                        Supplemental Coverage Declarations) expire after the Insured acquires or begins to
                        construct the property or            is   required to insure the propeny;

                 (3)    The Insured          reports the   new premises            to the   Company;         or

                 (4)    The Business Income, Rental Value                        or Extra   Expense         is   more      specifically insured
                        elsewhere.

            c.   If the Company elects to add the premises for coverage under this coverage form, the

                 Company will charge the Insured additional premium for values reported from the date                                              the
                 Insured acquires the property or                   is   required to insure the property.

            d.   With respect only to the insurance provided under this Coverage Extension, the phrase, the
                 Insured’s premises, as used in paragraph 15.a.(1) of the definition of “period of restoration” in
                 Section D. of the Policy Conditions, Additional Provisions and Definitions Form, means
                 premises described in paragraphs a.(1) and a,(2) above to which this Coverage Extension
                 applies.

       7.   Undescribed Premises — Time Element
            a.   The insurance provided by this coverage form for loss of Business Income and/or                                           loss of
                 Rental Value and Extra Expense is extended to apply to such:

                 (1)    Loss of Business Income and/or Rental Value due to a “suspension" of “operations”; and

                 (2)    Extra Expense;

                 at the Insured’s premises where such coverage applies, that is incurred by the Insured during
                 the “period of restoration" due to direct physical loss or damage by a Covered Cause of Loss
                 to    Covered Property, as described                    in   the Property Coverage Form, while at an Undescribed
                 Premises.

            b.   Undescribed Premises means premises that are not owned, leased or regularly operated by
                 the Insured. Covered Property at an Undescribed Premises does not include:

                 (1)    Property at the premises of “dependent property”;

                 (2)    Property   in   the due course of            transit; or

                 (3)    Property at any premises outside of the Policy Territory. But                                   this   exclusion does not
                        apply to Covered Property at an “exhibition” site.

            c.   With respect only to the insurance provided under this Coverage Extension, the phrase, the
                 Insured’s premises, as used in paragraph 15.a.(1) of the definition of “period of restoration” in
                 Section D. of the Policy Conditions, Additional Provisions and Definitions Form, means
                 Undescribed Premises to which this Coverage Extension applies.

       8.   Transit     — Time Element

            a,   The insurance provided by                 this    coverage form for loss of Business Income and/or loss of
                 Rental Value and Extra Expense                     is extended to apply to such:


                 o      Loss of Business income and/or Rental Value due                             to   a “suspension" of “operations"; and
                 o      Extra Expense;

                 at the Insured’s        premises where such coverage applies, that                              is   incurred by the Insured during
                 the “period of restoration”            due       to direct physical loss or         damage by             a Covered    Cause     of   Loss
                 to property in the           due course     of transit at the risk of the Insured:

                 (1)    Over the   road,        on inland waters, on            “territorial   waters” or         in air   space   of countries or
                        jurisdictions within the Policy Territory;                 and

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    KTK—CMB-1 091768—8—20                                                Page 6    of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 45 of 120 PageID #: 50


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                  (2)   Over the   road, on inland waters, on “territorial waters” or              in air    space of countries or
                        jurisdictions that are not within the Policy Territory, while in the                  due course of transit        at
                        the risk of the Insured between points within the Policy Territory.

             b.   This Coverage Extension does not apply                 to:


                  (1)   Shipments by a government postal service except by registered                          mail;

                  (2)   Any export or import shipment while covered under an Ocean Marine Cargo or other
                        insurance policy;

                  (3)   Theft from a conveyance or container while unattended, unless the portion of the
                        conveyance or container containing the property is fully enclosed and securely locked
                        and the theft is by forcible entry of which there is visibie evidence;

                  (4)   Property of others for which the Insured is responsible while acting as a common or
                        contract carrier, car—Ioader, freight forwarder, freight consolidator, freight broker, shipping
                        association or similar arranger of transportation, or public warehouseman;

                  (5)   Property while waterborne, except while in transit by inland water carriers or by coastwise
                        vessels operating within “territorial waters” of countries where coverage applies;

                  (6)   Property sold by the Insured under an installment plan, conditional sale or trust
                        agreement or other deferred payment plan after delivery to the purchasers; or

                  (7)   The   transporting       conveyance    itself.


             c.   With respect only to the insurance provided under this Coverage Extension, the phrase,
                  property at the lnsured’s premises, as used in paragraph 15.aV(1) of the definition of “period of
                  restoration” in Section D. of the Policy Conditions, Additional Provisions and Definitions Form,
                  is replaced by the phrase propeny in the due course of transit to which this Coverage Extension

                  applies.

       9.    Contract Penalties

             a.   The insurance provided by   this coverage form is extended to apply to Contract Penalties the
                  Insured incurs due to the necessary “suspension” of the Insured’s “operations” during the
                  “period of restoration". The “suspension” must be caused by direct physical loss or damage
                  by a Covered Cause of Loss to property at the Insured’s premises where coverage for loss of
                  Business Income andlor Rental Value applies, including “finished stock" and personal
                  property in the open (or in a vehicle) within 1,000 feet of those premises.

             b.   As used     in this   Coverage Extension, Contract Penalties means amounts                           that,   under the
                  terms of a written contract that         is in   effect at the time of the direct physical loss or              damage,
                  the Insured   required to pay to the Insured’s customers for failure to deliver the Insured’s
                                 is

                  products or services on time.

             c.   When   an hour deductible applies to Business Income and/or Rental Value coverage, the hour
                  deductible does not apply to this Coverage Extension. If no deductible other than an hour
                  deductible applies to Business Income and/or Rental VaIue coverage in an occurrence, the Any
                  Other Covered Loss Deductible             will   apply to this Coverage Extension.

       10.   Claim Data Expense — Time Element
             This insurance applies to the reasonable expenses incurred by the Insured in preparing claim
             data when required by the Company. This includes the cost of preparing income statements and
             other documentation to show the extent of the loss. The Company wilt not pay for:

             a.   Any expenses          incurred, directed, or billed by or payable to insurance adjusters or their
                  associates or subsidiaries;

             b.   Any expenses          incurred, directed, or billed by or payable to insurance brokers or agents, or
                  their associates or subsidiaries, without the                Company’s   written    consent prior        to   such
                  expenses being         incurred; or




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    KTK-CMB-1 D91768-8—20                                       Page 7 of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 46 of 120 PageID #: 51


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          c.    Any costs as provided        in   the Appraisal Loss Condition          in   Section B.2. of the Policy
                Conditions, Additional Provisions and Definitions Form.

       11. “Pollutant”     Clean Up and Removal             —-   Time Element
          a.    The insurance provided by          this   coverage form    for:


                (1)   Loss of Business Income and/or Rental Value due to a “suspension” of “operations”; and

                (2)   Extra Expense;

                at the lnsured’s premises where such coverage applies, that is incurred by the Insured during
                the “period of restoration", is extended to apply to such loss of Business Income and/or loss of
                Rental Value and Extra   Expense incurred by the Insured during the increased period of time
                necessarily required to extract “pollutants” from land or water outside of buildings at such
                premises,

          b.    Insurance under     this  Coverage Extension applies only if the discharge, dispersal, seepage,
                migration, release or     escape of “pollutants” into the land or water is caused by or results from
                direct physical loss    or damage by a “specified cause of loss” that occurs:

                (1)   To property at the lnsured’s premises where coverage applies that                     is   Covered Property
                      under the Property Coverage Form of this policy; and

                (2)   During the Policy Period.

          c.    The most the Company will pay under this Coverage Extension for the sum of all loss of
                Business income and/or loss of Rental Value and Extra Expense arising out of all “specified
                causes of loss” that occur during each separate 12 month period of this policy (commencing
                with the inception date of this policy) is the Limit of Insurance shown in the Supplemental
                Coverage Declarations for “Pollutant” Cleanup and Removal — Time Element.
       12. Limited    “Fungus”, Wet Rot and Dry Rot                a   Time Element
          a.    This Coverage Extension only applies when the “fungus”, wet rot or dry rot is the result of a
                “specified cause of loss“, other than fire or lightning, that occurs at the Insured’s premises
                during the policy period, and only if all reasonable means have been used to save and
                preserve the property from further           damage      at the   time of and after the occurrence of the
                “specified   cause of   loss”.

                The “Fungus”, Wet Rot and Dry Rot exclusion                 in    Section D.1. ofthe Property Coverage Form
                does not apply     to the insurance specifically provided             under this Coverage Extension.
          b.    The insurance provided by          this   coverage form    for:


                (1)   Loss of Business Income and/or Rental Value due                  to    a “suspension” of “operations”; and

                (2)   Extra Expense;

                at the Insured’s premises where such coverage applies, is extended to apply to such loss and
                expense the Insured incurs during the reasonable and necessary increase in the “period of
                restoration” caused by direct physical loss of or damage to property at such premises caused
                by or resulting from “fungus”, wet rot or dry rot.
          c.    If the loss that results in the “fungus”, wet rot or dry rot does not in itself necessitate a

                “suspension” of “operations”, but such “suspension” of “operations” is necessary due to Ioss
                of or damage to property at the Insured’s premises caused by “fungus", wet rot or dry rot,
                then the Company’s payment for Business Income, Rental Value and/or Extra Expense is
                limited to the amount of loss and/or expense sustained in a period of not more than 30 days
                (or the revised number of days shown for this Coverage Extension in the Supplemental
                Coverage Declarations). The days need not be consecutive.
           d.   If a covered “suspension” of “operations” is caused by loss or damage at the Insured’s

                premises by other than “fungus”, wet rot or dry rot, but remediation of “fungus”, wet rot or dry
                rot prolongs the “period of restoration“, the Company will pay for loss and/or expense
                sustained during the delay, regardless of when such a delay occurs during the “period of


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    KTK-CMB-1D91768—8-20                                   Page 8 of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 47 of 120 PageID #: 52


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                  restoration”, but such coverage is limited to 3O days (or the revised number of days shown for
                  this   Coverage Extension in the Supplemental Coverage Deciarations). The days need not be
                  consecuﬁve.

             eA   The terms  of this Limited “Fungus”, Wet Rot and Dry Rot - Time Element Coverage
                  Extension do not increase or reduce the coverage provided for loss caused by or resulting
                  from collapse of buildings or structures under the Collapse exclusion in Section D.2.h. of the
                  Property Coverage Form.

   C.   EXCLUSlONS
        1.   AH of the exclusions contained            in   Section D. of the Property Coverage        Form apply to     this   coverage
             form except:

             a.   Exclusion      1.h.,   Ordinance or Law,       is   amended by the   addition of the following:

                  This exclusion does not apply to the Ordinance or                  Law — Increased        “Period of Restoration”
                  Coverage Extension.
             b‘   Exclusion 2.b., Indirect or remote loss or damage; delay, loss of use or loss of market; or
                  interruption of business, does not apply to the extent coverage is specifically provided under
                  this coverage form.

        2.   In addition,   the   Company will       not pay   for:


             a,   Any    loss   caused by or       resulting from:

                  (1)    Damage     or destruction of “finished stock”; or

                  (2)    The time    required to reproduce “finished stock”.

                  This exclusion does not apply to Extra Expense or to the Contract Penalties Coverage
                  Extension.

             b.   Any    loss   caused by or       resulting from direct physical loss of or     damage        to:


                  (1)    Outdoortrees, shrubs, plants or lawns (including fairways, greens and tees),                     artificial turf
                         (including underlayment), growing crops, standing timber, land or water;

                  (2)    Harvested grain, hay, straw or other crops while outside of buildings;

                  (3)    Communication, radio or television antennas (including microwave                      satellite dishes),   and
                                           masts or towers;
                         their lead-in wiring,


                  (4)    Animals; or

                  (5)    Human body        parts   and   fluids, including   organs, tissues, blood and        cells.

             c.   Any increase       of loss   caused by      or resulting from:

                  (1)    Delay  in rebuilding, repairing or replacing the property or resuming “operations” due to

                         interference at the location of the rebuilding, repair or replacement by strikers or other
                         persons; or

                  (2)    Suspension, lapse or cancellation of any license, iease or contract. But if the suspension,
                         lapse or cancellation is directly caused by the “suspension” of “operations”, the Company
                         will cover such loss that affects the lnsured’s Business Income or Rental Value during the
                         “period of restoration” and any extension of that period as provided under the Extended
                         Business Income or Rental Value Coverage Extension.

             d.   Any    Extra    Expense caused by or resulting from the suspension, lapse                    or cancellation of   any
                  license, iease or contract   beyond the “period of restoration”.
             e.   Any    other consequential loss, including fines and penalties, except as specifically provided
                  under the Contract Penalties Coverage Extension.




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    KTK-CMB-1 D91768-8-20                                         Page 9     of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 48 of 120 PageID #: 53


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   D.    LlMlTATlONS
         Under Section E. of the Property Coverage Form, Limitation 2., which iimits the amount the Company
         willpay for theft loss to specified types of personal property, does not apply to this coverage form. AH
         other limitations contained in Section E. of the Property Coverage Form apply to this coverage form.
         In   addition, the following limitation applies:

         Limitation         — “Electronic Data Processing Data and Media”

         The Company           will    not pay for any loss of Business       Income or Rental Value caused by                  direct physica!
         loss of or    damage          to “electronic data processing data      and media” after the longer of:
         1.     60 consecutive days from the date of                direct physical loss or       damage; or
         2.     The   period, beginning with the date of direct physical loss ordamage, necessary to repair, rebuild
                or replace, with reasonable   speed and simiIar quality, other property at the Insured’s premises (or
                other location of loss to which the insurance applies) that suffers loss or damage in the same
                occurrence, provided the Business Income or Rental Value loss caused by the loss of or damage
                to such property is not otherwise excluded under this coverage form.

         This limitation does not apply to Extra Expense.


    E.   LIMITS       OF INSURANCE
         Refer to the Application of Limits of Insurance conditions                      in   the Policy Conditions, Additional
         Provisions and Definitions Form.


    F.   DEDUCTIBLES
         Refer to the Application of Deductibles conditions                     in   the Policy Conditions, Additional Provisions and
         Definitions Form.


    G.   ADDITIONAL CONDITION
         The    following condition applies           in   addition to the conditions contained              in   the Policy Conditions,
         Additional Provisions             and    Definitions Form:

         Loss Determination
         1.     The amount         of   Business Income or Rental Value loss             will   be determined based on:
                a.    The Net Income          or Rental     Value of the business before the               direct physical loss or   damage
                      occurred;

                b.    The  likely Net Income or Rental Value of the business if no direct physical loss or damage
                      occurred, but not including any likely increase in Net Income or Rental Value attributable to an
                      increase in the volume of business as a result of favorable business conditions caused by the
                      impact of the Covered Cause of Loss on customers or on other businesses;

                c.    The    operating expenses, including “ordinary payroll expenses” to the extent insured, necessary
                      to    resume “operations” with the same quality of service that existed just before the direct
                      physical loss or       damage; and
                d.    Other relevant sources of information, including:

                      (1)    The      financial records    and accounting procedures            of the Insured;

                      (2)    Bills,   invoices and other vouchers;        and

                      (3)    Deeds,      liens,   contracts or leases.

         2.     The amount            of Extra    Expense   wiII   be determined based on:

                a.    Allreasonable and necessary expenses that exceed the normal operating expenses that would
                      have been incurred by “operations” during the “period of restoration” if no direct physical loss or
                      damage had occurred. The Company will deduct from the total of such expenses:


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    KTK—CMB—1 091 768—8—20                                            Page 10    of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 49 of 120 PageID #: 54


                                                                                                                      MS   C1 O1 1O 18

                (1)   The salvage value       that remains of any property bought               for   temporary use during the “period
                      of restoration”,     once “operations” are resumed; and

                (2)   Any   Extra    Expense     that   is   paid for by other insurance, except for insurance that is written
                      subject to the      same   plan, terms, conditions       and provisions as this insurance; and
           b.   All   reasonable and necessary expenses that reduce the Business Income or Rental Value loss
                that otherwise       would have been           incurred.

      3.   The Company        will   reduce the amount of the Insured’s:

           a.   Business Income or Rental Value                  loss, to the extent the   Insured can     resume   “operations”   in
                whole or in part, by using:

                (1)    Damaged       or   undamaged          property (including merchandise or “stock”) at the Insured’s
                       premises or elsewhere; or

                (2)   Any   other available sources of materials or outlets for the lnsured’s products.

           b.   Extra   Expense      loss to the extent the Insured         can return “operations” to normal and discontinue
                such Extra Expense.

      4.   If the Insured intends to continue the Insured’s business, the Insured must resume “operations”, in

           whole or in part, as quickly as possible. If the insured does not resume “operations”, or does not
           resume “operations” as quickly as possible, the Company will pay based on the length of time                            it

           would have taken to resume “operations” as quickly as possible.




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    KTK-CMB-1D91768—8—20                                      Page 11 of 11
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 50 of 120 PageID #: 55


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         EARTHQUAKE, VOLCANIC ERUPTION, LANDSLIDE AND MINE SUBSIDENCE
    This endorsement modifies the insurance provided under this policy.

   A.    The   following are      added   to the   Covered Causes of Loss and the “specified causes                  of toss”:

         1.    Earthquake, meaning a shaking or trembling of the earth's crust, caused by underground volcanic
               or tectonic forces or by breaking or shifting of rock beneath the surface of the ground from natural
               causes.

               Volcanic Eruption, meaning the eruption, exp!osion or effusion of a volcano.

               Landslide,      meaning the    rapid   downward movement              of   a mass of rock, earth or   artificial   fill   on a
               slope.

         4.    Mine Subsidence, meaning lateral or vertical ground movement caused by a failure initiated at the
               mine level of man-made underground mines, including but not limited to coal, clay limestone and
               ﬂuorspar mines.

         AllEarthquake shocks, Volcanic Eruptions, Landslides or Mine Subsidence ground movements that
         occur within any 168—hour period will constitute a single Earthquake, Volcanic Eruption, Landslide or
         Mine Subsidence. The expiration of this policy will not reduce the 168-hour period.

    B.   The Earth Movement    exclusion contained in Section D, of the Property Coverage Form does not
         apply to the insurance specificany provided under this endorsement for loss or damage caused by
         Earthquake, Volcanic Eruption, Landslide and Mine Subsidence. All other exclusions and limitations
         in this policy continue to apply. For example, loss caused directly or indirectly by a cause of loss

         excluded under the Flood exclusion in Section D.1 .b. of the Property Coverage Form, such as waves
         or tides, is excluded even if the waves or tides are attributable to an Earthquake to which this
         endorsement          applies.


    C.   The   following additional exclusions apply to this insurance:

         1.    This insurance for Earthquake, Volcanic Eruption, Landslide and Mine Subsidence does not apply
               to,or modify any limits or deductibles that apply to:

               a.    The insurance otherwise provided   for loss or damage by fire or explosion that results from an
                     Earth Movement, other than Volcanic Eruption, and for loss or damage by fire, building glass
                     breakage or “volcanic action” that results from a Volcanic Eruption; or

               b.    Any   other insurance provided for loss or         damage        to   which the Earth Movement exclusion
                     does not apply.
         2.    The Company will not pay for loss or damage caused by or resulting from any Eadhquake,
               Volcanic Eruption, Landslide or Mine Subsidence that begins before the inception of this
               insurance.

         3.    This insurance does not apply to the cost of restoring or stabilizing land or to loss resulting from
               the time required to restore or stabilize land.


    D.   The most       the   Company
                                    will pay for the tota! of all loss or damage caused by Earthquake, Volcanic

         Eruption, Landslide    and Mine Subsidence in any one po|icy year, commencing with the inception date
         of this policy, is the single highest Annual Aggregate Limit of Insurance specified in the Supplemental
         Coverage Declarations for Earthquake, Volcanic Eruption, Landslide and Mine Subsidence.
         Subject to the single highest Earthquake, Volcanic Eruption, Landslide and Mine Subsidence Annual
         Aggregate   Limit of Insurance:

         1.    Any individual Annual Aggregate Limit of Insurance specified in the Supplemental Coverage
               Declarations for Earthquake, Volcanic Eruption, Landslide and Mine Subsidence is the most the
               Company will pay in any one policy year for all loss or damage to which that Limit of Insurance
               applies.




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    KTK—CMB-1 D91768-8-20                                        Page   1   of   2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 51 of 120 PageID #: 56


                                                                                                                 MS CZ   04 1O 18

        2.    If more than one Earthquake, Volcanic Eruption, Landslide and Mine Subsidence Annual

              Aggregate Limit of Insurance applies to loss or damage under this endorsement in any one
              occurrence, each limit will be applied separately, but the most the Company will pay under this
              endorsement for all loss or damage in that occurrence is the single highest Earthquake, Volcanic
              Eruption, Landslide and Mine Subsidence Annual Aggregate Limit of Insurance applicable to that
              occurrence.
        3.    The Earthquake, Volcanic    Eruption, Landslide and Mine Subsidence Annual Aggregate Limits of
              Insurance applicable to loss or damage under this endorsement are included in, and do not
              increase, the Limits of Insurance otherwise provided under this policy, and apply regardless of the
              items or types of property, number or types of coverages (including any business income, rental
              value and extra expense coverages) or number of premises involved. Amounts payable under
              this endorsement for any items or types of property, or under any coverages, will not:

              a.   Exceed the applicable property and coverage         Limits of Insurance provided under this policy;
                   nor
              b.   Increase the applicable Annual Aggregate Limits of Insurance under                  this   endorsement.
              This includes payments for loss under any coverage (such as Debris Removal, Ordinance or
              Law, Utility Services —— Direct Damage or Utility Services — Time Element) that is attributable to an
              Earthquake, Volcanic Eruption, Landslide or Mine Subsidence to which this endorsement applies
              and that would not have been covered        in   the absence of this endorsement.

   E.   Under the Property Coverage Form, when a     building at the Insured’s premises is Covered Property
        insured under this policy, the insurance provided under this endorsement is extended to apply to loss
        or   damage to underground   pipes, flues and drains at those premises caused by Earthquake, Volcanic
        Eruption, Landslide or   Mine Subsidence. But this will not increase the limit that applies to this
        insurance.




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    KTK-CMB-1 D91768—8—20                                 Page 2    of 2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 52 of 120 PageID #: 57


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                                                                             FLOOD
   This endorsement modifies the insurance provided under this policy.

   A.    The     following   is   added    to the   Covered Causes                  of   Loss and the “specified causes of               loss”:

         Flood, meaning:

         1.     Flood, surface water, underground water, waves (including tidal waves and tsunami), tides, tidal
                water, overflow of any body of water, or their spray, all whether driven by wind or not (including
                storm surge);

                 Mudslide or mudﬂow;

                 Release of water impounded by a dam;

                Water or sewage which backs up or overflows or                                is   otherwise discharged from a sewer, drain,
                sump, sump pump or retated equipment; and

         5.     Waterborne material carried or otherwise moved by any of the water referred                                      to in   1., 3.   or 4. above,
                or material carried or otherwise moved by mudslide or mudﬂow;

         all   whether naturally occurring or due to man-made or other                                  artificial   causes.

    B.   All    Flood loss that occurs:

         1.      During a period of continued rising or overflow of any rivers, streams or any bodies of water and the
                 subsidence of same within the banks of such rivers, streams or bodies of water; or

         2.      Due to any tidal waves        or tsunamis that occur within any 168-hour period;

         will   constitute   a single Flood occurrence.

         If Flood loss commences prior to the expiration date of this policy and the Flood occurrence, as defined

         above, extends beyond the expiration date of this policy, the expiration of the policy will not reduce the
         Flood occurrence period.

    C.   Under the Exclusions contained                in    Section D. of the Property Coverage Form:

         1.      The Earth Movement exclusion does                         not apply to the insurance otherwise provided under this
                 endorsement       for loss or   damage caused                 by or resulting from:

                 a.   Mudslide or        mudﬂow that        is    caused or         precipitated by the accumulation of water on or                   below
                      the surface of the ground; or

                 b.   Flood that    is    attributable to an Earth Movement such as a tsunami, but                               this   exception does
                      not apply to       any Earth Movement that results from such Flood.
         2.      The Flood exclusion does            not apply to the insurance specifically provided under this
                 endorsement,

         All    other exciusions and limitations                 in this   policy continue to apply.


    D.   The     following additional exclusions apply to this insurance:

         1.      This insurance for Flood does not apply                      to,   or modify         any   limits or   deductibles that apply      to:

                 a.   The insurance otherwise provided                      for loss or        damage by        fire,   explosion or leakage from         fire
                      protective    equipment that          results        from Flood; or

                 b.   Any   other insurance provided for loss or                         damage by Flood          to    which the Flood exclusion does
                      not apply,

         2‘      The Company        will   not pay for loss or             damage caused by                 or resulting from   any Flood occurrence
                 that begins before the inception of this insurance.




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    KTK—CMB-1D91768—8—20                                                     Page        1   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 53 of 120 PageID #: 58


                                                                                                                                             MS CZ       06 10 18

        3.         This insurance does not apply to the cost of restoring, recovering or dewatering Iand or to loss
                   resulting from the time required to restore, recover or dewater land.

        4.         Uniess otherwise specified                in   the Supplemental Coverage Declarations, this insurance for Flood
                   does not apply         to loss or   damage             to,    or loss that      is   a consequence of loss or          damage   to:

                   a.    Any   building or structure orany property in the open in the United States of America if, at the
                         time of loss, the building or structure or property in the open is, in whole or in part, located
                         within Flood Zone A, Flood Zones prefixed A, Flood Zone V or Flood Zones prefixed V as
                         classiﬁed under the National Flood Insurance Program; or

                   b.    Any   property     in   or on any building or structure                 in the United States of America if, at the time
                         of loss, the building or structure                     in   or on which such property is located is, in whole or in part,
                         within Flood      Zone     A, Flood        Zones            prefixed A, Flood Zone V or Ftood Zones prefixed V as
                         classified      under the National Flood Insurance Program.

   E.   If,       at the time of loss,      a    building,    a structure or property                    in the open in the United States of America is
        located within          more than one Flood Zone as                             classified      under the National Flood Insurance Program,
        Flood coverage for loss or                  damage
                                                or loss that is a consequence of loss or damage to that
                                                                    to,
                                             open will be subject to the insurance, Annual Aggregate Limit of
        building, structure or property in the
        Insurance and deductible, if any, that would apply under this policy ifthat building, structure or
        property in the open was wholly located within the most hazardous of the Flood Zones, as defined
        below, in which   is located. The most hazardous Flood Zone that is determined to apply to a
                                    it


        building or structure will also apply with respect to loss or                                      damage to,       or loss or   damage   that   is   a
        consequence             of loss or       damage       to   any property             in   or on such building or structure.

        The foHowing  listing of Flood Zones, as classified under the National Flood Insurance Program,                                                       is in
        order of the most hazardous to least hazardous:

                   Flood Zone       V and       Flood Zones prefixed V;

                   Flood Zone       A and       Flood Zones prefixed A;
        PSA’NT‘




                   Fiood Zone D;

                   Flood Zone B, Flood Zone              X        (shaded) and Zone X—500;

        5.         Flood Zone       C and       Flood Zone X.

        If, at the time of loss resulting from Flood in the United States of America, the community in which


        property is located has been suspended from the National Flood Insurance Program, the Flood Zones
        that applied under the National Flood Insurance Program prior to the suspension win be used in
        determining the Flood Zones that apply to the property.

        The most the Company will pay for the total of all loss or damage caused by Fiood in any one policy
        year, commencing with the inception date of this policy, is the single highest Annual Aggregate Limit
        of Insurance specified in the Supplemental Coverage Declarations for Flood.

        Subject to the single highest Flood Annual Aggregate Limit of Insurance:

         1.        Any   individual    Annual Aggregate Limit of Insurance specified in the Supplemental Coverage
                    Declarations for Flood      is the most the Company will pay in any one policy year for all loss or

                   damage      to   which that Limit of Insurance applies.

        2.         If more than one Flood Annual Aggregate Limit of Insurance applies to loss or damage under this

                   endorsement in any one occurrence, each limit wiIl be applied separately, but the most the
                   Company will pay under this endorsement for all loss or damage in that occurrence is the single
                   highest Flood Annual Aggregate Limit of Insurance applicable to that occurrence.

        3.         The Flood Annual Aggregate     Limits of Insurance applicable to loss or damage under this
                    endorsement are included in, and do not increase, the Limits of Insurance otherwise provided
                    under this policy, and apply regardless of the items or types of property, number or types of
                    coverages (including any business income, rental value and extra expense coverages) or number



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    KTK-CMB—1 091768-8-20                                                             Page 2     of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 54 of 120 PageID #: 59


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               of   premises involved. Amounts payable under                this   endorsement        for   any items or types of
               property, or under   any coverages, will not:
               a.     Exceed the applicable property and coverage                 Limits of Insurance provided under this policy;
                      or

               b.     Increase the applicable Annual Aggregate Limits of Insurance under this endorsement.
               This includes payments for loss under any coverage (such as Debris Removal, Ordinance or
               Law, Utility Services — Direct Damage or Utility Services - Time Element) that is attributable to a
               Fiood to which this endorsement applies and that would not have been covered in the absence of
               this   endorsement.

    G.   Under the Property Coverage Form, when a      building at the lnsured’s premises is Covered Property
         insured under this policy, the insurance provided under this endorsement is extended to apply to loss
         or   damage       to   underground pipes, flues and drains         at   those premises caused by Flood. But this           will
         not increase the         limit that   applies to this insurance.




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    KTK-CMB—1 091 768-8-20                                        Page 3    of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 55 of 120 PageID #: 60

                                                                                                                              MS CZ   10 1O 18


                                                    BOILER AND MACHINERY
   This endorsement modifies the insurance provided under this policy.

   A.   Additional Covered           Cause     of   Loss
        Covered Causes of Loss and “specified causes of loss” are extended                               to include     an Accident   to a
        Covered Object as defined and limited in this endorsement.

        1.   Accident
             a.   Accident means:

                  (1)    Failure of pressure or        vacuum equipment;
                  (2)    Mechanica!       failure, including      rupture or bursting caused by centrifugal force; or

                  (3)    Electrical failure, including arcing;

                  that   causes physical damage            to   a Covered Object and necessitates                 its   repair or replacement.

             b.   Accident does not          mean    or include:

                  (1)    Cracking of any part of an internal combustion gas turbine exposed t0 the products of
                         combustion;

                  (2)    Functioning of any safety or protective device;

                  (3)    Leakage     at   any valve,   fitting,   shaft seal, gland packing, joint or connection; or

                  (4)    Malfunction including adjustment, alignment, calibration, cleaning or modification.

             c.   If an initial Accident causes other Accidents, all will be considered one Accident. All

                  Accidents that manifest themselves at the same time and are the direct result of the same
                  cause will also be considered one Accident, regardless of the number of locations involved.
        2.   Covered Object
             a.   Covered Object means equipment of a type                       listed in 2.b.     below that    is:


                  (1)     At or within 1,000 feet of the Insured’s premises described in the most recent Statement
                          of Values or other documentation on file with the Company, or at a newly acquired
                          location as otherwise insured and limited under this policy; and

                  (2)     Owned      or leased by the Insured or operated under the Insured’s control;                         and
                  (3)     Not otherwise excluded           in 2.0.   below.

             b.   Covered Object includes the following types                    of equipment:


                  (1)     Equipment designed and            built to   operate under internal pressure or vacuum other than
                          weight of contents;

                  (2)     Electrical or     mechanical equipment that             is   used   in   the generation, transmission or
                          utilization of    energy; and

                  (3)     Fiber optic cable.

             c.   Covered Object does not mean or include any:

                  (1)    Structure, foundation, cabinet or            compartment supporting or containing the Covered
                         Object or part of the Covered Object;

                  (2)    Insulating or refractory material;

                  (3)    Power shovel, dragiine, excavation or construction equipment, including any equipment
                         mounted on or used solely with any power shovel, dragline, excavation or construction
                         equipment;

                  (4)    Catalyst;


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    KTK—CMB-1 D91768—8—20                                            Page   1   of 5
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 56 of 120 PageID #: 61


                                                                                                                                     MS CZ         10 1O 18

                   (5)    Pressure vessels or piping that are buried below, under or encased in ground, ice, sand,
                          cement or other material and require the excavation of materials to inspect, remove,
                          repair or replace;

                   (6)    Penstock, draft tube or well casing;

                   (7)    Vehicle, aircraft, self—propelled equipment or floating vessel including any equipment
                          mounted on or used solely with any vehicle, aircraft, self—propelled equipment or floating
                          vessek

                   (8)    Part of pressure or        vacuum equipment           that   is   not under internal pressure of                 its   contents
                          or internal   vacuum;

                   (9)    Non-metallic pressure or vacuum equipment. unless   is constructed and used in
                                                                                                      it


                          accordance with the American Society of Mechanical Engineers (A.S.M.E.) code or a
                          Code that has been accepted by the National Board of Boiler and Pressure Vessel
                          inspectors;

                  (10) Felt, wire, screen, mold, form, pattern, die, extrusion plate, swing hammer, grinding disc,
                       cutting blade, cable, chain, belt, rope, clutch plate, brake pad, vacuum tube, gas tube,
                          brush, or any other part or tool subject to periodic replacement;

                  (1 1)   Astronomical telescope, cyclotron used for other than medical purposes, nuclear reactor‘
                          particle accelerator used for other than medical purposes, satellites or spacecraft
                          (including    any equipment mounted on or used solely with any                               satellite or spacecraft);             and

                  (12) Objects manufactured or held by the Insured for sale to others.


   B.   Boiler    and Machinery Coverage Extensions
        Each of the following Boiler and Machinery Coverage Extensions also applies when a Limit of
        Insurance for the Coverage Extension is indicated in the Supplemental Coverage Declarations:

        1.   Hazardous Substance
             a.    Ifas a result of an Accident to a Covered Object, property at or within 1,000 feet of the
                   Insured’s premises or a newly acquired location is damaged, contaminated or polluted by a
                   substance declared to be hazardous to health by a governmental agency, the Company will
                   Payi

                   (1)    The   additional      expense the Insured incurs to clean up, repair, replace or dispose                                 of   any
                          such property that       is Covered Property under the Property Coverage Form; and


                   (2)    The increase in loss under the Business Income Coverage Forms or the Extra Expense
                          Coverage Form due to the additional time required to clean up, repair, replace or dispose
                          of the property provided Business Income, Rental Value or Extra Expense loss resulting
                          from damage to such property is not otherwise excluded under those Coverage Forms.
                          Subject to the Limit of Insurance that applies to this Coverage Extension, the “period of
                          restoration” under the Business Income Coverage Forms and the Extra Expense
                          Coverage Form is extended to include this additional period of time.
             b.    As used      in   Coverage Extension, additional expense and increase in loss mean expenses
                                     this
                   and    loss incurredbeyond the expense and loss for which the Company would have been
                   liable   had no substance declared to be hazardous to health by a governmental agency been
                   involved.

                   The most the Company               will   pay under   this   Coverage Extension               for    all   additional   expense and
                   increase in loss arising out of any one Accident that                       is   incurred    due      to   damage,
                   contamination or pollution by:

                   (1)    Ammonia       is   the Limit of Insurance specified for Boiler and Machinery Ammonia
                          Contamination shown           in the Supplemental Coverage Declarations; or


                   (2)    Any   other substance declared to be hazardous to health by a governmental agency                                             is   the
                          Limit of Insurance specified for Boiler           and Machinery Hazardous Substance shown                                     in   the
                          Supplemental Coverage Declarations.


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    KTK-CMB-1 D91768v8—20                                           Page 2      of 5
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 57 of 120 PageID #: 62


                                                                                                                                  MS CZ    1O 1O 18

            d.   Payments under        this   Coverage Extension are              part of      and not       in   addition to the Limit of
                 Insurance that applies        to:


                 (1)    Direct physical loss of or       damage         to   Covered Property; and

                 (2)    Loss of Business Income, Rental Value and/or Extra Expense;

                 caused by the Accident         to a    Covered Object.
       2.   Water Damage
            The insurance provided under the Property Coverage Form          is extended to apply to direct physical
            loss to  Covered Property at the Insured’s premises or at a newly acquired location that is
            damaged by water as a result of an Accident to a Covered Object. The most the Company will
            pay for this kind of damage, including salvage expense, is the Limit of Insurance specified for
            Boiler and Machinery Water Damage shown in the Supplemental Coverage Declarations. This
            limit is part of and not in addition to the Limit of Insurance that applies to direct physicai loss of or
            damage to Covered Property caused by an Accident to a Covered Object.
       3.   Consequential       Damage
            a.   The Insurance provided under the Property Coverage Form is extended to apply to direct
                 physical loss of or damage to perishable Business Personal Property at the Insured’s
                 premises or    at   a newly acquired location that              is:


                 (1)    Maintained under controlled conditions for                    its   preservation;         and
                 (2)    Susceptible to loss or        damage     if   the controlled conditions change;

                 due to spoilage resulting from lack or excess of power,                           light,   heat,     steam or   refrigeration that
                 is caused solely by an Accident to a Covered Object.


                 Insurance under this Coverage Extension includes the reasonable expense the Insured
                 incurs to reduce or avert the spoilage loss or damage, but only to the extent the amount of
                 loss otherwise payable under this Coverage Extension is reduced.

            b.   The most     the   Company will pay        for loss or        damage under this Coverage Extension is the
                 Limit of Insurance specified for Consequential                   Damage shown in the Supplemental Coverage
                 Declarations. This       limit is    part of   and not in addition to the Limit of Insurance that applies to
                 direct physical loss of or          damage     to Covered Property caused by an Accident to a Covered
                 Object.

            c.   The Company    will not pay for any loss or damage under this Coverage Extension resulting

                 from the Insured’s failure to use due diligence and dispatch and all reasonable means to
                 protect the property from damage following an Accident.

            d.   As soon as     possible after an Accident, the Insured must make use of every available                                   means
                 to    reduce or avert loss under this Coverage Extension, including:

                 (1)    Merchandise or other property such as surplus machinery, duplicate parts, equipment,
                        supplies and surplus or reserve stock the Insured owns, controls or can obtain; and

                 (2)    Salvaging the perishable Business Personal Property.

                 The Company    will not pay for loss or damage under this Coverage Extension that results

                 from the lnsured’s failure to use all reasonable means to protect the perishable Business
                 Personal Property from damage foliowing an Accident.

            e.   Insurance under      Coverage Extension appiies only with respect to Accidents that occur
                                       this
                                    Coverage Extension is in effect. But if such Accidents result in loss or
                 during the time this
                 damage under this Coverage Extension that continues beyond the termination or expiration
                 of this Coverage Extension, the Company’s liability for that loss or damage will not be limited
                 by the termination or expiration of             this   coverage.




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    KTK-CMB—1 D91768—8—20                                         Page       3 of 5
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 58 of 120 PageID #: 63


                                                                                                                                      MS C2     1O 1O 18

        4.   Utility     Services

             a,   The term Covered Cause of Loss, under the Utility Services -— Direct Damage endorsement
                  and Utility Services - Time Element endorsement, is extended to include an Accident to an
                  object that      is:



                   (1)    Utility Supply Services Property, as defined                     in   the   Utility   Services endorsements,          owned
                          by a public or private utility company;

                   (2)    Located:

                          (a)   At a location other than the lnsured’s premises with respect to the insurance provided
                                under the Utility Services — Direct Damage endorsement; or

                          (b)   At a location other than the Insured’s premises or outside a building at the Insured’s
                                premises with respect to the insurance provided under the Utility Services — Time
                                Element endorsement; and

                   (3)    Not a type of object that          is   otherwise excluded under this endorsement.

                   (1)    When    the Utility Services Limit of Insurance shown in the Supplemental Coverage
                          Declarations includes Boiler and Machinery, the Limits of Insurance that apply to the
                          Utility Services -— Direct Damage endorsement and/or Utility Services -— Time Element

                          endorsement, also apply to loss under                    this    Coverage Extension, and does not increase
                          that Limit of Insurance.

                   (2)    When  a Utility Services Limit of Insurance is indicated in the Supplemental Coverage
                          Declarations for Boiler and Machinery only, that Limit of Insurance is the most the
                          Company        will    pay   for loss   under    this   Coverage Extension.

   C.   Boiler    and Machinery Exclusions and Limitations
        The exclusions and          limitations that        apply to   this policy     apply to loss or           damage under this
        endorsement, except as follows:

        1.   Under the Exclusions contained                  in   Section D. of the Property Coverage Form:

             a.    Exclusion      1.h.,   Ordinance or Law,           is   amended by           the addition of the following:

                   Except as otherwise provided under the Hazardous Substance Coverage Extension, this
                   exclusion applies to any increase in loss due to the discharge, dispersal, seepage, migration,
                   release or escape of any hazardous substance declared to be hazardous to health by a
                   government authority as a result of an Accident to a Covered Object.
                   Exclusions      2.a., 2.0.(6), 2.d., 2.],        and    2.|.   do not   apply.

                   Exclusion 2.9.         is   replaced by the following:

                   The Company will  not pay for loss caused by the discharge, dispersal, seepage, migration,
                   release or escape of “pollutants” caused by an Accident to an object except as otherwise
                   provided under the Hazardous Substance Coverage Extension.

        2.   Under the Limitations contained                 in   Section E. of the Property Coverage Form:

             a.    Limitations 1.a        and     1.b.   do not apply.
             b.    Limitation     3. is   replaced by the following:

                   The Company            will   pay the cost to repair any defect to a system or appliance from which
                                                 not
                   water, other liquid,       powder or molten material escapes, unless the defect is itself caused by
                   an Accident       to   a Covered Object.

        3.   The   following additional exclusions apply to the insurance provided                                  by    this   endorsement:
             a.    The Company will not pay for loss or damage caused directly or indirectly by any of the
                   following Such loss or damage is excluded regardless of any other cause or event that
                   contributes concurrently or              in    any sequence       to the loss.




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    KTK-CMB—1 D91768—8-20                                              Page 4       of 5
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 59 of 120 PageID #: 64


                                                                                                                                  MS CZ   1O 1O 18

                      (1)   Lack or excess of power, light, heat, steam or refrigeration. But this exclusion does not
                            apply to Business Income, Rental Value, Extra Expense or Leasehold Interest coverage
                            or to the Consequential Damage Coverage Extension or Utility Services Coverage
                            Extension, when applicable.

                      (2)   An Accident  to a Covered Object that takes place while the Covered Object is undergoing
                            a     which subjects the Covered Object to greater than maximum allowable operating
                                test
                            conditions as identiﬁed by the manufacturer of the Covered Object.

                      (3)   An Accident     to:


                            (a)    Electronic data processing, recording or storage         media such as films, tapes, discs,
                                   drums   or celIs used    in   conjunction with electronic computer or electronic data
                                   processing equipment;

                            (b)    Data stored on   this    media; or

                            (c)    Programming records used             for electronic      data processing or electronically controlled
                                   equipment;

                            whether or not the media or data              is in   actual use at the time of the Accident.

                b.    The Company will not pay for direct physical loss or damage to property caused by                                 water,
                      even when the water is a result of an Accident to which this insurance applies. But                               this
                      exclusion does not apply to the Water Damage Coverage Extension or to Business Income,
                      Rental Value, Extra Expense or Leasehold Interest coverage.

                c.    With respect only to the Utility Services Coverage Extension, the Company will not pay for
                      loss caused by or resulting from an Accident that is itsetf caused by collapse.


   D.    Boiler      and Machinery Limits of Insurance
         When  “Included” is indicated in the Supplemental Coverage Declarations for Boiler and Machinery
         Property Damage, Business Income, Rental Value, Extra Expense or Leasehold Interest, the
         insurance under this endorsement is provided subject to the Limit of Insurance that otherwise applies
         under       this policy to the    coverage   for   which “Included”          is   indicated. This       is    not additional insurance.

         When   a specific Limit of Insurance is indicated in the Supptemental Coverage Declarations for Boiler
         and Machinery Property Damage, Business Income, Rental Value, Extra Expense or Leasehold
         Interest, the most the Company will pay for loss under this endorsement is the applicable Limit of
         Insurance specified in the Supplemental Coverage Declarations. These Limits of Insurance are part
         of, and do not increase the Limits of Insurance that otherwise apply to such coverages under this

         policy.

         Payments under the   Boiler and Machinery Coverage Extensions                                will   not increase the Boiler     and
         Machinery Limits of Insurance.

    E.   Boiler      and Machinery Additional Condition
         The following          additional condition applies to the insurance provided under this endorsement:
         Suspension
         If any Covered Object is found to be in, or exposed to a dangerous condition, the Company
                                                                                                   may
         immediately suspend the insurance provided for loss caused by or resulting from an Accident to that
         Covered Object. The suspension can be done by delivering or mailing a notice of the suspension to:
         1.     The    Insured’s last      known address;        or

         2.     The address where the Covered Object                     is   located.

         The Insured     get a pro rata refund of premium for the suspended insurance. But the suspension
                            will

         will   be      even if the Company has not yet made or offered a refund. Once suspended, such
                     effective
         insurance can only be reinstated by a written endorsement issued by the Company.




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    KTK-CMB-‘l 091768—8-20                                             Page       5 of 5
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 60 of 120 PageID #: 65


                                                                                                                        MS C2   19 1O 18

                                                   ELECTRONIC VANDALISM
   This endorsement modifies the insurance provided under this poiicy.

   A.    The    following   is   added   to the   Covered Causes     of   Loss and the “specified causes of           loss”:

         “Electronic Vandalism”


    B.   The  Electronic Vandalism exclusion contained in Section D. of the Property Coverage Form does not
         apply to the insurance specifically provided under this endorsement. All other exclusions and
         limitations in this policy continue to apply.


    C.   This insurance for “Electronic Vandalism” does not apply to or modify any                       limits or   deductibles that
         apply to:

         1.    The insurance otherwise provided           for loss or     damage         by a “specified cause of loss” that results
               from “electronic vandalism"; or

         2.    Any    other insurance provided under this policy to which the Eiectronic Vandalism exclusion
               specifically  does not apply.

    D.   The most the Company      will pay under this endorsement for all loss or damage caused by or resulting

         from    incidents of “electronic vandalism” that occur in any one policy year, commencing with the
                all

         inception date of this policy is the Annual Aggregate Limit of Insurance specified in the Supplemental
         Coverage Declarations for Limited Electronic Vandalism Cause of Loss Coverage. This limit is part
         of, and does not increase the Limits of Insurance otherwise provided under this policy, and applies

         regardless of the items or types of property, the number or types of coverages (including any
         business income, rental value and extra expense coverages) or the number of premises involved.
         Amounts payable under this endorsement for any items or types of property, or under any coverages,
         will not:


         1.    Exceed the applicable property and coverage                    Limits of Insurance provided under this policy; nor

         2.    Increase the Limited Electronic Vandalism              Cause        of   Loss Coverage Annual Aggregate Limit of
               Insurance under this endorsement.

         This includes payments for loss under any coverage that is attributable to “electronic vandalism” to
         which this endorsement applies and that would not have been covered in the absence of this
         endorsement.




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    KTK-CMB—1DQ1768—8—20                                         Page     1   of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 61 of 120 PageID #: 66


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                EXCLUSION OF NUCLEAR HAZARD, WAR, MILITARY ACTION AND
              PATHOGENIC OR POISONOUS BIOLOGICAL OR CHEMICAL MATERIALS
   This endorsement modifies the insurance provided under                               this policy.


   A.    The Nuclear Hazard Exclusion                     is replaced by the following Exclusion. With respect to any form,

         endorsement or coverage                   to   which the Nuclear Hazard Exclusion does not apply, that Exclusion                         is
         hereby added as follows.

         NUCLEAR HAZARD
         1.    The Company will                not pay for loss or       damage caused            directly or indirectly     by nuclear reaction or
               radiation, or radioactive contamination,                   however caused. Such               loss or    damage     is excluded
               regardless of any other cause or event that contributes concurrently or                                  in   any sequence   to the
               loss.

               With respect only               to direct physical loss or     damage         to   Covered Property occurring         within the
               states      of:


               Arizona, California, Connecticut, Georgia, Hawaii, Idaho, Illinois, Iowa, Louisiana, Maine,
               Massachusetts, Michigan, Minnesota, Missouri, Nebraska, New Hampshire, New Jersey, New
               York, North Caroiina, North Dakota, Oklahoma, Oregon, Pennsylvania, Rhode Island, Virginia,
               Washington, West                 Virginia,   Wisconsin
               the following exception to this Nuclear Hazard Exclusion applies:

               Ifnuclear reaction or radiation, or radioactive contamination, results in fire, the Company will pay
               for the loss or damage caused by that fire. However, this exception for fire applies only to direct
               loss or damage by fire to Covered Property. This fire exception does not appty to any other
               insurance provided underthis policy including, but not limited to, any insurance provided under
               this policy for Business Income, Rental Value, Extra Expense, Leasehold Interest or Legal Liability
               coverage.

               In the event of loss or damage under this exception for fire, the value of the lost or damaged

               Covered Property will be determined at actual cash value at the time of loss, without allowance for
               any increased cost attributable to enforcement of any ordinance or law regulating the construction,
               use or repair of the property. Any Ordinance or Law coverage provided under this policy does not
               apply to loss or          damage under this          exception for      fire,


               With respect to any activity that comes within the terms of the War and Military Action Exclusion
               and involves nuclear reaction or radiation, or radioactive contamination, the War and Military
               Action Exciusion supersedes this Nuclear Hazard Exclusion.

    B.   The War and Military Action Exclusion is repIaced by the following Exclusion. With respect to any
         form, endorsement or coverage to which the War and Military Action Exclusion does not apply, that
         Exclusion is hereby added as follows.

         WAR AND MILITARY ACTION
         1.    The Company              will   not pay for loss or damage caused directly or indirectly by the following Such
               loss or         damage    is    excluded regardless of any other cause or event that contributes concurrentIy
               or   in   any sequence           to the loss.

               a.    Hostile or warlike action in time of peace or war, including action                           in    hindering, combating or
                     defending against an actual, impending or expected attack:

                         (1)   By any government            or sovereign     power (de jure or de facto), or by any authority
                               maintaining or using          military,   naval or air forces;

                         (2)   By   military,    naval or   air forces; or


                         (3)   By an agent        of   any such government, power, authority or forces.




    KTK—CMB—1D91768-8—20                                                   Page   1   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 62 of 120 PageID #: 67


                                                                                                                           MS C2   37 09 02



             b.    Insurrection, rebellion, revolution,   civil war, usurped power, or action taken by governmental

                   authority in hindering,     combating or defending against such an occurrence.

             Any discharge, explosion or use of any weapon of war employing nuclear fission or fusion will be
             conclusively presumed to be such a hostile or warlike action by such a government, power,
             authority or forces.

        2.   With respect to any action that comes within the terms of                  this exclusion and:

             a.    Involves nuclear reaction or radiation, or radioactive contamination, this                          War and      Military
                   Action Exclusion supersedes the Nuclear Hazard Exclusion.

             b.    Involves a discharge, dispersal, seepage, migration, release, escape or application of any
                   pathogenic or poisonous biological or chemical materials that comes within the terms of the
                   Pathogenic or Poisonous Biological or Chemical Materials Exclusion, this War And Military
                   Action Exclusion supersedes the Pathogenic or Poisonous Biological or Chemical Materials
                   Exclusion.

   C.   PATHOGENIC 0R POISONOUS BIOLOGICAL OR CHEMICAL MATERIALS
        1.   The Company will   not pay for loss or damage caused directty or indirectly by the discharge,
             dispersal, seepage, migration, release, escape or application of any pathogenic or poisonous
             biological or chemical materials. Such loss or damage is excluded regardless of any other cause
             or event that contributes concurrently or in any sequence to the loss.

             With respect only to direct physical loss or          damage       to   Covered Property occurring            within the
             states      of:


             Arizona, California, Connecticut, Georgia, Hawaii, Idaho, Illinois, Iowa, Louisiana, Maine,
             Massachusetts, Michigan, Minnesota, Missouri, Nebraska, New Hampshire, New Jersey, New
             York, North Carolina, North Dakota, Oklahoma, Oregon, Pennsylvania, Rhode Island, Virginia,
             Washington, West           Virginia,   Wisconsin

             the following exception to this Pathogenic or Poisonous Biological or Chemical Materials
             Exclusion applies:

             If the discharge, dispersal. seepage, migration, release, escape or application of
                                                                                                any pathogenic
             or poisonous biological or chemical materials results in fire, the Company will pay for the loss or
             damage caused by that fire. However, this exception for fire applies only to direct loss or damage
             by fire to Covered Property. This fire exception does not apply to any other insurance provided
             under this policy including, but not limited to, any insurance provided under this policy for Business
             Income, Rental Value, Extra Expense, Leasehold Interest or Legal Liability coverage.

             In   the event of loss or     damage under this      exception for       fire,   the value of the lost or     damaged
             Covered Property will be determined at actual cash value at the time of loss, without altowance for
             any increased cost attributable to enforcement of any ordinance or law regulating the construction,
             use or repair of the property. Any Ordinance or Law coverage provided under this policy does not
             apply to loss or        damage under this    exception for   fire.


        3.   This exclusion does not apply            when   both 3.a. and 3.b. below apply:

             a.    The pathogenic        or poisonous biological or chemical materials are normally kept at or brought
                   onto:

                   (1)     The  Insured's premises, with the lnsured’s consent, for use                    in   the Insured's business
                           operations at the Insured’s premises; or

                   (2)     Any premises, other than the     lnsured’s premises, by others                 for   use   in   conducting their
                           valid   business operations at such premises;

                   and
             b.    The    discharge, dispersal, seepage, migration, release, escape or application of the
                   pathogenic or poisonous biological or chemical materials is accidental and is not the result of
                   a willful or malicious act against any persons, organizations or property of any nature;

             but   all   other exclusions continue to apply.


    KTK-CMB-1D91768-8-20                                        Page 2   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 63 of 120 PageID #: 68

                                                                                           MS CZ   37 09 02



      4.   With respect to any action that comes within the terms of the War And Military Action Exclusion
           and involves a discharge, dispersal, seepage, migration, release, escape or application of any
           pathogenic or poisonous biological or chemical materials that comes within the terms of this
           Pathogenic or Poisonous Biological or Chemical Materials Exclusion, the War and Military Action
           Exclusion supersedes this Pathogenic or Poisonous Biological or Chemical Materials Exclusion.




    KTK-CMB-1 D91768-8—20                         Page 3   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 64 of 120 PageID #: 69


                                                                                                                                                MS C3     O1 1O 18


                                                                    BUILDERS RISK
   This endorsement modifies the insurance provided under the Property Coverage Form.

   A.    The   following        is   added   to Section B,1. of the Property                  Coverage Form:
         Builders Risk Property

         1.    This insurance applies to direct physical loss or damage by a Covered Cause of Loss to Builders
               Risk Property, as defined in 2. below, while at any of the following locations for which a Builders
               Risk Limit of Insurance is shown in the Supplemental Coverage Declarations:

               a.      At a Construction Site described in the Supplemental Coverage Declarations, the most recent
                       Statement of Values or other documentation on file with the Company;

               b.      At any temporary storage location; or

               c.      Intransit.

               This insurance also applies to the necessary and reasonable expenses incurred by the Insured to
               reprepare, reexcavate or regrade land or reperform similar land work at a covered Construction
               Site due to direct physical loss or damage at the Construction Site caused by or resulting from a
               Covered Cause of Loss. This coverage is subject to, and will not increase the Limit of Insurance
               that applies to the Construction Site,

               Builders Risk Property, as used                    in this   endorsement, means the following types of property that
               are     owned by       the Insured or for which the Insured                        is liable:


               a.      Buildings or structures            in    the course of construction;

               b.      Buitding materials       and supplies, equipment, machinery and                         fixtures intended to                   become a
                       permanent       part of the buildings or structures                   in    the course of construction; and

               c.      Construction forms, cribbing, scaffolding and temporary structures used                                           in   the construction 0f
                       the buildings or structures.

               The exclusion under item 12. in Section C. for underground tanks (including their contents),
               pipes, flues, drains and tunnels, and underground and overhead wires, does not apply to Builders
               Risk Property.

               With respect to each covered building or structure in the course of construction,                                               this   coverage   for
               Builders Risk Property will end when any of the following first occurs:

               a.      30 days expire        after the building or structure                 is   occupied or put         to    its   intended use;

                       3O days expire        after construction         is   complete;

                       The Company agrees              to      cover the completed building or structure under                            this policy;

               ﬁwgov   Any other insurance covers                 the property as a completed building or structure;

                       The Construction         Site      is   abandoned      with no intent to complete                  it;



                       The     lnsured’s interest         in   the property ceases; or

               ‘20     This policy expires or          is      cancelled.

               This coverage for Builders Risk Property does not apply to any loss or damage that is covered
               under any guarantee of any contractor, manufacturer or supplier, whether or not such contractor,
               manufacturer or supplier is a Named Insured under this policy.

    B.   Except as provided in Section C. of this endorsement, the following additional changes apply to
         Section B.1. of the Property Coverage Form:

         1.    Items     a.,   Buildings,     and   b.,     Business Personal Property, do not include Builders Risk Property.

         2.    Item     9.,   Newly Constructed or Acquired Property,                         is    amended as          follows:




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    KTK-CMB-1 D91768—8—20                                                    Page   1   of   2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 65 of 120 PageID #: 70


                                                                                                                                            MS C3   O1 10 18

             When     the Construction Sites and the Limit of Insurance applicable to each Construction Site are
             specifically identified on the Supplemental Coverage Dectarations for Builders Risk coverage, the
             Newly Constructed or Acquired Property coverage applies to new Construction Sites, except that
             the most the Company will pay in any one occurrence for loss or damage at any one new
             Construction Site is the highest Builders Risk Limit of Insurance indicated in the Supplemental
             Coverage Declarations for a specifically identified Construction Site.
             When   the Construction Sites are not specifically identified, and a Maximum Limit of Insurance at
             any one Construction Site, subject to a Maximum Limit of Insurance at all Construction Sites, is
             indicated in the Supplementa! Coverage Declarations for Builders Risk coverage, the Newly
             Constructed or Acquired Property coverage applies at new Construction Sites, except that the
             most the Company will pay in any one occurrence for loss or damage at any one new
             Construction Site is the Maximum Limit of Insurance at any one Construction Site indicated in the
             Supplemental Coverage Declarations.

        3.   Item   j.,   Covered Property               at   Undescribed Premises, does not apply to any Builders Risk Property.

        4.   When         a Builders Risk Limit of Insurance                        is   shownin the Supplemental Coverage Declarations for

             Property       in    Transit, the provisions of item                    k.,Covered Property in Transit, apply to Builders Risk
             Property. But the most the Company will                                 pay in any one occurrence for loss or damage to
             Builders Risk Propertyin the due course of transit is the Builders Risk Limit of Insurance shown                                             in
             the Supplemental Coverage Declarations for Property in Transit.


   C.   Except as provided by endorsement or by documented agreement on file with the Company,
        provisions B.1  B.3. and B.4. above do not apply to Builders Risk Property used in the reconstruction
                             A,


        of a covered building or structure following a covered loss to the building or structure under this
        policy.   Instead:

        1.   The    Limit of Insurance that otherwise applies to the                             covered building or structure will apply to
             such Builders Risk Property                      at the Insured‘s             premises where the building or structure is being
             reconstructed;

             The    Limit of Insurance,            if    any,      shown      in   the Supplemental Coverage Declarations                   for:

             a.     Covered Property              at     Undescribed Premises; or

             b.     Builders Risk, Property                   in Transit;


             whichever           is   greater,   will    apply to such Builders Risk Property while               it   is   at   a temporary storage
             site; and


             The    Limit of Insurance,             if   any,      shown      in   the Supplemental Coverage Declarations                   for:

             a.     Covered Property              in Transit;         or

             b.     Builders Risk, Property                   in   Transit;

             whichever           is   greater, will apply to           such Builders Risk Property while          it   is in     transit.




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    KTK-CMB—1 D91768—8-20                                                          Page 2    0f 2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 66 of 120 PageID #: 71

                                                                                                                                            MS C3    09 1O 18

                                                          CONTRACTORS EQUIPMENT
   This endorsement modifies the insurance provided under the Property Coverage Form.


   The following coverage                is   added:

   Contractors Equipment

   A.    The Company   will pay for direct physical loss or                         damage by a Covered Cause                      of   Loss   to Contractors
         Equipment, as defined in B. below, that is:

         1.   The   Insured's property or property of others                        in      the care, custody or control of the Insured; and

         2.   Described     in the most recent Schedule                         of Contractors          Equipment or other documentation on                 file

              with the    Company;
         while the property             is   at or   away from    the lnsured’s premises, or                  in   the due course of      transit, within        the
         Policy Territory.

    B.   Contractors Equipment, as used                       in this   coverage,        means mobile machinery and equipment                       that   is:


         1.   Used by the Insured                   for the   purpose     for   which       it   was designed and manufactured; and
         2.   Used   in   the Insured’s business.

    C.   The Company             will   also provide each of the following Additional Coverage Extensions for which a Limit
         of Insurance       is    shown     in the Supplemental Coverage DecIarations:


         1.   Newly Acquired Contractors Equipment
              The insurance provided for Contractors Equipment is extended to apply to direct physical loss or
              damage by a Covered Cause of Loss to newly acquired Contractors Equipment. This coverage
              will end when one of the following first occurs:


              a.    This policy          is   canceled or expires;

              b.    60 days expire from the date                   of     such acquisition;

              c.    The     property          is   reported to the      Company;         or

              d.    The property              is   more   specifically insured elsewhere.

              The Company               will   charge the Insured an additional premium                            for Contractors      Equipment values
              reported from the date that the Insured acquires the property.

              The most the Company will pay for loss or damage in any one occurrence under this coverage                                                          is

              the Limit of Insurance shown in the Supplemental Coverage Declarations for Newly Acquired
              Contractors Equipment.

         2.   Equipment Rental Expense
              a.    In   the event of covered loss or                   damage      to Contractors           Equipment by a Covered Cause                  of
                    Loss, the Company will pay any necessary and reasonable expenses incurred by the Insured
                    for the rental of temporary substitute Contractors Equipment to continue, as nearly as
                    practicable, the lnsured’s operations on work in progress or under contract.

              b.    Payment under this coverage                      is   limited to        such expenses incurred during the period of time
                    that:


                    (1)   Begins one working day after the date the direct physical loss or damage is reported to
                          the Company, meaning a period of 24 consecutive hours of a normally scheduled
                          workday beginning at midnight on the date the loss is reported to the Company; and

                    (2)     Ends on the              earlier of the following dates:

                            (a)    The date the damaged Contractors Equipment should be                                         repaired or replaced with
                                   reasonable speed and similar                    quality; or

                            (b)    The date the need             for the substitute               equipment ceases        to exist.


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    KTK-CMB—1 091768-8-20                                                       Page    1        of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 67 of 120 PageID #: 72


                                                                                                                                                      MS C3    09 10 18

                     The     expiration date of this policy                will   not cut short the Renta! Expense.

               c.    This coverage does not apply                    to:


                     (1)    Any expense       if   the Insured has suitable substitute equipment available to continue
                            operations;

                     (2)    Any expense for the rental of equipment not                               of the      same     type or not to be used for the
                            same purpose as the equipment for which                              it   is   substituted; or

                     (3)    Any   loss of market, loss of             income or any other consequential                             loss.

               d.    The most the Company     will pay for loss or damage in any one occurrence under this

                     coverage is the Limit of Insurance shown in the Supplemental Coverage Declarations                                                         for
                     Equipment Rental Expense.

   D.    The   foilowing       changes apply             to Section B.1. of the Property                    Coverage Form:
         1.    Items b., Business Personal Property, and                           j.,   Covered Property                 at   Undescribed Premises, do not
               include Contractors Equipment.

               Item   9.,   Newly Constructed or Acquired Property, does not apply                                         to    newly acquired Contractors
               Equipment.

         3.    The    provisions of item       Covered Property in Transit, apply to the insurance provided under this
                                                   k.,

               coverage        for ContractorsEquipment in the due course of transit. But the most the Company will
               pay    for loss    or damage to such property is subject to the Limits of Insurance described in Section
               G. below.

    E.   Section C. of the Property Coverage                        Form     is   modified as follows:

         1.    Item    8. is   replaced by the following:

               Vehicles or seIf—propelled machines that are licensed for road use.

               The    following items are           added as property not covered:
               a.    Any Contractors Equipment                     while leased, rented or loaned to others;

               b.    Any Contractors Equipment while underground                                      or underwater;

               c.    Any Contractors Equipment while waterborne, except                                           while   in   the due course of transit by
                      inland water carriers or              by coastwise vessels operating within                                        waters” of countries
                                                                                                                               “territorial
                     where coverage          applies;

               d.     Tires unless the loss or              damage to the           tires is     coincident with other covered loss or                        damage
                     to the Contractors Equipment; or

               e.     “Electronic data processing equipment" unless the “electronic data processing equipment”                                                         is
                      an    integral part of the Contractors                 Equipment,

    F.   With respect only to the insurance provided under                                this   coverage, the following exclusion                       is   added   to
         Section D. of the Property Coverage Form:

         The Company            will   not pay for loss or          damage caused by                   or resulting from:

         1.    The weight of a load exceeding, at the time of loss, the                                     maximum            lifting   or operating capacity
               established by the manufacturer of the property; or

               Work upon          or service of the Contractors Equipment, but                               if   loss or      damage by       fire   or explosion
               results, the       Company will pay               for loss or      damage       to the Contractors                 Equipment caused by the
               resulting fire or explosion.

    G.   The most       the    Company      will     pay    in   any one occurrence under                     this   coverage            for loss or   damage    to
         Contractors Equipment, other than newly acquired Contractors Equipment, is the applicable Limit of
         Insurance shown in the Supplemental Coverage Declarations for Contractors Equipment The Limits
         of Insurance that apply to the     Newly Acquired Contractors Equipment and Equipment Rental Expense
         Additional        Coverage Extensions apply in addition to the Contractors Equipment Limit of Insurance.


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    KTK—CMB-1 D91768—8—20                                                     Page 2      of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 68 of 120 PageID #: 73

                                                                                                             MS C3   09 10 18

   H.   The    valuation provisions of this policy are      amended by    the following:

        In   the event of a covered loss or damage, the         Company      will   determine the value of Contractors
        Equipment     at actual   cash value.




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    KTK-CMB-‘l D91768—8—20                                   Page 3   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 69 of 120 PageID #: 74


                                                                                                        MS C3   20 07 99



                       EXPEDITING EXPENSES                      --   BOILER & MACHINERY
   This endorsement modifies insurance provided under the Property Coverage Form.

   The following coverage   is   added under Section   B. 2,,   Covered Costs and Expenses:

   Expediting Expenses

   In the event of direct physical loss or damage to Covered Property caused by or resulting from an
   Accident to a Covered Object to which the Boiler and Machinery insurance provided under this policy
   applies, the Company will pay for the reasonable additional expenses incurred by the Insured to make
   temporary repairs to, or expedite the permanent repair or rep!acement of, the Covered Property.

   Expediting expenses include overtime      wages and the       extra cost of express or other rapid   means   of
   transportation.

   The most  the Company will pay under this coverage for all Expediting Expenses arising out of any one
   occurrence is the Limit of Insurance specified for Expediting Expenses, Boiler & Machinery only, shown            in
   the Supplemental Coverage Declarations.




    KTK—CMB-1D91768—8-20                                Page     1   of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 70 of 120 PageID #: 75

                                                                                                                               MS C3     27 1O 18

                                          UTILITY SERVICES — DIRECT                             DAMAGE
   This endorsement modifies the insurance provided under the Property Coverage Form.

   The   following coverage         is   added:

   Utility    Services — Direct          Damage
   1.    The Company      will pay for direct physical loss of or damage to Covered Property at the Insured’s

         premises caused by the interruption, failure or fluctuation of service to the lnsured’s premises. The
         interruption, failure or fluctuation must result from direct physical loss or damage by a Covered Cause
         of Loss to Utility Supply Services Property, as defined in 2. and 3. below, that is located:

         a.    Away from       the Insured’s premises; or

         b,    At the Insured’s premises and used to supply the                   utility   service to the Insured’s premises from a
               location away from the Insured’s premises.

         Utility   Supply Services Property, as used             in this   coverage, means:

         a.    Water Supply Services Property, meaning the                       following types of property supplying water to the
               Insured’s premises:

               (1)   Water treatment       plants;

               (2)   Watertanks;

               (3)   Watermains; and

               (4)   Pumping      stations.

         b.    Communication Supply Services Property, meaning                              property supplying communication
               services, including telephone, radio,           microwave or        television services            and services relating    to
               internet   access or access        to   any electronic network,         to the Insured’s premises,          such as:

               (1)   Communication transmission lines (including fiber optic transmission lines and lines which
                     may be identified as distribution lines), other than overhead transmission lines;
               (2)   Coaxial cables; and

               (3)   Microwave radio relays except           satellites.

         c.    Power Supply Services Property, meaning the following types                                 of property supplying electricity,
               steam or gas to the Insured’s premises:

               (1)   Utility   generating plants;

               (2)   Switching stations;

               (3)   Substations, pumping stations;

               (4)   Transformers;

               (5)   Transmission lines (including lines which              may be      identified       as distribution   lines),   other than
                     overhead transmission lines; and

               (6)   Tanks.

    3.   When:
         a.    Overhead Transmission Lines are indicated as included                          in   the Supplemental Coverage
               Deciarations; or

         b.    An Overhead Transmission                Lines Limit of Insurance        is   specified      in   the Supplemental Coverage
               Declarations;

         Utility Suppty Services Property also includes Overhead Transmission Lines, meaning overhead

         transmission lines supplying electricity, steam or gas to the Insured’s premises and overhead



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    KTK—CMBJ D91768—8-20                                           Page     1   0f 2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 71 of 120 PageID #: 76


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      communication transmission lines supplying communication services to the lnsured’s premises,
      including such overhead power and communication lines which may be identified as distribution                lines.

      The   Utility   Services exclusion   in   Section D. does not apply to this coverage.

      The most the Company will pay for loss or damage under this coverage is the Limit of Insurance
      shown in the Supplemental Coverage Declarations for Utility Services - Direct Damage. But the
      Company will not pay more for toss or damage to any Covered Property than the Limit of Insurance
      that applies to that Covered Property.

      If a separate Overhead Transmission Lines Limit of Insurance is shown in the Supplemental

      Coverage Declarations for this coverage, the Overhead Transmission Lines Limit of Insurance             is   part
      of, and not in addition to the Utility Services — Direct Damage Limit of Insurance shown in the

      Supplemental Coverage Declarations.




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    KTK-CMB-1 D91768-8-20                                  Page 2 of 2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 72 of 120 PageID #: 77

                                                                                                                                MS C4     09 1O 18

                                       UTILITY SERVICES - TIME                              ELEMENT
   This endorsement modifies the insurance provided under the Business Income and/or Rental Value
   Coverage Form and the Extra Expense Coverage Form.

   A.   The coverage provided     for loss of Business Income, Rentai Value and/or Extra Expense is extended
        to apply to such loss and/or expense at the Insured’s premises where such coverage applies caused
        by the interruption, failure or fluctuation of service to such premises. The interruption, failure or
        fluctuation must result from direct physical loss or damage by a Covered Cause of Loss to Utility
        Supply Services Property, as defined in B. and C. below, that is kocated:

         1.   Away from      the Insured’s premises; or

        2.    At the lnsured’s premises and used to supply the                    utility   service to the Insured’s premises from a
               location away from the Insured’s premises,


   B.   As used    in this   endorsement,    UtiIity   SuppIy Services Property means:
        1.    Water Supply Services Property, meaning the                     fotlowing types of property supplying water to the
              Insured's premises:

              a.   Water treatment      plants;

              b.   Water tanks;
              c.   Water mains; and
              d.   Pumping      stations.

              Communication Supply Services Property, meaning                               property supplying communication
              services, including telephone, radio,        microwave or            television services           and services relating       to
              internet   access 0r access    to   any   electronic network, to the lnsured’s premises,                    such as:
              a.   Communication transmission lines (including fiber optic transmission lines and                                 lines   which
                   may be identified as distribution lines), other than overhead transmission lines;
              b.   Coaxial cables; and

              c.   Microwave radio      relays,   except   satellites.

              Power Supply Services Property, meaning the following types                                  of property supplying electricity,
              steam or gas to the lnsured’s premises:
              a.   Utility   generating plants;

              b    Switching stations;

              c    Substations, pumping stations;

              d.   Transformers;

              e    Transmission lines (including lines which             may be        identified        as distribution    lines),   other than
                   overhead transmission lines; and

              f.   Tanks.

              Wastewater Removal Services Property, meaning a utility system for removing wastewater and
              sewage from the Insured's premises, other than a system designed primarily for draining storm
              water, The utility property includes sewer mains, pumping stations and similar equipment for
              moving     effluent to a holding treatment or disposal facility,                 and includes such          facilities.

              But coverage under this endorsement does not apply to interruption                               in    wastewater removal
              service caused by or resulting from a discharge of water or sewage                               due    to heavy rainfall or
              flooding.




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    KTK-CMB-1D91768—8—20                                       Page      1   of   2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 73 of 120 PageID #: 78


                                                                                                                            MS C4    09 1O 18

   C.    When:
         1.    Overhead Transmission Lines are indicated as included                    in   the Supplemental           Coverage
               Deciarations; or

         2.    An Overhead Transmission            Lines Limit of Insurance       is   specified     in   the Supplemental Coverage
               Declarations;

         Utility Supply Services Property also includes Overhead Transmission Lines, meaning overhead
         transmission lines supplying electricity, steam or gas to the Insured’s premises and overhead
         communication transmission lines supplying communication services to the lnsured’s premises,
         including such overhead         power and communication          lines   which      may be        identified   as distribution     lines.


   D.    The   Utility   Services exclusion   in   Section D. of the Property Coverage                Form does         not apply to this
         coverage.

   E.    The most the Company will pay for loss or expense under this coverage is the Limit of Insurance
         shown in the Supplemental Coverage Declarations for Utility Services — Time Element. This Limit                                      of
         Insurance is part of and does not increase the Business Income and/or Extra Expense Limit of
         Insurance provided under         this policy.

         If a separate Overhead Transmission Lines Limit of Insurance is shown in the Supplemental

         Coverage Declarations for this coverage, the Overhead Transmission Lines Limit of Insurance                                   is   part
         of, and not in addition to the Utility Services — Time Element Limit of Insurance shown in the
         Supplemental Coverage Declarations.

    F.   When    a number of hours  is shown in the Supplemental Coverage Declarations as the deductible

         applicable to        Services — Time Element, the Company will pay under this coverage oniy for loss
                           Utility
         of Business Income and/or Rental Value the Insured sustains after that number of hours immediately
         following the direct physical loss or damage to the Utility Supply Services Property. This deductible
         does not apply      to Extra   Expense.




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    KTK—CMB—1 D91768—8—20                                       Page 2   of   2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 74 of 120 PageID #: 79


                                                                                                                                         MS CS        O1 10 18


                                POLICY CONDITIONS, ADDITIONAL PROVISIONS
                                                         AND DEFINITIONS FORM
   A.   GENERAL CONDITIONS
        1.   Application of Deductibles

             a.   Any deductibles that apply are specified in the Supplemental Coverage Declarations or                                                 in   the
                  forms or endorsements attached to this policy.

                  Unless otherwise specified in the Supplemental Coverage Declarations, or by endorsement,
                  when a  deductible is speciﬁed as applying separately at each affected location, in any one
                  occurrence, or at a specific location in any one occurrence, each of the following will be
                  considered a location:

                  (1)   A   single address that           is   not part of a complex described                       in (2)   below, regardless of the
                         number of        buildings at that address; or

                  (2)   A   multiple building complex, such as             an apartment complex, office building complex or
                         industrial park, with multiple            addresses, provided:

                         (a)   All   addresses within the complex are under the same ownership or management; and

                         (b)   The complex          is   known by a       single         name; and

                         (c)   All   addresses within the complex are insured premises under                                     this policy;   and

                         (d)   The addresses are adjacent                  to   one another,        or separated only by a street.

             b.   Dollar Deductibles

                  When the deductible that applies is specified as a dollar amount, the Company will not pay
                            damage to which the deductible applies until the amount of loss or damage
                  for loss or
                  exceeds the specified deductible amount. The Company will then pay the amount of the loss
                  or    damage       in   excess    of the specified deductible,                 up to the applicable Limit           of Insurance.

             CA   Percentage Deductibles

                  (1)    Percentage deductibles may be written as a percentage of                                       total   values or as a
                         percentage per unit of insurance.

                  (2)    Total Values Percentage Deductibles

                         When                              is specified as a percentage of total vaiues, the
                                     the deductible that applies
                         deductible     be equal to the percentage of the total values specified in the most recent
                                           will

                         Statement of Values on file with the Company for buildings, structures, personal property
                         and rental values to which the deductible applies;

                  (3)    Per Unit of Insurance Percentage Deductibles

                         When        the deductible that applies           is specified as a percentage per unit of insurance, the

                         deductible        will   be equal     to the   percentage of value calculated for, and applied separately
                         to,   each    of the following units of insurance:

                         (a)   Each       building or structure sustaining loss or                   damage;

                         (b)   Personal property within each building or structure                              if   that personal property sustains
                               loss or     damage;

                         (c)   Personal property           in   the open        if   personal property          in   the open sustains loss or
                               damage;

                         (d)   Business Income values impacted by the direct loss or damage to property, when the
                               percentage deductible is indicated as applying to Business Income; and

                         (e)   Rental values impacted by the direct loss or damage to property,                                      when   the
                               percentage deductible is indicated as appIying to Rental Value.


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    KTK-CMB—1 D91768—8-20                                               Page         1   of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 75 of 120 PageID #: 80


                                                                                                                      MS CS   01 10 18

                     The values  to be used when calculating the deductible for (a), (b), (c), (d) and (e) above
                     are either those as specified for each unit of insurance shown in the most recent
                     Statement of Values on ﬁIe with the Company or, if not so specified, or if the damaged
                     property is a building in the course of construction or renovation, the values will be
                     determined at the time of loss. When Business Income values or rental values are
                     determined at the time of loss, the values will be calculated for the 12 months following
                     the inception date of the policy term in which the loss occurs.

               (4)   When   both a percentage deductible and a dollar deductible are specified together as
                     applicable to a coverage or exposure, whether specified as applying in any one
                     occurrence or specified as applying at each affected location in any one occurrence, the
                     percentage deductible           will     be calculated and applied as described
                                                                                              in (2) and (3) above,
                     but the dollar deductible            minimum amount the Company will deduct in any one
                                                         is   the
                     occurrence, or at       each affected location in any one occurrence, as specified, for all Ioss
                     or    damage    to   which the deductible           is   stated to apply.

               (5)   When a maximum dollar deductible is also specified as applicable, the specified
                     maximum deductible is the most the Company will deduct in any one occurrence for all
                     loss or   damage       to   which the deductible           is   stated to apply.

          d.   Hour Deductibles

               Ifthe deductible for Business Income or any other time element coverage is specified in
               hours, the Company will not be liable for any loss incurred during the specified number of
               hours immediately following the start of the “period of restoration” or other applicable period
               during which incurred loss would otherwise be covered. The Company will then pay the
               amount of loss incurred for the remainder of the “period of restoration" or other applicable
               period during which incurred loss is covered, up to the Limit of Insurance,

          e.   Two     or   More Deductibles        in   Any One Occurrence
               If any causes of loss, coverages or types of property insured against under this policy are

               subject to separate deductibles and two or more of those causes of loss, coverages and/or
               types of property are involved in any one loss occurrence, each cause of loss, coverage and
               type of property loss will be adjusted separateiy. But the total of the deductible amounts
               applied will not exceed the highest deductible amount applied in that occurrence for any one
               involved cause of loss, coverage or type of property.

               This provision does not apply                to:


               (1)   Deductibtes app|icab|e to any of the following causes of                           loss:

                     (a)    Earth Movement;

                     (b)    Earthquake and Volcanic Eruption;

                     (c)    Earthquake, Volcanic Eruption, Landslide and Mine Subsidence;

                     (d)    Earthquake Sprinkler Leakage;

                     (e)    Flood;

                     (f)    “Windstorm”; or

                     (g)    Hurricane;

                     or

               (2)   Any hour    deductible.

          f.   Application of Deductibles for Certain Covered                         Causes    of Loss Provided by   Endorsement
               Any              shown on the Supplemental Coverage Declarations or elsewhere in this policy
                       deductible
               for a cause of loss listed below applies oniy with respect to loss or damage to which the
               endorsement providing coverage for such cause of loss applies, and does not apply to any
               loss or damage by such cause of loss that is covered in the absence of such endorsement,
               such as fire or expiosion that results from an earth movement:

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    KTK-CMB—1 D91 768—8-20                                          Page 2     of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 76 of 120 PageID #: 81


                                                                                                                             MS CS      01 10 18


                (1)    Earth       Movement;

                (2)    Earthquake and Volcanic Eruption;

                (3)    Earthquake, Volcanic Eruption, Landslide and Mine Subsidence;

                (4)    Earthquake Sprinkler Leakage;

                (5)    Flood;

                (6)    Sewer Back-Up;           or

                (7)    Boiler      and Machinery.
           g.   Any Other Covered Loss Deductible
                Unless otherwise specifically stated in this policy, the deductible shown in the Supplemental
                Coverage Declarations for any other covered loss applies to all causes of loss, coverages
                and types of property insured against under this policy for which no deductible is specifically
                shown in the Supplemental Coverage Declarations or in the forms or endorsements included
                in this poiicy,       except Extra Expense.          No   deductible applies to Extra Expense.

      2.   Application of Limits of Insurance

           a.   The most the Company     will pay for any loss or damage to which this policy applies is the

                applicable Limit of Insurance provided under this policy for such loss or damage. When a per
                occurrence Limit of Insurance applies, that Limit of Insurance is the most the Company will
                pay    in                   for the loss or damage to which the Limit of Insurance applies.
                             any one occurrence
                When an   aggregate Limit of Insurance applies, that aggregate Limit of Insurance is the most
                the Company will pay for al! loss or damage to which such Limit of Insurance applies that
                results from all occurrences in any one policy year, commencing with the inception date of
                this policy.

           b.   Under the Property Coverage Form, unless otherwise stated                               in   the Supplemental Coverage
                Declarations, or by endorsement:

                 (1)   Payments under the following Covered Costs and Expenses                                will   not increase the
                        applicable Covered Property Limits of Insurance:

                       (a)    Debris Removal, But if a Limit of Insurance forAdditional Debris Removal Expense
                              is specified in the Supplemental Coverage Declarations, that Limit of Insurance will

                              apply    in   addition to the applicable       Covered Property           Limits of Insurance;

                       (b)    Limited “Fungus",        Wet Rot and Dry Rot           Direct   Damage Coverage;
                       (c)    Fire   Department Service Charge;

                       (d)    Fire Protective        Equipment Discharge;

                       (e)    Preservation of Propeny; and

                       (f)    Water, Other Liquids, Powder or Molten Material Damage.

                (2)    The     Limits of Insurance that are specified for the remaining                      Covered Costs and Expenses
                       are    in   addition to the    Covered Property Limits           of Insurance.

           c.   Under the Business Income and/or Rental Value Coverage Forms or the Extra Expense
                Coverage Form, unless otherwise stated in the Supplemental Coverage Declarations, or by
                endorsement:

                (1)    Payments under the   following Coverage Extensions will not increase the Limits of
                       Insurance that apply to Business Income, Rental Value and/or Extra Expense:

                       (a)    Civil Authority;


                       (b)    Ingress or Egress;

                       (c)    Extended Business Income or Rental Value (Business Income and/or Rental Value
                              Coverage Forms only);

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    KTK-CMB-1D91768—8—20                                         Page 3      of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 77 of 120 PageID #: 82


                                                                                                                                      MS C5        O1 10 18


                        (d)    Limited "Fungus”,Wet Rot and Dry Rot —— Time Element (Business Income and/or
                               Rental Value Coverage Forms only) or Limited “Fungus", Wet Rot and Dry Rot -
                               Extra Expense (Extra Expense Coverage Form only);

                        (e)    Expenses  to Reduce Loss (Business Income and/or Rental Value Coverage Form
                               Excluding Extra Expense only).

                 (2)    The    Limits of Insurance that are specified for the remaining                         Coverage Extensions are
                        additional      amounts        of insurance.

            d.   Unless otherwise specified in the Supplemental Coverage Declarations, or by endorsement,
                 when a   Limit of Insurance is specified as applying separately at each affected location, in any
                 one occurrence, or on a per location basis, the description of a location contained in provision
                 a. of the Application of Deductibles condition in Section A.1. of this form will apply.

            e.   Policy Limit

                 When   a Policy Limit is shown in the Supplemental Coverage Declarations, the above Limits
                 of Insurance provisions A.2.a. through A.2.d. apply, but are subject to the Policy Limit. The
                 Policy Limit is the most the Company will pay for all loss or damage in any one occurrence
                 under       this policy.      All   other specified Limits of Insurance          shown         in   the Supplemental
                 Coverage Declarations or in any Coverage Forms, Schedules or endorsements are included
                 within, and do not increase, the Policy Limit.

       3.   Application of Deductibles and Limits of Insurance — “Windstorm” or Hail Additional
            Provisions

            a.   When   a “Windstorm” or Hail Limit of Insurance (including an entry of Included or Not
                 Covered) or a “Windstorm” or Hail deductible is shown in the Supplemental Coverage
                 Declarations, such Limit of Insurance or deductible will apply to all loss or damage in any one
                 occurrence:

                 (1)    Caused directly or indirectly by “Windstorm” or Hail that occurs at the locations to which
                        the “Windstorm" or Hail Limit of Insurance or deductible applies, regardless of any other
                        cause or event          that contributes concurrently or           in   any sequence             to the loss or    damage;       or

                 (2)    Caused by       snow, sand or dust at the locations to which the “Windstorm” or Hail Limit
                                         rain,
                        of Insurance or deductible applies,whether driven by wind or not, if that loss or damage
                        would not have occurred but for the “Windstorm” or Hail.

                 But if such loss or damage results in fire or explosion, the “Windstorm" or Hail Limit of
                 Insurance or “Windstorm” or HaiI deductible will not apply to such resulting loss or damage
                 caused by the          fire   or explosion.

            b.   Any “Windstorm”    or Hail Limit of Insurance or “Windstorm" or Hail deductible shown in the
                 Supplemental Coverage Declarations will not serve to imply or afford coverage for any loss or
                 damage that would otherwise be excluded under the Flood exclusion in Section D. of the
                 Property Coverage Form or under any other exclusion in the policy. If this policy is endorsed
                 to cover Flood, a separate Limit of Insurance and deductible applies to the loss or damage
                 attributable to the Flood, in accordance with the terms of the Flood endorsement and the
                 remainder of this policy.

            c.   Any    Limit of Insurance      shown in the Supplemental Coverage Declarations for “Windstorm”                                          or
                 Hail   is    part of   and does not increase any other applicable limits under this policy.
            d.   When a “Named Windstorm”                    Limit of Insurance or deductible              is   shown      in   the Supplemental
                 Coverage Declarations:

                 (1)    The phrase, “Windstorm” or Hail, where used                       in   provisions       a., b.   and    c.   above,   is

                        replaced by “Named Windstorm”; and

                 (2)    Provision a.(2) above is amended to include loss or                       damage caused by                   hail that   would
                        not have occurred but for the “Named Windstorm”.




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    KTK—CMB—1 D91 768—8—20                                         Page 4      of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 78 of 120 PageID #: 83


                                                                                                                                                  MS CS     O1 1O 18

       4.   Cancellation and Nonrenewal

            a.        Cancellation

                      (1)    The    first    Named        Insured          shown   in   the Declarations        may     cancel this policy by mailing or
                             delivering to the           Company advance                 written notice of cancellation.

                      (2)    The Company may cancel                          this policy   by mailing or delivering to the               first   Named     Insured
                             written notice of cancellation at least:

                             (a)    10 days before the effective date of cancellation                            if    the   Company      cancels for
                                    nonpayment  of premium; or

                             (b)    60 days before the                    effective date of cancellation         if    the   Company      cancels for any other
                                    reason.

                      (3)    The Company will mail or                       deliver notice to the       first   Named        lnsured's last mailing address
                             known to the Company.

                      (4)    Notice of cancellation                  will   state the effective date of cancellation.               If   the policy   is

                             cancelled, that date                  will   become   the end of the policy period.

                      (5)    If   this policy     is      Company will send to the first Named Insured any premium
                                                        cancelled, the
                             refund due.       Company cancels, the refund will be pro rata. If the first Named
                                                   If   the
                             Insured cancels, the refund may be less than pro rata. The cancellation will be effective
                             even the Company has not made or offered a refund.
                                      if



                      (6)    If   notice    is   mailed, proof of mailing               will   be   sufficient proof of notice.

            b.        Nonrenewal
                      In    the event the    Company decides not to renew this policy, the Company will mail or deliver
                      to the first       Named Insured shown in the Declarations written notice of the nonrenewal not less
                      than 60 days before the expiration date.

       5.   Changes
            This policy contains all the agreements between the Insured and the Company concerning the
            insurance afforded. The policy terms can be amended or waived only by written endorsement
            issued by the Company as part of this policy.

       6.   Concealment, Misrepresentation or Fraud
            This policy is void in any case of fraud by the Insured as it relates to this policy at any time.                                                  It   is
            also void if the Insured or any other person or entity insured under this policy, at any time,
            intentionally conceals or misrepresents a material fact concerning:

            a.        This policy;

            b.        The Covered             Property;

            c.        The     lnsured’s interest              in   the Covered Property; or

            d.        A    claim under this policy.

       7.   Control of Property

            The breach  of any condition of this policy as a result of any act or neglect of any person other
            than the Insured beyond the direction or control of the Insured will not affect this insurance.

            The breach              of     any condition           of this policy at  any one or more locations will not affect coverage                             at
            any       location where, at the time of loss or                        damage, the breach of condition does not exist.
       8.   Currency
            It  understood and agreed that all amounts used herein are in the currency of the United States
                 is

            ofAmerica and that premiums and losses are payable in United States of America currency. In
            the event of a loss adjustment involving foreign currency, the conversion into the currency of the



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    KTK-CMB-1 D91 768-8—20                                                       Page 5        of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 79 of 120 PageID #: 84


                                                                                                                                    MS C5    O1 10 18


             United States of America                 will   be   at the rate of    exchange quoted             in   The Wall Street Journal as of
             the date of the loss.

       9.    Examination of the Insured’s Books and Records
             The Company may examine and                          audit the Insured’s          books and records as they          relate to this
             policy at     any time during the               policy period      and up    to three     years afterward.
       10. Identity of Interest

             If   the   Named     Insured under this policy is comprised of more than one legal entity, liability under
             this policy will not     exceed the liabiiity that would have existed had all such interests comprised a
             single legal entity.

       11. Inspections          and Surveys
             a.     The Company has the                right but is not obligated to:


                    (1)    Make   inspections and surveys at any time;

                    (2)    Give the Insured reports on the conditions found; and

                    (3)    Recommend           changes.

             b.     Neither the right to make inspections, nor the making thereof, nor any risk analysis, nor any
                    advice or reports resulting therefrom will imply any liability, or constitute an undertaking on
                    behalf of or for the benefit of the Insured. Any inspections, surveys, reports or
                    recommendations relate onIy to insurability and the premiums to be charged. The Company
                    does not make safety inspections. The Company does not undertake to perform the duty of
                    any person or organization to provide for the health or safety of workers or the public. In
                    addition, the Company does not warrant that the conditions are safe, healthful or in
                    compliance with any law, rule, regulation, code or standard.

             c.     This condition applies not onIy to the Company, but also to any rating, advisory, rate service
                    or similar organization that makes insurance inspections, surveys, reports or
                    recommendations.

             d.     Paragraph      b.   above does not apply               to   any inspections, surveys, reports or recommendations
                    the    Company may make                  relative to certification,        under state or municipal statutes, ordinances
                    or regulations, of boilers, pressure vessels or elevators                         in the United States of America.


       12. Legal Action           Against the           Company
             No one may         bring a legal action against the                  Company under           this policy unless:

             a.     There has been            full   compliance with        all   of the terms of this policy;          and
             b.     The action is brought in the United States of America, in a United States of America court
                    having properjurisdiction, within 2 years after the date on which the direct physical loss or
                    damage occurred.
       13. Liberalization

             If   the   Company adopts any               revision that      would broaden the coverage under this policy without
             additional      premium, within 45 days                   prior to or during the policy period, the
                                                                                                           broadened coverage
             will   immediately apply to this                policy.

       14.   Mortgagee Interests and Obligations
             Loss or damage,            if   any, as covered under this policy,                 will   be payable      to   each mortgagee   (or
             trustee) designated herein      order of their precedence as their interests may appear. With
                                                        in

             respect to the mortgagee’s (or trustee’s) interest, this insurance will not be invalidated by any act
             of the Insured (mortgagor or owner), nor by any foreclosure or other similar proceedings or notice
             of sale relating to the property, nor by any change in title or ownership of the property, provided
             that:

             a.      In   the event the Insured (mortgagor or owner) has neglected to pay any premium due under
                    this policy,  the mortgagee (or trustee), at the request of the Company, pays the same;

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    KTK—CMB~1 091768—8-20                                                 Page 6     of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 80 of 120 PageID #: 85


                                                                                                                               MS C5   01 1O 18

             b.    The mortgagee              (or trustee)   has    notified the    Company    of any change in ownership, occupancy
                   or increase        in   the risk or hazards          known    to the mortgagee (or trustee) and, at the request of
                   the    Company, pays the premium                     for   such increased risk or hazards; and

             c.    The mortgagee              (or trustee)   submits a signed, sworn proof of loss within 60 days after having
                   been    notified        by the     Company   that the Insured (mortgagor or owner) has failed to do so,

             In   the event the       Company pays           the mortgagee (or trustee) for any loss or                damage covered under
             this policy and therefore claims that as to the Insured (mortgagor or owner) no liability existed, the
             Company          be subrogated to all the rights, to the extent of such payment, of the party to whom
                            will

             such payment was made, and the right of the mortgagee (or trustee) to recover the full amount of
             its claim will not be impaired. The Company may, at the Company’s option, pay to the mortgagee

             (or trustee) the whole principal due plus any accrued interest. Thereupon, the Company will
             receive a full assignment and transfer of the mortgage and other such securities and the
             remaining mortgage debt will be payable by the Insured (mortgagor or owner) to the Company.

             The Company reserves the                   right to   cancel   this policy at any time as provided by its terms but, in
             such case, this policy will continue                  in force for the benefit only of the mortgagee (or trustee) for 10
             days after notice to the mortgagee                    (or trustee) of canceliation for nonpayment of premium or 60
             days after notice to the mortgagee                 (or trustee) of cancellation for any other reason. ln the event
             the   Company          elects not to      renew this policy, the Company will give written notice to the
             mortgagee       (or trustee) at          least 30 days prior to the expiration of this policy.

       15.   No    Benefit to Bailee

             No person       or organization, other than the Insured, having custody of                           Covered Property   will
             benefit from this insurance.

       16.   No Reduction by Loss
             Except with respect to any aggregate limit or aggregate sublimit of insurance in this policy, is                               it


             mutually understood and agreed that the amount of insurance will not be reduced by the payment
             of losses under this policy.

       17.   Other Insurance
             a.    Underlying Insurance

                   Permission is granted to the Insured to purchase insurance on all or any part of the
                   deductibles of this policy, and the existence of such underlying insurance will not prejudice
                   any recovery otherwise payable under this policy. If the limits of such underlying insurance
                   exceed the deductible which would apply under this policy, then the insurance provided by
                   this policy will         apply only as excess after the            limits applicable to        the underlying insurance,
                   including that portion which              exceeds such deductible, have been exhausted.
             b.    Excess Insurance
                   Permission    granted to the Insured to have excess insurance over the Limit(s) of Insurance
                                      is

                   set forth      policy without prejudice to this policy. The existence of such insurance will
                                   in this

                   not reduce the Company’s liability under this policy.

             c.    “Local Admitted Insurance”

                   When     there      isadmitted insurance" issued to cover loss or damage in a country or
                                             “local
                   jurisdiction, otherthan the United States of America‘ that is within the Policy Territory and that
                   insurance covers, in whole or in part, the same loss or damage as this policy, the Company
                   will only pay the difference between:


                    (1)   The amount           the    Company would have paid for such Ioss                  or   damage under   this policy     if

                          such     “local     admitted insurance” was not available; and
                    (2)   The amount the Insured              is   entitled to for    such loss or damage under the terms and
                          conditions of that “local admitted insurance”.




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    KTK-CMB-1 D91768—8-20                                                Page 7    of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 81 of 120 PageID #: 86


                                                                                                                                                  MS CS       O1 1O 18

             d.     Other Insurance Subject to                       Same          Plan,   Terms, Conditions and Provisions
                    Inthe event the Insured has other insurance, other than “local admitted insurance”, subject to
                    the same plan, terms, conditions and provisions as the insurance under this policy, the
                    Company will pay its share of the covered |oss or damage. The Company’s share is the
                    proportion that the applicable Limit of Insurance under this policy bears to the Limits of
                    Insurance of           all   insurance, other than “local admitted insurance”, covering on the                                    same      basis.

             If   thereother insurance covering the same loss or damage, other than that described above,
                           is

             the   Company will pay only for the amount of covered loss or damage in excess of the amount due

             from that other insurance, whether the Insured can collect on it or not. But, the Company will not
             pay more than the applicable                          Limit of Insurance.

       18. Policy Period                 and Territory
             Under       this policy,       the       Company
                                               will cover loss or damage that commences during the policy
             period as specified    the Declarations and, except as otherwise specifically provided, within the
                                                 in

             Policy Territory as specified in the Declarations.

             Unless otherwise indicated, references in this policy to the United States of America include
             Puerto Rico and its other territories and possessions and references in this policy to any other
             countries also include the territories and possessions of such countries.

       19.   Premiums
             The    first   Named          Insured          shown       in   the Declarations          is   responsible for the payment of            all   premiums
             and    wiIl    be the payee              for   any   return      premiums the Company pays.
       20. Prohibited             Coverage
             a,     Prohibited           Coverage - Unlicensed Insurance

                    (1)     With respect to loss sustained by any Insured, or loss to any property, located in a
                            country orjurisdiction in which the Company is not licensed to provide this insurance, this
                            insurance does not apply to the extent that insuring such loss would violate the laws or
                            reguiations of such country orjurisdiction.

                            However, with respect   to an otherwise covered loss, the Company will reimburse an
                            Insured that is located in a country orjurisdiction in which the Company is licensed or
                            otherwise authorized to provide this insurance because of its Financial Interest in the
                            Foreign Entity.

                            As used        in this      Condition:

                            (a)   Financial Interest               means an          insurable interest          in    a Foreign     Entity   because   of:


                                  (i)     An ownership              interest in       such Foreign           Entity;

                                  (ii)     Indemnification              of,   or   an obligation       to indemnify,        such Foreign       Entity for loss
                                           sustained by the Foreign                    Entity; or

                                  (iii)   An     obligation to obtain property insurance for                            such Foreign        Entity.

                            (b)   Foreign Entity means an entity which has an insurable interest in property located                                               in
                                  a country or jurisdiction that prohibits the Company from insuring such property.

                    (2)     The Company does                      not   assume        responsibility for:

                            (a)   The payment                of   any     penalty or other charge that may be imposed on any
                                                                         fine, fee,
                                  person or organization              any country orjurisdiction because the Company is not
                                                                              in

                                  licensed to           provide insurance in such country orjurisdiction; or

                            (b)   The      furnishing of certificates or other evidence of insurance                                  in   any country or
                                  jurisdiction in           which the          Company       is   not licensed to provide insurance.


             b.     Prohibited            Coverage          —-
                                                                 Trade or Economic Sanctions


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    KTK—CMB-‘I 091 768-8-20                                                        Page 8    of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 82 of 120 PageID #: 87


                                                                                                                             MS C5      O1 10 18

                 The Company     wil! provide coverage for any loss, or otherwise will provide any benefit, only to

                 the extent that providing such coverage or benefit does not expose the Company or any of
                 the Company’s affiliated or parent companies to:

                 (1)    Any trade      or    economic sanction under any law           or regulation of the United States of
                        America; or

                 (2)    Any    other applicable trade 0r economic sanction, prohibition or restriction.

      21.   Subrogation and Subrogation Waiver
            a.   Subrogation         — Transit

                 The    following subrogation provisions apply to               any   transit   coverage provided under            this policy:

                 (1)    lfany person or organization to or for whom the Company makes payment under any
                        transitcoverage provisions of this policy has rights to recover damages from another,
                        those rights are transferred to the Company to the extent of such payment. That person
                        or organization must do everything necessary to secure the Company’s rights and must
                        do nothing after the loss to impair them.

                  (2)   Insurance under the transit coverage provisions will be null and void if any Insured does
                        any act or enters into any agreement, before or after loss, which in any way releases,
                        impairs or destroys the right to recover against any carrier for hire, or other party liable for
                        the loss, or transfers such right to anyone other than the Company. Even if the transit
                        coverage becomes null and void, the Company has the right to retain and recover the
                        premium for this coverage. The Insured does have permission to accept the limited
                        liability form receipts or bills of lading commonly used by carriers for hire without

                        prejudice to this coverage. The Company is not liable however, for any loss that is
                        settled or compromised without the written consent of the Company.

                  (3)   If   the   Company pays          advances or loans money under the transit coverage, the
                                                      for loss or
                        Insured      will,   upon request and expense of the Company, make claim upon and
                                                                   at the
                        institute legal proceedings against any carrier, bailee or other party liable for the loss. At
                        the option of the Company, such claims or legal proceedings may be instituted in the
                        name of the Insured. The Insured agrees to fully cooperate with the Company in making
                        such claims and prosecuting such legal proceedings

            b.    Subrogation        — All Other Coverages

                  Ifany person or organization to or for whom the Company makes payment under this policy
                  has rights to recover damages from another, those rights are transferred to the Company to
                  the extent of such payment. That person or organization must do everything necessary to
                  secure the Company’s rights and must do nothing after the loss to impair them.

                  But, the Insured           may waive   its   rights against   another party by specific written agreement:

                  (1)   Prior to    a loss    to   Covered Property.

                  (2)   After a loss to       Covered Property or Covered Income only                  if,   at   time of loss, that party   is

                        one    of the following:

                        (a)    Someone        insured by this insurance;

                        (b)    A   business firm owned or controlled by the Insured or that owns or controts the
                               Insured; or

                        (c)    The    Insured’s tenant.

                  Such waiver         will   not invalidate or restrict this insurance.

       22. Transfer of the Insured’s Rights                    and Duties Under this Policy
            The  Insured’s rights and duties under this policy may not be transferred without the written
            consent of the  Company except in the case of death of an individual Named Insured. If an
            individual Named insured dies, the Insured’s rights and duties will be transferred to the Insured’s
            legal representative but only while acting within the                   scope   of duties        as the Insured’s   legal

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    KTK-CMB-1 D91768-8-20                                         Page 9    of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 83 of 120 PageID #: 88


                                                                                                                                          MS CS     O1 10 18

             representative.              Until the Insured’s legal representative                     is   appointed,  anyone having proper
             temporary custody of the Insured’s property                            will   have      rights    and duties but only with respect        to
             that property.

        23. Unintentional Errors in Description

             The insurance provided by    this policy is extended to apply with respect to loss or damage to
             property at locations within the Policy Territory that are owned, leased or operated by the Insured,
             if such loss or damage is not payable under this policy due solely to any unintentional error in the

             description of the address of the property.                          But   this will not         increase any Limits of Insurance that
             apply under this policy.

             Upon discovery of the unintentional error, the Insured will report the correct information to the
             Company. An additional premium may be charged based upon the corrected information.

   B.   LOSS CONDITIONS
        1.   Abandonment
             There can be no abandonment                           of   any property       to the    Company.
        2.   Appraisal

             If the Company and the Insured disagree on the vaiue of the property, the amount of net income

             and operating expense or the amount of loss, either may make written demand for an appraisal of
             the loss. In this event, each party will select a competent and impartial appraiser. The two
             appraisers will select an umpire. If they cannot agree, either may request that a judge of a court
             having jurisdiction make the selection. The appraisers win state separately the value of the
             property, the amount of loss or the amount of net income and operating expense. If they fail to
             agree, they will submit their differences to the umpire. A decision agreed to by any two will be
             binding.          Each      party   will:


             a.     Pay    its   chosen appraiser; and
             b.     Bear the other expenses of the appraisal and umpire                                     equally.

             If   there   is   an   appraisal, the            Company       will still retain its right        to   deny the claim.
        3.   Duties       in   the Event of Loss or                   Damage
             a.     The Insured must see                      that the following are        done     in    the event of loss of or    damage:
                    (1)   Notify the police              if   a Iaw   may have been         broken.

                    (2)   Give the         Company prompt                notice of the loss or            damage. Include a description           of the
                          property involved.

                    (3)   As soon as possible,                   give the   Company         a description of how, when, and where the loss
                          or damage occurred.

                    (4)   Take all reasonable steps to protect the Covered Propeny from further damage, and
                          keep a record of expenses necessary to protect the Covered Property, for consideration
                          in    the settlement of the claim. This      will not increase the Limit of Insurance. However, the

                          Company           will not pay for any subsequent loss or damage resulting from a cause of loss
                          that      is   not a Covered Cause of Loss. Also, if feasible, set the damaged property aside
                          and       in   the best possible order for examination.

                    (5)   At the request of the Company, give the                           Company complete                 inventories of the   damaged
                          and undamaged property, including                         quantities, costs, values                and amount   of loss claimed,

                    (6)   As  often as may be reasonably required, permit the Company to inspect the property and
                           records proving the loss or damage and examine the lnsured's books and records.

                          Also permit the                Company
                                                    to take samples of damaged and undamaged property for
                                             and analysis and permit the Company to make copies from the
                           inspection, testing
                           lnsured’s books and records.



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    KTK-CMB-1D91768—8-20                                                    Page 1O        of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 84 of 120 PageID #: 89


                                                                                                                                         MS C5        O1 10 18


                 (7)   Send the Company a signed, sworn proof    of loss containing the information that the
                       Company  requests to investigate the claim. The Insured must do this within 60 days after
                       the Company‘s request. The Company will supply the Insured with the necessary foms.

                 (8)   Cooperate with the Company                          in   the investigation or settlement of the claim.

            b.   The Company may examine any Insured under        oath, while not in the presence of any other
                 Insured and at such times as may be reasonably required, about any matter relating to this
                 insurance or the claim, including an Insured's books and records. In the event of an
                 examination, an Insured's answers must be signed.

      4.    Loss Payment
            a.   In   the event of loss or               damage       to property         covered by    this policy, at the option of the
                 Company, the Company wiH                         either:

                 (1)   Pay the value              of lost or     damaged              property;

                 (2)   Pay the cost            of repairing or replacing the lost or                  damaged        property subject to        b.   below;

                 (3)   Take   all   or any part of the property at an agreed or appraised value; or

                 (4)   Repair, rebuild, or replace the property with other property of like kind, size                                         and   quality
                       subject to         b.   below.

                 Except as otherwise specifically provided                                in this policy,   the cost to repair, rebuild or replace
                 does not include the increased cost attributable to enforcement                                     of any ordinance or law
                 regulating the construction, use or repair of any property.

                 The Company              will    give notice of        its     intentions within     30 days       after the   Company        receives the
                 proof of loss       it   requires.

                 The Company              will    not pay the Insured                 more than the    Insured’s financial interest            in   the
                 Covered Property.

                 The Company may          adjust losses with the owners of lost or damaged property  other than                           if

                 the Insured.        If  Company pays the owners, such payments will satisfy the Insured’s claims
                                           the
                 against the        Company for the owner‘s property. The Company will not pay the owners more
                 than their financial interest                  in   the Covered Property.

                 The Company may elect to defend the Insured against suits                                         arising from claims of           owners     of
                 property. The Company will do this at its own expense.

                 The Company              will    pay    for   covered loss or            damage     within   30 days     after the    Company        receives
                 the sworn proof of loss                  it   requires,      if:




                 (1)    The Insured has complied                      with      all   of the   terms ofthis   policy;    and

                 (2)    The Company has reached agreement                                   with the Insured on the           amount   of loss or     an
                        appraisal         award has been made.
                 At the option of the Company, the Company may make a partial payment toward any claim,
                 subject to the policy provisions and the Company’s normal adjustment process. To be
                 considered for a partial claim payment, the Insured must submit a partial sworn proof of loss
                 with supporting documentation, Any applicable policy deductibles must be satisfied before
                 any    partial   payment           is   made.
                 If   two or more of this policy’s coverages apply to the same loss or damage, the                                             Company will
                 not pay    more than the actual amount of the loss or damage.
       5.   Recovered Property
            In the event either the Insured or the Company recovers any property after loss settlement, that
            party must give the other prompt notice. At the option of the Insured, the property will be returned
            to the Insured. The Insured must then return to the Company the amount the Company paid to
            the Insured for the property.

            a.   The Company               will   pay:

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    KTK—CMB—1 D91768—8—20                                                  Page         11 of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 85 of 120 PageID #: 90


                                                                                                                                MS C5     01 1O 18

                   (1)   Recovery expenses; and

                   (2)   Costs to repair the recovered property;

             b.    But the amount the         Company pays          will    not exceed the least of the following:

                   (1)   The    total of a.(1)   and    a.(2)   above;

                   (2)   The value     of the recovered property; or

                   (3)   The    Limit of Insurance.


   C.   ADDITIONAL PROVISIONS APPLICABLE TO LOSS 0R DAMAGE OUTSIDE OF THE UNITED
        STATES OF AMERICA
        With respect only to loss or damage occurring                      in   a country or jurisdiction within the Policy         Territory,
        other than the United States of America:

        1.   The     following exclusion      is   added:

             Terrorism
             The Company    will not pay for loss or damage caused directly or indirectly by any actual, alleged,
             or threatened act of force, violence, or other danger against any person, organization, or property,
             which:

             a.    Intimidates or coerces, or appears to a reasonable person to be intended to intimidate or
                   coerce, any government authority, any civilian population, or any segment of any civilian
                   population;

             b.    Disrupts, or appears          to   a reasonable person           to   be intended     to disrupt,      any segment    of the
                   economy; or
             c.    Involves biological, chemical, or nuclear activity;

             regardless of any other cause or event that contributes concurrently or                                 in   any sequence   to the
             loss.

             Because   bioiogical, chemical, or nuclear activity may involve pollutants, or nuclear reaction,
             nuclear radiation, radioactive contamination, or contamination, this exclusion applies in addition to
             any pollution exclusions, nuclear activity exclusions, contamination exclusions, or any potlution -
             related, nuclear — related, or contamination - related exclusions that are a part of this insurance.

             The Property Coverage Form, the Business Income and/or Rental Value Coverage Form
             Including Extra Expense, the Business Income and/or Rentai Value Coverage Form Excluding
             Extra Expense and the Extra Expense Coverage Form are amended by the addition of each of
             the following coverages for which a Limit of Insurance is shown in the Supplemental Coverage
             Declarations:

             a.    Coinsurance Deficiency
                   The Company         will   pay     for the loss the     Insured sustains as respects:

                   (1)   Covered Property under the Property Coverage Form; and

                   (2)   Business Income and/or Extra Expense under the Business Income Coverage Form
                         Including Extra Expense, the Business Income Coverage Form Excluding Extra Expense
                         and/or the Extra Expense Coverage Form;

                   due   to the application of any coinsurance or average clause under any “local admitted
                     insurance” issued to cover loss or damage in a country orjurisdiction, other than the United
                   States of America, that is within the Policy Territory. The Company will pay the difference
                   between the total amount recovered under the “Iocal admitted insurance” and the total
                   amount of loss which would have been recoverable without the application of such
                   coinsurance or average clause in the “local admitted insurance”.

                     However,     this coverage will only apply if the coinsurance deficiency is due to an inadvertent
                     error,   omission, or failure to report and insure proper values under the “local admitted

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    KTK-CMB—1D91768—8—20                                           Page 12        of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 86 of 120 PageID #: 91


                                                                                                                                               MS CS     01 1O 18

                 insurance”.       Any     deliberate error, omission, or failure to report                             and insure proper values will
                 not be covered.           The Insured agrees               to adjust the reported insurable values                  and limits of
                 coverage as soon as they have knowledge of the coinsurance deficiency.

                 The most        the   Company will pay for             loss in any one occurrence under this coverage is the
                 Limit of Insurance specified for                   Coinsurance Deficiency in the Supplemental Coverage
                 Declarations.

            b.   Devaluation of Currency

                 The Company           wiII    pay    for the loss the Insured sustains                          as respects:

                 (1)    Covered Property under the Property Coverage Form; and

                 (2)    Business Income and/or Extra Expense under the Business Income Coverage Form
                        Including Extra Expense, the Business Income Coverage Form Excluding Extra Expense
                        and/or the Extra Expense Coverage Form;

                 due  to any deficiency in the amount of the Insured’s recoverable loss under any “local
                 admitted insurance” issued to cover loss or damage in a country orjurisdiction, other than the
                 United States of America, that is within the Policy Territory, caused by a devaluation of the
                 foreign currency in which the “local admitted insurance” is written.

                 The most the Company                     will   pay for loss in any one occurrence under this coverage is the
                 Limit of Insurance specified for                   Currency Devaluation in the Supplementa! Coverage
                 Declarations.

            c.   Tax    Liability

                 In   the event that:

                 (1)    Covered loss or damage under this policy occurring outside of the United States                                                  of
                        America cannot be paid in the country in which the loss occurred; and

                 (2)    The Company reimburses an Insured      for the loss because of its Financial Interest in the
                        Foreign Entity pursuant to the Prohibited Coverage — Unlicensed Insurance condition in
                        Section A.20.a. of this form;

                 the   Company         will    pay an additional amount for additional tax liability incurred by the Insured.
                 The    additional      amount      of tax liability will be calculated as follows:

                 Loss payment due under                     this   coverage    is    ((C   -
                                                                                               A)   /   B)   -
                                                                                                                 C
                 Where                 A   =    Local tax benefit received where the loss occurred

                                       B = 1.00 minus the         effective tax rate in the country where the loss payments
                                                are to be received. The effective tax rate shall be the corporate tax rate                                          in
                                                effect for the fiscal year when the loss occurred.

                                       C   = The actual loss otherwise payable under                                  this    agreement, except        for the
                                             operation of this rule.

                 If                              where the loss occurred is equal to or greater than the effective
                      the effective local tax rate
                 tax rate   in   the countw where the loss payments are to be received, then this coverage will not
                 apply.

                 The Company    will not make any                      payment under            this      coverage       if   there   is   no increase   in   the
                 lnsured’s worldwide tax liability.

                 The most the Company                     will   pay   for loss in   any one occurrence under this coverage is the
                 Limit of Insurance specified for                   Tax    Liability in the Supplemental Coverage Declarations.

       3.   The Property Coverage Form is amended by the addition of the following coverage when a                                                            Limit
            of Insurance is shown for in the Supplementai Coverage Declarations:
                                                     it




            Tenants’, Neighbors’ and Landlords’ Liability




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    KTK-CMB-1 D91768-8—20                                                Page 13      of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 87 of 120 PageID #: 92


                                                                                                                                 MS 05        O1 1O 18

             The Company will pay            for direct physical loss or      damage caused by                 or resulting from a Covered
             Cause of Loss to:
             a.   Covered Property that the Insured leases or rents for which the Insured                                is   legaliy responsible
                  as a tenant under civil law or by commercial code.

                  Adjacent property of neighbors for which the Insured                        is   legally responsible        under   civil   law or
                  by commercial code.

                  Property of the lnsured’s tenants for which the Insured                          is   legally responsibie     under     civil    :aw or
                  by commercial code.
             The most   the Company will pay for loss or damage in any one occurrence under this coverage                                                  is
             the Limit of Insurance specified for Tenants’, Neighbors’ and Landlords’ Liability in the
             Supplemental Coverage Declarations.

   D.   DEFINITIONS
        As used   in this policy:


        1.   “Abrupt Collapse”:

             a.   Means         the abrupt falling   down     or caving   in of:


                  (1)   A building or any portion of a building to which this insurance applies, or that contains
                        Covered Property to which this insurance applies, with the result that the building or
                        portion of the building cannot be occupied for its intended purpose; or

                  (2)   Personal property inside a building.

                  Does not mean:

                  (1)   A     building or   any portion of a       building that   is in   danger        of falling   down    or caving    in;


                  (2)   A     portion of a building that      is   standing, even     if it   has separated from another portion                    of
                        the building;

                  (3)   A building that is standing, or any portion of a building that is standing, even if it shows
                        evidence of cracking, bulging, sagging, bending, leaning‘ settling, shrinkage or
                        expansion;

                  (4)   Personal property that has not abruptly fallen down or caved in, even ifthe personal
                        propertyshows evidence of cracking, bulging, sagging, bending, leaning, sewing,
                        shrinkage or expansion; or

                  (5)   The abrupt falling down or caving in of any of the following property, unless the property
                        isproperty to which this insurance applies and the abrupt falling down or caving in of
                        such property is itself caused by an “abrupt coltapse” of a building or any portion of a
                        building to       which   this   insurance applies:

                        (i)      Communication towers, antennas,             satellite dishes,            guy wires,   lead-in wiring      and
                                 masts;

                        (ii)    Awnings‘ canopies, gutters, downspouts, fences or yard                          fixtures;

                        (iii)    Outdoor swimming pools, or beach or diving platforms or appurtenances;

                        (iv)     Retaining walls, bulkheads, piIings, piers, wharves or docks;

                        (v)      Underground pipes,         flues or drains; or

                        (vi)     Walkways, roadways and other paved surfaces.


        2.   “Dependent Property” means property operated by others                                that the Insured     depends on        to:

             a.   Supply materials or services to the Insured, or to others for the account of the Insured
                  (Contributing Locations). With respect to Contributing Locations, services do not mean                                         utility




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    KTK—CMB-1D91768-8-20                                           Page 14   of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 88 of 120 PageID #: 93


                                                                                                                             MS 05   O1 1O 18

                  services including, but not limited          to,      water supply services, communication supply services
                  (including services relating to internet               access or access to any eIectronic, cellular or satellite
                  network), or    power supply services supplying                    electricity,   steam or gas;
             b.   Accept the Insured’s products or services (Recipient Locations);

             c.   Manufacture products             for delivery to the lnsured’s             customers under contract of sale
                  (Manufacturing Locations); or

             d.   Attract     customers     to the lnsured’s       business (Leader Locations).

      3.     “Electronic Data Processing Data and Media” means:

             a.   Data stored on, created or used on, or transmitted to or from computer software (including
                  systems and applications software) on electronic recording or storage media such as hard or
                  floppy disks, CDs, DVDs, flash memory, tapes, drives, cells, data processing devices or any
                  other repositories of computer software which are used with electronically controlled
                  equipment;

             b.   The   electronic   media on which the data                  is   stored;   and
             c.   Programming records and               instructions.

      4.     “Electronic Data Processing Equipment” means electronic data processing equipment,
             facsimile machines,  word processors, multi—functional telephone equipment, laptop and portable
             computers; related surge protection devices; and their component parts and peripherals used
             solely for data processing operations.

      5.     “Electronic Vandalism” means:

             a.   Willful or    maﬁcious destruction of computer programs, content, instructions or other electronic
                  or digital data stored within computer systems; and

             b.   Unauthorized computer code or programming                            that:

                  (1)   Deletes, distorts, corrupts or manipulates computer programs, content, instructions or
                        other electronic or digital data, or otherwise results in damage to computers or computer
                        systems or networks           to   which   it   is   introduced;

                  (2)   Replicates       itself,   impairing the performance of computers or computer systems or
                        networks; or

                  (3)   Gains remote control access to data and programming within computers or computer
                        systems or networks to which it is introduced, for uses other than those intended for
                        authorized users of the computers or computer systems or networks.

       6.    “Exhibition”    means the temporary display of personal property at a convention, exposition, trade
             show   or similar event at a iocation not owned or regularly occupied by the Insured.

       7.    “Fine Arts" means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs,
             statuary, marbles, bronzes, antique furniture, rare books, antique silver, manuscripts, porcelains,
             rare glass, bric—a—brac and similar property of rarity, historical value or artistic merit.

       8.    “Finished Stock” means goods manufactured by the Insured that                                  in   the ordinary course of the
             lnsured’s business are in their completed state and ready for sale.

             “Finished Stock" does not include goods manufactured by the Insured that are held for sale on
             the premises of any retail outlet insured under this Coverage Form.


       9.    “Fungus” means any type    or form of fungus, including mold or mildew, and any mycotoxins,
             spores, scents or byproducts produced or released by fungi.

       10.   “Local Admitted Insurance” means insurance issued by a governmental entity or an insurer
             licensed or permitted by law to do business in the country orjurisdiction where the Covered
             Property    is   located.

       11.   “Named Windstorm” means a                     “Windstorm” that has been declared and                   named a   tropical   storm
             or Hurricane by the National Hurricane Center or Central Pacific Hurricane Center of the National

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    KTK—CMB—1D91768—8-20                                           Page 15         of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 89 of 120 PageID #: 94


                                                                                                                                        MS CS   01 1O 18

             Weather          Service.   A “Named Windstorm”               includes any tornado or other wind event, including a
             post tropical cyclone, that               is   caused by or   results from the “Named Windstorm”.

       12.   “Operations” means:

             a.       The Insured’s business activities occurring at the Insured’s premises even if such activities
                      would not have produced income during the “period of restoration”, such as research and
                      development activities; and

             b.       The    tenantability of the lnsured’s          premises when coverage                for Rental   Value applies.
       13. “Ordinary Payroll     Expenses” means payroll expenses for all employees of the Insured except
             officers, executives,department managers or employees for whom payroll expenses are required
             to be paid under a direct employment contract with the Insured and except any additional
             exemptions for which coverage is added by endorsement for specific job classifications or
             employees.

             “Ordinary payroll expenses” include:

                      Payroll;

                      Employee       benefits,   if   directly related to payroll;
             waovsv

                      FICA and Medicare payments;
                      Union dues; and

                      Worker's compensation premiums.

       14.   “Outdoor Property" means retaining walls not part of a building, lawns (including fairways,
             greens and tees), trees, shrubs, piants, artificial turf (including underlayment), bridges (excluding
             vehicular bridges), walks, roadways, patios or other paved surfaces.

       15. “Period of Restoration”

             a.       Except as provided          in   paragraphs     b.   and   c.   below, “period of restoration”              means   the period of
                      time   that:


                      (1)    Begins with the date and time of direct physical loss or damage to property at the
                             Insured’s premises caused by or resulting from a Covered Cause of Loss; and

                      (2)    Ends on the    earlier of the following:

                             (a)   The date when            the property should be repaired, rebuilt or replaced with reasonable
                                   speed and     similar quality; or

                             (b)   The date when business            is   resumed          at   a   new permanent   location.

             b.       If:




                      (1)   The  direct physical loss or damage by a Covered Cause of Loss                              is   to   any   of the following
                             property at premises to which this insurance applies:

                             (a)   New   buildings or structures, whether complete or under construction;

                             (b)   Alterations or additions to existing buildings or structures; or

                             (c)   Machinery, equipment supplies or building materials on or within 1,000 feet ofthe
                                   premises that are used in the construction, alterations or additions, or incidental to
                                   the occupancy of the buildings;

                             and

                      (2)    Such    direct physical loss or        damage       delays the start of "operations”;

                      the “period of restoration” for Business Income or Rental Value will be the same length of
                      time provided in a. above, but will not begin until the date when “operations" would have
                      begun if the direct physical loss or damage had not occurred. This                             change        in   the start of the
                      “period of restoration” does not apply to Extra Expense.



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    KTK—CMB—1 D91 768-8—20                                            Page 16         of   18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 90 of 120 PageID #: 95


                                                                                                                                                  MS C5     O1 10 18

             c.   When    a number of hours is shown in the deductible item in the Supplemental Coverage
                  Declarations for Business Income or Rental Value, the “period of restoration" will not begin
                  until that number of hours immediately following the date and time the “period of restoration”

                  would otherwise have begun, as described                              in a.    and   b.   above. This deductible does not
                  apply to Extra Expense.

             d.   “Period of restoration” does not include any increased period required                                             due       to the   enforcement
                  of any ordinance or law that:

                  (1)   Regulates the construction, use, repair or replacement, or requires the tearing                                                  down     of
                        any property, except as provided under the Ordinance or Law —— Increased “Period of
                        Restoration" Coverage Extension in the Business Income and/or Rental Value Coverage
                        Form including Extra Expense, the Business Income and/or Rental Value Coverage Form
                        Excluding Extra Expense and the Extra Expense Coverage Form; or

                  (2)   Requires any Insured or others to test for, monitor, clean up, remove, contain, treat,
                                                in any way respond to, or assess, the effects of “pollutants”.
                        detoxify or neutralize, or

             e.   The    expiration date of this policy                  will   not cut short the “period of restoration”.

       16. “Pollutants”        means any           solid, liquid,         gaseous       or thermal      irritant   or contaminant, including
             smoke, vapor,                                           waste and any unhealthy or hazardous
                                soot, fumes, acids, alkalis, chemicals,
             building materials (including, but not limited to, asbestos and lead products or materials
             containing lead). Waste includes materials to be recycled, reconditioned or reclaimed

       17.   “Raw Stock” means               material    in   the state          in   which the Insured receives                it   for   conversion by the
             Insured into “stock       in    process" or “finished stock”.

       18.   “Sinkhole Collapse” means the sudden sinking or collapse of land                                            into    underground empty
             spaces created by the action of water on limestone or dolomite.

             This cause of loss does not include:

             a.   The    cost of   filling   sinkholes; or

             b.   Sinking or collapse of land into                  man-made underground                     cavities.

       19. “Specified        Cause of Loss” means any                           of the following: Fire; lightning; explosion; “Windstorm”;
             smoke      (including the emission or puff                   back of smoke,
                                                                         soot, fumes or vapors from a boiler, furnace
             or related equipment); aircraft or vehicles; riot or civil commotion; vandalism; leakage from fire
             extinguishing equipment; "sinkhole coliapse”; “volcanic action”; falling objects as limited below;
             weight of snow, ice or           sleet; or “water            damage",        all   only as otherwise insured against                       in this
             policy.

             Falling objects     does not include             loss or       damage        to:


             a.   Persona! property           in   the open; or

             b.   The  interior of a building or structure, or property inside a building or structure, unless the roof
                  or an outside wall of the building or structure is first damaged by a falling object. Any portion
                  of a building or structure that              is   within the exterior—facing surface material of                              a building or
                  structure shall constitute the interior of that building or structure.

       20.   “Stock” means merchandise held                         in   storage or for sale, “raw stock", “stock                         in   process” or
             “finished stock” including supplies                used       in their packing or shipping.


       21.   “Stock     in   Process” means “raw stock" which has undergone any aging, seasoning, mechanical
             or other process of manufacturing but which has not                                 become       “finished stock”.



       22.   “Suspension” means:

             a.   The    partial or   complete cessation of the Insured’s business “operations”; or

             b.   That a part or all of the msured’s premises                            is   rendered untenantable,                 if   coverage      for Rental
                  Value is provided.


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    KTK-CMB-1 D91 768-8—20                                                Page 17       of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 91 of 120 PageID #: 96


                                                                                                                          MS C5    01 10 18

       23. “Territorial  Waters” means that portion of the sea which is immediately adjacent to the shores of
             any country and over which sovereignty and exclusive jurisdiction of that country extends, but not
             exceeding 12 nautical miles from the mean Iow-water mark of the shore of that country.

       24.   “Vacant” means the              following:

             a.    When       the insured     is   the    owner   or general lessee of a building, “vacant”          means 70%     or   more
                   of the square footage of the entire building                  is not:


                    (1)    Rented to a lessee or sub-lessee and used by the lessee or sub-Iessee                         to   conduct   its

                           customary operations; or

                    (2)    Used by the   building         owner   to   conduct customary operations.

             b.    With respect to a unit or suite that is owned, rented or leased to the Insured, and not within a
                   building to which a. above applies, “vacant” means the unit or suite does not contain enough
                   Business Personal Property to conduct customary operations.

             Buildings under construction or renovation are not considered “vacant”.

       25. “Volcanic Action”            means         direct loss or      damage    resulting from the eruption of a volcano        when
             the loss or      damage    is   caused        by:

             a.    Airborne volcanic blast or airborne shock waves;

             b.    Ash, dust or particulate matter; or

             c.     Lava     flow.

             “Volcanic action” does not include the cost to                    remove ash, dust or      particulate matter that    does not
             cause        direct physical loss or         damage    to the    Covered Property.
             All   “volcanic action” that results from             all   volcanic eruptions or explosions that occur within any 168
             consecutive hour period               will   constitute a single occurrence.

       26.   “Water Damage” means:

             a.    Accidental discharge or leakage of water or steam as the direct result of the breaking apart or
                   cracking of any part of a system or appliance (other than a sump system including its related
                   equipment and parts) containing water or steam.

             b.    Accidental discharge or leakage of water as the direct result of the breaking apart or cracking
                   of a water or sewer pipe that is located off the Insured premises, if the breakage or cracking
                   is caused by wear and tear. This provision serves as an exception to the exclusion of wear

                   and tear under Exclusion D.2.c.(1) in the Property Coverage Form. But “water damage” does
                   not include loss or damage otherwise excluded under the terms of the Flood Exclusion D.1 .b.
                   in the Property Coverage Form.


       27.   “Windstorm” means a storm                     with wind or wind gusts, with or without,            and regardless of the
             amount of, precipitation.




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    KTK—CMB-1 091768—8-20                                              Page 18   of 18
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 92 of 120 PageID #: 97


                                                                                                                                  MS CS     05 1O 18

                                                        REPLACEMENT COST
   This endorsement modifies the Property Coverage Form.

   The   following valuation provisions are added:


   A.    REPLACEMENT COST
         In the event of covered loss or damage, the Company wiH determine the value of Covered Property at
         replacement cost as of the time and place of loss, without deduction for depreciation, except as
         otherwise provided in this endorsement or as stipulated by any other endorsement(s) attached to this
         policy. This replacement cost valuation is subject to the following conditions:

         1.   The Company wm             not pay    more on a replacement cost basis than the                      least of:

              a.    The     cost to replace, at the     same   site,   the Iost or       damaged           property, with other property of
                    comparable material and            quality; or

              b.    The actual amount         incurred by the Insured that              is   necessary to repair or replace the            lost or
                    damaged property;         or

              c.    The     Limit of Insurance applicable to the lost or                damaged        property.

              If a building is rebuilt at a different site, the cost described in a. above is                          limited to the cost   which
              would have been incurred had the building been built at the original site.

              The Company         will                   damage on a replacement cost basis until the property
                                         not pay for any loss or
              is   repaired or replaced,      and then only
                                                       such repair or replacement is made as soon as
                                                                 if

              reasonably possible after the loss or damage If the property is not repaired or replaced as soon
              as reasonably possible after the loss or damage, the value of the property will be determined on
              an actual cash value basis. This restriction does not apply to losses less than $25,000.

              For property to which      replacement cost valuation applies, the Insured may make a claim for
                                            this
              loss or      damage on an
                                     actual cash value basis instead of on a replacement cost basis. In the
              event the Insured elects to have loss or damage settled on an actual cash value basis, the
              Insured may stiil make a claim on a replacement cost basis if the Insured notifies the Company
              within 180 days after the loss or damage.

              The cost torepair or replace does not include the increased cost attributable to enforcement of or
              compliance with any ordinance or law regulating the construction, use or repair of any property:

              a.    Except as provided         in   the valuation for building glass             in   Section 8.13. below; or

              b.    Unless a Limit of Insurance is specified for Ordinance or Law in the Supplemental                                    Coverage
                    Declarations, and then only to the extent provided under that coverage.

              Inthe event the Insured decides to repair or replace damaged or destroyed property, payment will
              include any reasonable and necessary architectural, engineering, consulting or supervisory fees
              related to the construction, repair or replacement of the damaged or destroyed property. This will
              not increase the applicable Limits of Insurance.


   B.    REPLACEMENT COST EXCEPTIONS
         1.   Valuable papers and records and “electronic data processing data and media”                                      will   be valued as
              follows:

              a.    At the specified amount per article for those articles which are specifically declared,
                    described and valued in a schedule forming a part of this policy; or

              b.     Except as provided        in a.   above, at the cost of blank materials or media of comparabie kind,
                     pIus:

                     (1)   The cost incurred by the Insured to research, replace or restore the lost information on
                           lost, damaged or destroyed valuable papers and records or “electronic data processing

                           data and media" for which dupiicates do not                   exist;   or


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    KTK—CMB-‘I D91768-8~20                                            Page   1   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 93 of 120 PageID #: 98


                                                                                                                                                 MS CS       O5 10 18

                  (2)    The   cost of labor incurred by the Insured to transcribe or copy data onto blank materials
                         or   media when duplicates of the papers, records or data                                     exist.

       2.   If branded or labeled merchandise that is Covered Property is damaged
                                                                                    by a Covered Cause of
            Loss and the Company takes all or part of the property at an agreed or appraised value, the
            Company wm           also pay:

            a.    Reasonable expenses incurred by the Insured                             to:


                  (1)    Stamp the word “Salvage” on the merchandise                                or   its   containers,           if   the stamp   will   not
                         physically     damage        the merchandise; or

                  (2)    Remove        the brands or labels,        if   doing so    will       not physically     damage the merchandise.
                         The Insured must            re—Iabel the   merchandise or               its     containers to comply with the law.

            b.    Any    reduction      in   the salvage value of the            damaged merchandise                         with the brands or labels
                  removed.

            But this wiH not increase the Limit(s) of Insurance applicable to the                                        lost      or   damaged     property.

       3.   “Electronic data processing equipment"                       will   be valued on a replacement cost basis as provided                                  in
            Section A. above. However,    repiacement of “electronic data processing equipment” with
                                                        if


            comparable property is impossible, the replacement cost will be the cost of items that are similar
            to the damaged or destroyed equipment and intended to perform the same function, but which
            may inctude technological advances.
            Inno event will the value of “electronic data processing equipment” that is obsolete or no longer
            used by the Insured exceed the actual cash value of such equipment at the time and place of
            loss.

       4.   “Fine Arts”       will   be valued      at the least of:

                  The    cost of reasonably restoring that property; or

                  The cost       of replacing that property, at the time                  and place            of loss, with substantially the                same
                  propeny; or

            c.    The market value            of the property at the time            and place            of loss or,         if   the article of property is
                  specifically declared, described              and valued          in   a schedule forming a part of                      this policy, the
                  amount per          article specified in the      Scheduie.

       5.   “Finished stock”
                           will be valued at the selling price if no loss or damage occurred, less discounts

            and expenses the Insured otherwise would have had.

       6.   Pairs, Sets, or Parts

            a,    In    case of loss     to   any   part of a pair or set, the           Company may,                   at   its   option:

                  (1)    Repair or replace any part to restore the pair or set to                                its   value before the Ioss; or

                  (2)    Pay the difference between the value                     of the pair or set before                     and       after the loss,

            b.    In    case of loss to any part of Covered Property consisting of several parts when complete,
                  the    Company will only pay for the va!ue of the lost or damaged part.
       7.   Patterns, dies, molds,  and forms not in current usage will be valued at actual cash value. If loss
            ispaid on an actual cash value basis, and within 24 months from the date of the loss the Insured
            needs to repair or replace one or more of the items, the Company will pay the Insured, subject to
            the conditions of this insurance, the difference between actual cash va1ue and replacement cost
            for   those patterns, molds and dies which are actually repaired or replaced.

       8.   Business Personal Property sold by the Insured but not delivered will be valued at the selling
            price less discounts and expenses the Insured otherwise would have had.

       9.   Business Personal Property of Others                    will    be valued       at the lesser of:

            a.    The     valuation that would apply to such propeny                        if it   was owned by                   the Insured; or



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    KTK-CMB-1 D91768-8-20                                              Page 2      of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 94 of 120 PageID #: 99

                                                                                                                                     MS C5 05           1O 18

             b.     The amount          for   which the Insured       is liable,    not to    exceed the replacement              cost.

       10. “Stock in process” will               be valued    at the cost of “raw stock", Iabor                  expended, plus the proper
             proportion of overhead charges.

       11.   Tenant's Improvements and Betterments                         will   be valued        at:


             a.     Replacement cost           of the damaged or destroyed property (subject to the provisions of Section
                    A. above)      if   the insured tenant promptly repairs or replaces the damaged or destroyed
                    property.

             b.     A    proportion of the insured tenant’s original cost                    if   the insured tenant does not promptly repair
                    or replace the        damaged         or destroyed property.           The Company         will determine the
                    proportionate value as follows:

                    (1)    Multiply the original cost         by the number of days from the date of loss or                       damage to           the
                           expiration of the lease;          and

                    (2)    Divide the amount determined                in (1)     above by the number of days from the date                       of
                           installation of      improvements       to the expiration of the lease.

                    If   the insured tenant’s lease contains a renewal option, the expiration of the renewal option
                    period    will replace the expiration of the lease in this procedure.


             c.     If   the   damaged        or destroyed property         is   repaired or replaced at the expense of others, there
                    will   be no   liability    hereunder.

       12. “Vacant” property will               be valued    at actual     cash value as of the time and place of                   loss.

       13. Building glass will            be valued       at the cost of    replacement with safety glazing material                      if   required by
             law.    The Ordinance             or   Law   exclusion   in   Section D.1     .h.     of the Property          Coverage Form does         not
             apply to this building glass valuation.




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    KTK-CMB—1D91768—8-20                                               Page 3       of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 95 of 120 PageID #: 100

                                                                                                                          MS C5 26   1O 18


                                                ERRORS AND OMISSIONS
    This endorsement modifies the Policy Conditions, Additional Provisions and Definitions Form.

    General Condition       23., Unintentional Errors       in   Description,         is   replaced with the following:

    23. Errors      and Omissions
        The insurance provided by          this policy is   extended to apply with respect to loss or damage to property
        at locations within the Policy Territory that are        owned, leased or operated by the Insured, if such loss
        or   damage    is   not payable under this policy solely         due      to:

        a.    Any  error or unintentional omission in the description of the address of the property, whether
              made   at the inception of the policy period or at the time of any subsequent endorsement(s) to the
              policy; or

        b.    Failure through     any   error or unintentional omission               to:


              (1)   Include any location of the Insured at the inception of the policy; or

              (2)   Report any newly acquired location before the period of automatic coverage provided under
                                    newly acquired location expires,
                    this policy for the

        This extension does not apply to loss or damage at a reported location that is not payable under this
        policy due to the failure to add coverage for any type of property or other exposure at that reported
        location.

        The most the Company will pay for loss or damage under this extension is the Limit of Insurance
        specified for Errors and Omissions shown in the Supplemental Coverage Declarations. But in no
        event will the Company pay more for loss or damage than the amount the Company would have paid
        had no error or unintentional omission occurred or had the period of automatic coverage for the newly
        acquired location not expired.

        Upon discovery of the error or unintentional omission, the Insured will report the correct information                          to
        theCompany. An additional premium may be charged based upon the corrected information.




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    KTK-CMB—1D91768—8~20                                          Page   1   of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 96 of 120 PageID #: 101

                                                                                                    MS C5   27 1O 18

                                     EXTRA EXPENSE DEDUCTIBLE
    This endorsement modifies the Policy Conditions, Additional Provisions and Definitions Form‘

    Under General Condition A.1 Application of Deductibles, the last sentence of provision g., which states
                                .,


    thatno deductible applies to Extra Expense, does not apply. The Extra Expense coverage provided
    under this policy is subject to the applicable deductibles indicated in the Supplemental Coverage
    Declarations or in the forms or endorsements attached to this policy.




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    KTK-CMB-1 D91768—8-20                              Page   1   of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 97 of 120 PageID #: 102

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                                       HIGH HAZARD WIND AREAS —                                U.S.A.

    The   following listing of high hazard wind areas, consisting of high hazard counties (parishes                             in   Louisiana)
    and   specific cities by State (indicated by     and high hazard areas of U.S.A. territories and
                                                    an   *),

    possessions, is provided to determine applicable Coverage, Limit(s) of Insurance and Deductible(s)
    referred to in the Supplemental Coverage Declarations for High Hazard Wind Areas within the United
    States of America (including its territories and possessions).

             STATE                             HIGH HAZARD WIND COUNTIES AND SPECIFlC CITIES
     Alabama                    Baldwin                                  Mobile


     Delaware                   Kent                                     Sussex

     Florida                    AH Counties

     Georgia                    Brantley                                 Chatham                                 Long
                                Bryan                                    Effingham                               McIntosh
                                Camden                                   Glynn                                   Wayne
                                Charlton                                 Liberty


     Hawaii                     All   Counties


     Louisiana                  Acadia                                   Jefferson                               St.   John the Baptist
                                Allen                                    Jefferson Davis                         St.   Landry
                                Ascension                                Lafayette                               St.   Martin
                                Assumption                               Lafourche                               St.   Mary
                                 Beauregard                              Livingston                              St.   Tammany
                                 Calcasieu                               Orleans                                 Tangipahoa
                                 Cameron                                 Plaquemines                             Terrebonne
                                 East Baton Rouge                        Pointe      Coupee                      Vermillion
                                 East Feliciana                          St.    Bernard                          Washington
                                 Evangeline                              St.    Charles                          West Baton Rouge
                                 Iberia                                  St.    Helena                           West Feliciana
                                 Iberville                               St.    James

     Maryland                    Calvert                                 St.    Mary’s                           Wicomico
                                 Dorchester                              Somerset                                Worchester

     Massachusetts               Barnstable                                  Dukes                               Plymouth
                                 Bristol                                 Nantucket

     Mississippi                 George                                      Harrison                            Pearl River
                                 Hancock                                 Jackson                                 Stone

     New Jersey                  Atlantic                                    Cape May                            Monmouth
                                 Burlington                                  Cumberland                          Ocean

     New York                    Nassau                              f
                                                                             Suffolk




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    KTK-CMB-1 D91 768—8—20                                      Page     1    of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 98 of 120 PageID #: 103

                                                                                                                         MS CB        06 1O 15



          STATE                           HIGH HAZARD WIND COUNTIES AND SPECIFIC CITIES
     North Carolina        Beaufort                               Dare                                      Onslow
                           Bertie                                 Duplin                                    Pamlico
                           Bladen                                 Gates                                     Pasquotank
                           Brunswick                              Greene                                    Pender
                           Camden                                 Hertford                                  Perquimans
                           Carteret                               Hyde                                      Pitt

                           Chowan                                 Jones                                     Sampson
                           Columbus                               Lenoir                                    Tyrrell

                           Craven                                 Martin                                    Washington
                           Currituck                              New Hanover

     Rhode   Island        Bristol                                Newport                                   Washington

     South Carolina        Beaufort                               Dorchester                                Horry
                           Berkeley                               Florence                                  Jasper
                           Charleston                             Georgetown                                Marion
                           Colleton                               Hampton                                   Williamsburg


     Texas                 Aransas                                Hardin                                    Live   Oak
                             Bee                                  Harris                                    Matagorda
                             Brazoria                             Hidalgo                                   Newton
                             Brooks                               Jackson                                   Nueces
                             Calhoun                              Jasper                                    Orange
                             Cameron                              Jefferson                                 Refugio
                             Chambers                             Jim Wells                                 San    Patricio
                             Fort Bend                            Kenedy                                    Victoria
                             Galveston                            Kleberg                                   Wharton
                             Goliad                               Liberty                                   Willacy

                                                                                            *                                     *
     Virginia              Accomack                               Little   Creek   City                     Poquoson      City
                                                      *                                                                               *
                           Chesapeake          City               Matthews                                  Portsmouth City
                                                                                                                              *
                             Gloucester                           Middlesex                                 Suffolk City
                                                *                                                  *                                      *
                             Hampton     City                     Newport News         City                 Virginia   Beach      City
                                                                                   *
                             Isle of   Wight                      Norfolk City                              York
                             Lancaster                            Northampton
                                                      *
                             Langley Field City                    Northumberland




          U.S.A.   TERRITORY                                          HIGH HAZARD WIND AREA
     American Samoa                       Entire Territory


     Guam                                 Entire Territory


     Northern Marianas                    Entire Territory




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    KTK-CMB—‘I D91768—8-20                                 Page 2   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 99 of 120 PageID #: 104

                                                                                                         MS C6   06 1O 15



            U.S.A.   TERRITORY                                         HIGH HAZARD WIND AREA
     Puerto Rico                          Entire Territory


     U.S. Virgin Islands                  Entire Territory


     All   other U.S.A. territories and   Entire Territory
     possessions




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    KTK-CMB-1 D91 768-8—20                                Page 3      of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 100 of 120 PageID #: 105

                                                                                                              MS CG    09 1O 15

             HIGH AND MODERATE HAZARD EARTHQUAKE, VOLCANIC ERUPTION,
                    LANDSLIDE AND MINE SUBSIDENCE AREAS — U.S.A.
    The following Iisting of high hazard and moderate hazard Earthquake, Volcanic Eruption, Landslide and
    Mine Subsidence areas, consisting of high hazard and moderate hazard counties (and independent cities
    as indicated by an *) by State, and high hazard areas of UAS.A. territories and possessions, is provided to
    determine applicable Coverage, Limit(s) of Insurance and Deductible(s) referred to in the Supplemental
    Coverage Declarations for Earthquake, Volcanic Eruption, Landslide and Mine Subsidence occurring in
    High and Moderate Hazard Areas in the United States of America (including its territories and possessions.


          STATE           HIGH HAZARD                                MODERATE HAZARD COUNTIES
                              COUNTIES
    Arizona                                        Yuma

    Arkansas           Clay                        Arkansas                   lzard                    Prairie
                       Mississippi                 Craighead                  Jackson                  Randolph
                                                   Crittenden                 Lawrence                 Sharp
                                                   Cross                      Lee                      St.   Francis
                                                   Cleburne                   Lonoke                   Stone
                                                   Fulton                     Monroe                   White
                                                   Greene                     Phillips                 Woodruff
                                                   Independence               Poinsett



     Idaho                                         Bear Lake                  Fremont                  Teton


     Illinois          Pulaski                     Alexander                  Jackson                  Randolph
                                                   Bond                       Jasper                   Richland
                                                   Clay                       Jefferson                St. Clair
                                                   Clinton                    Johnson                  Saline
                                                   Crawford                   Lawrence                 Shelby
                                                   Cumberland                 Macoupin                 Union
                                                   Edwards                    Madison                  Wabash
                                                   Effingham                  Marion                   Washington
                                                   Fayette                    Massac                   Wayne
                                                   Franklin                   Monroe                   White
                                                   Gallatin                   Montgomery               Williamson
                                                   Hamilton                   Perry
                                                   Hardin                     Pope


     Indiana                                       Adams                      Pike                     Sullivan
                                                   Gibson                     Posey                    Vanderburgh
                                                   Jay                        Randolph                 Warrick
                                                   Knox                       Spencer


     Kentucky           Fulton                     Ballard                    Hancock                  Muhlenberg
                        Hickman                    Caldwell                   Henderson                Ohio
                                                   Galloway                   Hopkins                  Todd
                                                   Carlisle                   Livingston               Trigl
                                                   Christian                  Lyon                     Union
                                                   Crittenden                 Marshall                 Webster
                                                   Daviess                    McCracken
                                                   Graves                     McLean



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     KTK—CMB-1 D91 768-8-20                               Page   1   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 101 of 120 PageID #: 106

                                                                                                            MS C6     09 10 15

        STATE            HIGH HAZARD                             MODERATE HAZARD COUNTIES
                            COUNTIES
    Mississippi                                  Alcorn                     Marsha”                  Tate
                                                 Bolivar                    Panola                   Tippah
                                                 Coahoma                    Quitman                  Tunica
                                                 DeSoto                     Pontotoc                 Union
                                                 Lafayette                  Tallahatchie


    Missouri          Dunklin                    Bollinger                  Jefferson                St.   Francois
                      Mississippi                Butler                     Perry                    St.   Louis
                      New Madrid                 Cape Girardeau             Madison                  St.   Louis City*
                      Pemiscot                   Carter                     Oregon                   Ste.   Genevieve
                                                 Crawford                   Reynolds                 Stoddard
                                                 Dent                       Ripley                   Texas
                                                 Franklin                   Scott                    Washington
                                                 Howell                     Shannon                  Wayne
                                                 Iron                       St.   Charles


    Montana                                      Flathead                   Lake
                                                 Gallatin                   Madison


    Nevada                                       Carson City*               Lyon                     Storey
                                                 Douglas                    Mineral                  Washoe
                                                 Esmeralda                  Nye


    Ohio                                         Allen                      Hardin                   Paulding
                                                 Auglaize                   Henry                    Preble
                                                 Champaign                  Logan                    Putnam
                                                 Clark                      Madison                  Shelby
                                                 Darke                      Mercer                   Union
                                                 Greene                     Miami                    Van Wert
                                                 Hancock                    Montgomery               Wyandot


    Oregon                                       Coos                       Klamath                  Multnomah
                                                 Curry                      Marion                   Washington


     South Carolina                              Beaufort                   Charleston               Dorchester
                                                 Berkeley                   Colleton                 Georgetown


     Tennessee        Dyer                       Carroll                    Hardin                   McNairy
                      Lake                       Chester                    Haywood                  Montgomery
                      Lauderdale                 Crockett                   Henderson                Shelby
                      Obion                      Fayette                    Henry                    Stewart
                      Tipton                     Gibson                     Houston                  Weakley
                                                 Hardeman                   Madison




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     KTK—CMB-1 D91 768-8—20                             Page 2   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 102 of 120 PageID #: 107


                                                                                                         MS C6   09 1O 15

        STATE             HIGH HAZARD                              MODERATE HAZARD COUNTIES
                            COUNTIES
    Utah                                           Box Elder                 Davis                Utah
                                                   Cache                     Salt   Lake          Weber

    Washington                                     Clallam                   King                 Pierce
                                                   Clark                     Kitsap               San Juan
                                                   Cowlitz                   Kittitas             Skagit
                                                   Grays Harbor              Lewis                Snohomish
                                                   Island                    Mason                Thurston
                                                   Jefferson                 Pacific              Whatcom

    Wyoming                                        Lincoln                   Teton




                           TERRITORYIPOSSESSION
                         U.S.A.                                              HIGH HAZARD AREA
                   American Samoa                                          Entire Territory/Possession


                   Guam                                                    Entire Territory/Possession


                   Northern Mariana Islands                                Entire Territory/Possession


                   U.S. Virgin Islands                                     Entire Territory/Possession


                   Allother U.S.A. territories and
                   possessions, other than Puerto Rico                     Entire Territory/Possession




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     KTK-CMB-1 D91768—8-20                                Page 3   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 103 of 120 PageID #: 108


                                                                                                                                                 MS C8      72 1O 18

                              INDIANA      CHANGES CANCELLATION AND NONRENEWAL
                                                                   -




     This endorsement modifies insurance provided under                                    this policy.




     The POLICY CONDITIONS, ADDITIONAL PROVISIONS                                                     AND DEFINITIONS FORM                 is   amended as
     follows:


     A.   Section A. GENERAL CONDITIONS, Paragraph                                     4.    Cancellation and Nonrenewal, Item a.(2)                         is
          replaced by the following:

          (2)(a)CanceHation Of Policies                  In Effect     For 90 Days Or Less

                  If    this policy   has been      in   effect for    90 days or  less, the Company may cancel this policy by
                  mailing or delivering to the             first   Named     Insured written notice of cancellation at least:

                  (i)     1O days before the effective date of cancellation                               if    the   Company       cancels for nonpayment of
                          premium;

                  (ii)    20 days before the         effective date of cancellation                       if    the Insured has perpetrated a fraud or
                          material misrepresentation               on the Company; or
                  (iii)   60 days before the         effective date of cancellation                       if    the   Company       cancels for any other
                          reason.

               (b)CancelIation Of Policies               In Effect     For More Than 90 Days

                  If    this policy   has been     in    effect for    more than 90 days, or is a renewal of a policy the Company
                  issued, the        Company may cancel                                  one or more of the reasons listed below,
                                                                       this policy, only for
                  by mailing or delivering to the             first    Named       Insured written notice of cancellation at least:

                  (i)     10 days before the effective date of cancellation                               if    the   Company       cancets for nonpayment of
                          premium;

                  (ii)    20 days before the effective date of cancellation                               if    the Insured has perpetrated a fraud or
                          material misrepresentation on the Company; or

                  (iii)   60 days before the         effective date of cancellation;                          if:



                          (A)   There has been a substantial change                          in       the scale of risk covered by this policy;

                          (B)   Reinsurance of the          risk   associated with this policy has been cancelled; or

                          (C)   The Insured has          failed to     comply with reasonable safety recommendations,

     B.   Section A. GENERAL CONDITIONS, Paragraph                                     4.   Cancellation and Nonrenewal, Item                       b. is
          replaced by the following:

          b.    Nonrenewal
                        If the Company elects not to renew this
                (1)                                             policy, the Company will mail                                         or deliver to the   first
                        Named Insured written notice of nonrenewal at least 60 days before:
                        (a)   The   expiration date of this policy,          if   the policy             is    written for   a term of one year of     less; or

                        (b)   The anniversary date          of this policy,       if   the policy             is    written for   a term or more than one
                              yean

                (2)     The Company        will   mail or deliver notice of nonrenewal to the first Named Insured’s last
                        mailing address      known     to the Company. If notice is mailed, proof of mailing will be sufficient
                        proof of notice.




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     KTK—CMB-1D91768—8-20                                                 Page         1    0f    1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 104 of 120 PageID #: 109


                                                                                                                                                    MS CB      73 1O 18

                                                                     INDIANA            CHANGES
     This endorsement modifies insurance provided under this policy with respect to                                                all   locations    in   and
     coverages provided for locations in the state of Indiana.



     A.   CHANGES T0 THE POLICY CONDITIONS, ADDITIONAL PROVISIONS AND DEFINITIONS FORM
          1. Section A, GENERAL CONDITIONS, Paragraph 21. Subrogation and Subrogation Waiver,
               Item   b.,   Subrogation             - All Other Coverages            is     replaced with the following:

                    If any person or organization to or for whom the
               b.                                                    Company makes payment under this policy
                    has rights to recover damages from another; those rights are transferred to the Company to
                    the extent of such payment. The Company's right to recover damages from another
                                                                                                        may be
                    enforced even if the person or organization to or for whom the Company makes payment has
                    not been fuliy compensated for damages.

                    The person            or organization to or for               whom      the    Company makes payment must do                           everything
                    necessary     secure the Company’s rights and must do nothing after the loss to impair them.
                                        to
                    But, the Insured may waive its rights against another party in writing:

                    (1)     Prior to a loss to the Insured’s                     Covered Property or Covered Income.
                    (2) After         a loss        to the Insured’s         Covered Property or Covered Income only                          if,   at time of loss,
                            that party        is    one    of the following:

                            (a)     Someone           insured by this insurance;

                            (b)     A   business firm owned or controlled by the Insured or that owns or controls the
                                    Insured; or

                            (c)     The      lnsured’s tenant.

                    Such waiver              will   not invalidate or restrict this insurance.

          2.   Section A. GENERAL CONDITIONS, Paragraph                                        6.   Concealment, Misrepresentation or Fraud
               is replaced with the following:


               6.   Concealment, Misrepresentation or Fraud
                    a.      The Company will                 not pay for any loss or           damage        in   any case    of:

                            (i)           Concealment or misrepresentation of a materia!                              fact;   or

                            (ii)          Fraud

                            committed by an insured                     at   any time and      relating to        a claim under          this policy.

                            However,          this    does not apply when a claim                   is   made     by an “innocent coinsured”, provided:
                             (i)          The property loss or damage occurs to the primary residence of the “innocent
                                          coinsured” as covered under the Building Coverage.

                             (ii)         The “final settlement” for the property loss or                          damage     is    at least    60%        of avaiiable
                                          insurance proceeds under the policy.

                            The      following        is   added and supersedes any provision                      to the contrary:

                            Any payment made                  will   be   for:


                            (i)           The       actual cost of repair or replacement of the property that is the subject of the
                                          claim       if the actual cost or repair or replacement is less
                                                                                                          than or equal to the
                                          maximum            limit of   coverage under the               policy; or




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     KTK—CMB-1 D91768-8—20                                                       Page   1   of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 105 of 120 PageID #: 110


                                                                                                                           MS CS   73 10 18

                    (ii)          The maximum   limit of coverage under the policy if the actual cost of repair or
                                  replacement of the property that is the subject of the claim is greater than the
                                  maximum limit of coverage under the policy.
               e.   Any paymentmade                    is   limitedtothe following:

                    (i)           An    “innocent coinsured’s" ownership interest in the property, less any payments
                                  the Company      makes to a mortgagee or other Iienholder with a secured interest in
                                  the property.

                    (ii)          The Company will             not pay another coinsured for any part of the claim for which
                                  the    Company has           already paid to an “innocent coinsured”.

                    (iii)         The Company will    not pay an amount that is greater than the amount an “innocent
                                  coinsured” is entitled to under a decree of dissolution of marriage between the
                                  “innocent coinsured” and an individual described in Paragraphs 5.a.(i) or b. of this
                                  endorsement.
               f.   As used       herein, ”innocent coinsured”                      is   an Insured who:

                    (i)           Did not have knowledge of, cooperate in, or intentionaily contribute to a property
                                  loss or damage that was caused or arranged by another individual who:

                                  Is   an Insured and:

                                  (A)           Died    in   connection with the circumstances that caused the property loss
                                                or   damage; or

                                  (B)           Has been charged with a crime based on a court filing that there is
                                                probable cause to believe that the individual committed the crime in
                                                connection with the circumstances that caused the property loss or
                                                damage;
                    (ii)         Signs a sworn affidavit attesting that they did not have the knowledge of,
                                 cooperate in, or intentionally contribute to the property loss or damage; and

                    (iii)         Cooperates    the investigation and resolution of the claim for the property loss or
                                                      in

                                 damage, any   police investigation related to the property loss or damage, and any
                                 criminal prosecution of the individual that caused or arranged the property Ioss or
                                 damage.
               g.   As used       herein, “final settlement”                  is   a determination:

                    (i)          Of the amount owed by the Company to an “innocent coinsured” under Building
                                 Coverage and for property loss or damage to the “innocent coinsured’s primary
                                 residence; and

                    (ii)          Made      by:

                                   (A)          Acceptance of a proof                    of loss by the   Company;
                                   (B)          Execution of a release by the “innocent coinsured”,

                                   (C)          Acceptance          of   an   arbitartion      award by the “innocent coinsured” and the
                                                Company;        or

                                   (D)          Judgment       of    a court of competent            jurisdiction.

                     However,           final   settlement does not apply to loss or          damage related to contents, personal
                     property, or another loss that                   is   not covered under the Building Coverage under this
                     policy.




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     KTK—CMB-‘l D91768—8-20                                              Page 2      of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 106 of 120 PageID #: 111


                                                                                                                           MS C8   73 1O 18

     B.   CHANGES TO THE LEGAL                      LIABILITY       ENDORSEMENTS
          The   foliowing provisions are        added       if   any Legal    Liability   endorsements are attached   to this policy:

          1.    Paragraph       8.a.(5)   General Condition 21         .,   Subrogation and Subrogation Waiver,       is   replaced by the
                following:

                21. Subrogation

                      If   the Insured has rights to recover   all or part of any payment the Company has made under

                      this insurance,     those rights are transferred to the Company. The Company's right to recover
                      damages may         be enforced even if the Insured has not been quy compensated for damages.
                      The Insured must do nothing after loss to impair the Company's rights to recover all or part of
                      any payment the Company has made under this endorsement. At the Company’s request, the
                      Insured will bring Suit or transfer those rights to the Company and help the Company enforce
                      them.

          2.    The   following condition      is   added under       8.c.,   The   following additional conditions apply:

                Notice of Loss and Duties            in   the Event of Accident, Claim or Suit:

                Notice given on behalf of the Insured to any authorized agent of the Company in Indiana, with
                particulars sufficient to identify the insured, shall be considered notice to the Company.


     C.   CHANGE TO THE PROPERTY COVERAGE FORM
          Any exclusion, limitation or other provisions relating to “pollutants", or any amendment to or
          replacement of such exclusion, limitation or other provisions, applies whether or not the irritant or
          contaminant has any function in the Insured's business, operations, premises, site or location.




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     KTK-CMB—1 D91768-8—20                                            Page 3     of 3
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 107 of 120 PageID #: 112


                                                                                                                                                       PN T1 89 1O   15




                                                               NOTICE TO POLICY HOLDERS

                 JURISDICTIONAL INSPECTIONS OF EQUIPMENT IN THE
                            UNITED STATES OF AMERICA
                   (INCLUDING ITS TERRITORIES AND POSSESSIONS)
  Dear Policyholder,

  Many          and some cities issue certificates permitting the continued operation of certain equipment such as
               states
  boilers,water heaters, pressure vessels, etc. Periodic inspections are normally required to renew these certifi—
  cates. In most jurisdictions, insurance company employees who have been licensed
                                                                                         by the jurisdictions are au—
  thorized to perform these inspections.


  If:

  o      You own        or operate       equipment that requires a certificate from a state or                            city within   the United States of      Amer-
         ica (including         its           and possessions) to operate tegally, and
                                      territories
         We     insure that         equipment under this Policy, and
  o      You wouid        like      us to perform the next required inspection;

  Then:

  Call this toll—free          number — 1-800-425-41 19

  When you call this number,                  our representative        will   ask you       for the following information:
     Name of your business                    (as    shown on      this Policy)
         Policy    Number
         Location where the equipment                     is   located, including Zip        Code
         Person to contact and phone number for scheduling of inspection
         Type of equipment requiring inspection
         Certificate inspection date                and   certificate   number

  Or:


  Fill in   the information on the foliowing form and fax                      it   to the   toll   free   number        indicated   on   that form.

  Please note the following:

  o      Yourjurisdiction             may charge you a fee for renewing a certificate. is your responsibility t0 pay such a fee.
                                                                                                               It

  o      All   the provisions of the         INSPECTIONS AND SURVEYS Condition apply to the inspections described in this
         notice.




                                                                          REMINDER
  If    new equipment          is     installed or old    equipment replaced that requires a                    jurisdictional inspection        please   let   us know
  by    calling   our   toll   free     number      listed   above.




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  KTK-CMB-1DQ1768-8-20                                                 Page 1 of 2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 108 of 120 PageID #: 113


                                                                                                                PN   T1 89 10 15



              REQUEST FOR JURISDICTIONAL INSPECTION
           OF EQUIPMENT IN THE UNITED STATES OF AMERICA
            (INCLUDING ITS TERRITORIES AND POSSESSIONS)

  Name   of Business (as   shown on   policy):

  Policy Number:

  Location of Equipment:




  City                                      State                                           Zip   Code



  Inspection Contact   Name for ALL    locations:

                                          Phone:




         Equipment Type                     Certificate              Number                  Certificate Expiration
                                                                                                         Date




  Fax Form    to 1   877-764-9535

  Completed   by:                                                                  Phone Number:




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  KTK—CMB-1 D91768—8—20                           Page 2    of   2
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 109 of 120 PageID #: 114

                                                                                             PN T4 54   O1 O8




  IMPORTANT NOTICE REGARDING INDEPENDENT AGENT
            AND BROKER COMPENSATION

  For information about how Travelers compensates independent agents and brokers, please visit
  www.TraveIers.com, or you may request a written copy from Marketing at One Tower Square, ZGSA,
  Hartford, Connecticut 06183.




                                Toll Free   Telephone Number: 1-866-904-8348




  KTK-CMB-1D91768—8—20                         Page   1   of   1
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 110 of 120 PageID #: 115



                                                                                                                 TR   IA O1 O1 15


                                    FEDERAL TERRORISM RISK
                                   INSURANCE ACT DISCLOSURE
    This endorsement provides supplementary information regarding the insurance provided under this policy.

    The federal Terrorism Risk Insurance Act of 2002 as amended (“TRIA”) establishes a program under
    which the Federal Government may panially reimburse “Insured Losses" (as defined in TRIA) caused by
    “Acts Of Terrorism" (as defined in TRIA). “Act Of Terrorism” is defined in Section 102(1) of TRIA to mean
    any act that is certified by the Secretary of the Treasury — in consultation with the Secretary of Homeland
    Security and the Attorney General of the United States - to be an act of terrorism; to be a vioIent act or an
    act that is dangerous to human life, property, or infrastructure; to have resulted in damage within the
    United States, or, outside the United States in the case of cenain air carriers or vessels or the premises of
    a United States Mission; and to have been committed by an individual or individuals as part of an effort to
    coerce the civilian population of the United States or to influence the policy or affect the conduct of the
    United States Government by coercion.

    The Federal Government’s share of compensation for such Insured Losses is established by TRIA and is
    a percentage of the amount of such Insured Losses in excess of each Insurer’s “Insurer Deductible” (as
    defined in TRIA), subject to the “Program Trigger” (as defined                   in   TRIA). Through 2020, that percentage   is
    established by TRlA as follows:

    85% with     respect to such Insured Losses occurring        in    calendar year 2015.
    84% with     respect to such Insured Losses occurring        in    calendar year 2016.
    83% with     respect to such Insured Losses occurring        in    calendar year 2017.
    82% with     respect to such Insured Losses occurring        in    calendar year 2018.
     81   % with respect to such   Insured Losses occurring      in    calendar year 2019,
     80%    with respect to such Insured   Losses occurring      in    calendar year 2020.

     In no event, however, will the Federal Government be required to pay any portion of the amount of such
     Insured Losses occurring in a calendar year that in the aggregate exceeds $100 billion, nor will any
     Insurer be required to pay any portion of such amount provided that such Insurer has met its Insurer
     Deductible. Therefore, if such Insured Losses occurring in a calendar year exceed $100 biMion in the
     aggregate, the amount of any payments by the Federal Government and any coverage provided by this
     policy for losses caused by Acts Of Terrorism may be reduced.

     The charge  for such Insured Losses is included in the total premium for this policy. The charge that has
     been included for such Insured Losses under this policy is the amount indicated below, and does not
     include any charge for the portion of such Insured Losses covered by the Federal Government under the
     TRIA:

     $ 3,000




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                                                            Page      1   of   1



     KTK-CMB—1 D91 768-8-20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 111 of 120 PageID #: 116


                                                                                                                        TR   IA O4 01 15



                          CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

    This endorsement modifies the insurance provided under this policy.

    The       following   is   added   to this policy.         This provision can limit coverage for any loss arising out of a
    “certified act of terrorism”        if   such loss   is   otherwise covered by this policy.

    Ifaggregate insured losses attributable to “certified acts of terrorism” exceed $100 billion in a calendar
    year and the  Company has met its insurer deductible under “TRIA”, the Company will not be liable for the
    payment of any portion of the amount of such losses that exceeds $100 billion, and in such case, insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by
    the Secretary of the Treasury.

    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance
    with the provisions of “TRIA”, to be an act of terrorism pursuant to “TRIA”. The criteria contained in “TRIA”
    for   a   "certified act of terrorism" include the following:

    1.    The act resulted in insured losses                  in   excess of $5    million in the aggregate, attributable to all types of
          insurance subject to ”TRIA”; and

    2.    The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
          committed by an individual or individuals, as part of an effort to coerce the civiﬁan population of the
          United States or to influence the policy or affect the conduct of the United States Government by
          coercion.

    “TRIA”      means     the federal Terrorism Risk Insurance Act of                   2002 as amended.




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                                                                        Page   1   of   1




     KTK-CMB-1 D91768-8-20
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 112 of 120 PageID
                             18C03-2105-PL-000061                          Filed:#: 117 5:13 PM
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                                                                                                 Clerk
                                    Delaware Circuit Court 3                  Delaware County, Indiana




                      EXHIBIT B
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 113 of 120 PageID #: 118

                                                                   I        I     ‘
                                                                                                          Clay Kennedy

      TRAVE LE Rs J                                                                                       GeneralAdjuster
                                                                                                          Travelers Property Major
                                                                                                          PO Box 430
                                                                                                                                           Case      Unit


                                                                                                          Buffalo,   NY 14240
                                                                                                          Cell:   (615) 580-1901
                                                                                                          Fax: (877) 870-6257
                                                                                                          E—Mail:    ckenned4@travelers.com


      The Travelers Indemnity Company

      01/14/2021


      Ivy   Tech Community College
      50 West    Fall   Creek Pkwy N
      Indianapolis IN      46208
      Attn: Laurie Kiser


      Insured:               Ivy   Tech Community College of Indiana
      Claim Number:          FQL0462
      Policy   Number:       KTKCMB-1D917688
      Date of Loss:          11/24/2020
      Loss Location:         345 S High        St   Muncie, IN 46208


      Dear Ms.    Kiser,



       lam   writing to follow up on our recent conversation about your claim. As                                      we       discussed,      The
      Travelers Indemnity          Company      has determined that the Building                         damage      portion of your claim                  is

       not covered under your policy.


       On 11/24/20, you reported          that your building at 345                   S.   High   St.,   Muncie,      IN   47305     -
                                                                                                                                         Fisher
       Building, sustained concussion               and water damages associated with                       electrical explosion(s).                 Your
       policy requires that a Building value be                 shown        in   the most recent Statement of Values, or other
       documentation on       file   with the Company, for Building coverage to apply to that location. Since
       no Building value     is   listed for   the loss location            in    your most recent Statement of Values,                         it   was
       determined that Building coverage                  is   not afforded at this location.


       Please refer to page 1 of 19 of your               MS     C1 00 10 18 Property Coverage Form, which                               states:


                                                         PROPERTY COVERAGE FORM




      A.    COVERAGE

             The Company        payfor direct physical loss of or damage to Covered Property caused by
                             will

             or resulting from a Covered Cause of Loss. Covered Causes of Loss means risks of direct
            physical loss unless the loss           is   excluded      in   Section D., Exclusions, limited                in   Section   E.,

             Limitations, or otherwise extended, excluded or limited in this                              Coverage Form, the
            Supplemental Coverage Declarations or by endorsement. The Company                                              will also     payfor
            Covered Costs and Expenses as described in Section B.2.
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 114 of 120 PageID #: 119


       B. COVERED PROPERTY AND COVERED COSTS AND EXPENSES
          Covered Property means the types of property, as described in this Section B.1. and limited
          in Section C., Property and Costs Not Covered, for which a Limit of Insurance is shown in
          the Supplemental Coverage Declarations.
           1. COVERED PROPERTY
               a. Buildings, meaning the buildings or other structures at the Insured’s premises
                   for which a Building value is shown in the most recent Statement of Values or
                   other documentation on file with the Company, including:
                   (1) Completed additions;
                   (2) Fixtures, including outdoor fixtures;
                   (3) Machinery and equipment permanently attached to the building;
                   (4) Personal property owned by the Insured that is used to maintain or service
                       the buildings, structures or grounds; and
                   (5) If not covered by other insurance:
                       (a) Additions under construction, alterations and repairs to the buildings
                           or structures; and
                       (b) Materials, equipment, supplies and temporary structures, on or within
                           1,000 feet of the Insured’s premises, used for making alterations or
                           repairs to the buildings or structures.
                   Buildings do not include “Outdoor Property” except as provided in Section B.1.h.

      In addition to the policy information stated above, we also reviewed the potential for coverage
      under your Errors and Omissions endorsement. However after review, we confirmed that this
      endorsement does not apply. This endorsement specifies that the extension does not apply to
      loss or damage at a reported location due to failure to add coverage. Please refer to page 1 of 1
      of your MS C5 26 10 18 Errors and Omissions endorsement, which states:

                                     ERRORS AND OMISSIONS

      This endorsement modifies the Policy Conditions, Additional Provisions and Definitions Form.

      General Condition 23., Unintentional Errors in Description, is replaced with the following:
       23. Errors and Omissions
          The insurance provided by this policy is extended to apply with respect to loss or damage
          to property at locations within the Policy Territory that are owned, leased or operated by
          the Insured, if such loss or damage is not payable under this policy solely due to:
          1. Any error or unintentional omission in the description of the address of the property,
               whether made at the inception of the policy period or at the time of any subsequent
               endorsement(s) to the policy; or
          2. Failure through any error or unintentional omission to:
               a. Include any location of the Insured at the inception of the policy; or
               b. Report any newly acquired location before the period of automatic coverage
                   provided under this policy for the newly acquired location expires.
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 115 of 120 PageID #: 120

             This extension        does not apply to       loss or   damage     at a reported location that   is   not payable
             under    this policy    due   to thefailure to     add coveragefor any type ofproperty or other
             exposure at that reported location.

             The most the Company            will   payfor loss or damage under          this extension is the Limit    of
             Insurance specifiedfor Errors and Omissions shown in the Supplemental Coverage
             Declarations. But in no event will the Company pay more for loss or damage than the
             amount the Company would have paid had no error or unintentional omission occurred or
             had the period of automatic coverage for the newly acquired location not expired.

             Upon    discovery of the error or unintentional omission, the Insured will report the correct
             information to the Company.              An   additional premium        may be charged based upon         the
             corrected information.


      This decision        is   based on the information       ancl    documentation     we   received during our research of
      this claim.   you are aware of any new or different information or documentation that might
                      If


      lead us to reconsider our decision, please contact me immediately.


      Your policy may have other terms, conditions and exclusions that apply to                       this claim.     We do not
      waive any      rights, including      our right to deny coverage, for any other valid reason under the
      policy or at law.


      Please review the condition of your policy as                   it   contains important information about the period
      of time   in   which you may bring            legal action.    If    you have any questions, please contact      me    at
      (615)580—1901 or CKENNED4@trave|ers.com.


      If   you have any questions, please contact               me    immediately.




      Sincerely,




      Clay Kennedy
      General Adjuster
      Direct:   (615)580—1901
      Office:   (615)580-1901
      Fax:   (877)870-6257
      Email:    ckenned4@travelers.com



      Cc: Willis     Towers Watson
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 116 of 120 PageID
                             18C03-2105-PL-000061                          Filed:#: 121 5:13 PM
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                                    Delaware Circuit Court 3                  Delaware County, Indiana




                      EXHIBIT C
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 117 of 120 PageID #: 122




                      M
                               I




     Ice
     LEGAL COUNSEL
                               I I   Ier                             One American Square   Suite   2900   Indianapolis, IN   46282—0200




     February 10, 2021                                                                                        NICHOLAS B. REUHs
                                                                                                     DIRECT NUMBER:
                                                                                                                  (3 17) 236—2 l 60
                                                                                           E-MAIL: Nicholas.Reuhs@icemiller.com

      Via E-mail


     Mr. Clay Kennedy
     Travelers Property              Maj 0r Case Unit
     P. O.     Box 430
     Buffalo,        NY   14240
     ckenned4@travelers.com

                    Re:    Insured: Ivy Tech Community College 0f Indiana (“Ivy Tech”)
                           Insurer: The Travelers Indemnity Company (“Travelers”)
                           Claim Number: FQL0462              (the   “Claim”)
                           Policy Number: KTKCMB-1D917688                     (the “Policy”)
                           Date 0f Loss: November 24, 2020
                           Loss Location: 345        S.   High   Street,   Muncie, IN 46208 (the “Fisher Building”)

     Dear Mr. Kennedy:

            As you know, Ice Miller LLP is coverage counsel to Ivy Tech in connection with the above-
     referenced Claim. To that end, we are writing in response to your January 14, 2021 letter, wherein
     Travelers determined that “the Building damage portion” of the Claim is “not covered” under the
     Policy because “no Building value                  is listed   for the loss location in [Ivy Tech’s]              most recent
     Statement 0f Values[.]”

            This coverage decision seems borne of confusion, which should be clariﬁed by the
     explanation below. As such, we request that Travelers revise its coverage determination and agree
     to provide the full bargained-for            coverage in connection with the Claim.

                                              A. The Policv and Statement of Values

                    As your      under the Property Coverage Form of the Policy, Travelers agreed to
                              letter notes,

     pay for direct physical loss or damage to “Covered Property” caused by 0r resulting from a
     “Covered Cause of Loss.” In relevant part, the Policy deﬁnes “Covered Property” to mean “the
     buildings or other structures at the Insured’s premises for which a Building value                           is   shown     in the
     most recent Statement 0f Values or other documentation on ﬁle With the Company[.]” Thus, in
     order for a building t0 qualify for coverage under the Property Coverage Form, the value for the
     building must have been previously provided to Travelers — either in the most recent “Statement
     of Values” 0r through “other documentation” 0n ﬁle with Travelers.



 Ice Miller   LLP                                                                                                      icemiller.com
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 118 of 120 PageID #: 123
   Mr. Clay Kennedy
   February 10, 2021
   Page 2



          Notably, however, the Policy does not specify how the “Building value” must be shown in
   those documents. Rather, the Policy dictates only that a “Building value” must be “shown” in the
   documents. In this way, the Policy gives the insured discretion in deciding how to present a
   “Building value.” So long as a “Building value” is “shown” in the documents, the building
   qualiﬁes as a “Covered Property.”


           To          Tech owns or operates hundreds of buildings on its numerous campuses
                 that end, Ivy
   in Indiana.    As       Tech uses Microsoft Excel spreadsheets t0 create the “Statement 0f
                       a result, Ivy
   Values” Which Ivy Tech (and/or its broker) submits in connection With the Policy.     The
   spreadsheets include a variety 0f information relating t0 Ivy Tech’ s                   many buildings,   including (but
   not limited t0) building names, building types, building sizes, and building values. In some cases,
   the spreadsheet includes          all   0f the information pertaining        t0 a building (e.g., the building’s   name,
                                 same row 0f the spreadsheet. In other cases, information pertaining
   type, size, value, etc.) in the
   t0 some buildings may be reﬂected in different rows. For instance, Where two buildings served
   related purposes for Ivy Tech but are technically separate buildings, Ivy Tech might combine
   information pertaining t0 the related buildings 0n the “Statement 0f Values” spreadsheet. Ivy Tech
   has been implementing this approach With Travelers for years Without issue.


                                             B.     The Fisher and        Ball Buildings


           In 2018, Ivy       Tech and        its   contractors began implementing a construction project             0n Ivy
   Tech’s Muncie campus.              Among         other things, the project involved the renovation 0f the Fisher
   Building and the construction 0f the                   new George     & Francis Ball Building   (the “Ball Building”).
                         Tech had listed the Fisher Building 0n its “Statement ofValues” spreadsheet,
   Prior to that time, Ivy
   with a value        around $22 million. However, in light 0f its Muncie-campus construction
                    at 0r

   project, Ivy Tech procured a Builder’s Risk policy in or around 2018 and moved the Fisher
   Building to the Builder’s Risk policy (and off 0f the property policy) for the renovation period.
   Travelers was aware of the Muncie-campus project and Ivy Tech’s procurement 0f a Builder’s
   Risk policy.

           In or around        December 2018,               after  became clear that the renovations
                                                                    it                                       to the Fisher
   Building would generally be completed in                    2019, Ivy Tech informed its broker that
                                                                                      it intended to

   reoccupy the Fisher Building. We understand that Ivy Tech’s broker subsequently reiterated this
   intent to Travelers. Thus, by May 2019, the Fisher Building was added back to Ivy Tech’s
   “Statement 0f Values,” albeit with its pre-renovation value 0f $22 million. As the Ball Building
   was not   quite complete at the time             (it   would be ﬁnished    in the   coming months),   that building   was
   not included on the “Statement 0f Values.”


           Just   weeks      Ivy Tech began preparing for the 2020-2021 renewal of the Policy. As
                            later,

   part of that renewal, IvyTech needed to update the Fisher Building value and add the Ball Building
   t0 the Policy. As the Ball Building and the Fisher Building were part 0f the same proj ect, and due
   to the close proximity and relationship between the buildings, Ivy Tech (and/or its broker) listed
   the values for the two buildings together on the 2020-21 “Statement 0f Values” submitted for the
   2020-2021 Policy. Thus, the “Statement ofValues” provided in connection with that Policy shows
   a combined “Building Value” for the two buildings 0f $46,936,696 (approximately $15 million
   for the Ball Building and the balance for the Fisher Building).
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 119 of 120 PageID #: 124
   Mr. Clay Kennedy
   February 10, 2021
   Page 3



                               C. The Policv Provides Building Coverage for the Claim

          While listing the “Building value” for the Fisher Building together with the “Building
   value” for the Ball Building has caused some confusion in connection with this Claim, there is n0
   doubt that the “Building value” for the Fisher Building is shown in the “Statement 0f Values”
   submitted in connection With the 2020-2021 Policy. And, as noted above, all the Policy requires
                   be covered is that its “value is shown in the most recent Statement 0f Values ....”
   for a building t0
   The Policy does not require an insured t0 designate that “Building value” in any particular manner
   — by speciﬁc address, name, 0r other identiﬁer. Indeed, there are no requirements regarding how
   the “Statement 0f Values”must be formatted 0r how values within the “Statement 0f Values” must
   be shown. In other words, the Policy granted Ivy Tech discretion t0 show the “Building value”
   for the Fisher Building on the “Statement 0f Values” as it saw ﬁt. Moreover, the Policy also
   provides coverage where a “Building value” is shown in “other documentation” 0n ﬁle with
   Travelers. At a minimum, the “other documentation” 0n ﬁle with Travelers shows a “Building
   value” for the Fisher Building.1


             Providing coverage for the Claim                is   also consistent with the nature 0f the parties’
   agreement. Travelers  knew that Ivy Tech wanted building coverage for the Fisher Building, and
   the premium which Travelers charged Ivy Tech accounted for the “Building value” associated with
   the Fisher Building. That is, Travelers collected premiums for the Fisher Building. Thus, by
   providing coverage in connection with the Claim, Travelers will not be providing Ivy Tech with a
   Windfall 0r any unearned insurance. Rather, Travelers will merely be providing t0 Ivy Tech the
   bargained-for (and paid-for) coverage provided under the Policy.


                                  D. Legal Standards Governing Insurance Policies

             Also relevant       t0 this matter are several basic principles        0f insurance law:

             o        In construing insurance policies, Indiana courts              must   strive to give effect to the
                      reasonable expectations of the insured. Eli Lilly         &   C0.   v.   Home Ins.   C0.,   482 N.E.2d
                      467, 471 (Ind. 1985).

             o        Where    the terms of an insurance policy are ambiguous, the policy must be interpreted
                      “most favorable     t0 the insured” and “t0 further the policy’s basic purpose 0f
                      indemnity.” Id. at 470.

             o        An  insurance policy provides illusory coverage if the policy (0r a particular coverage
                      part) is “basically valueless t0 the insured” because the insured would “not recover
                      beneﬁts under any reasonably expected set 0f circumstances.” Nautilus Ins. C0. v.
                      Sunset Strip, Ina, 2015      WL
                                               4545876, at *6 (S.D. Ind. July 28, 2015) (internal citations
                      and quotations omitted). Where a policy         is   illusory, the court Will enforce its     terms t0




                                                       only addresses the “Statement 0f Values,” it is not clear Whether
   1
       Notably, because Travelers’ denial      letter

   Travelers     is   also maintaining that   it   has n0 documentation showing a “Building value” for the Fisher
   Building in    its   ﬁle.
Case 1:21-cv-01782-JRS-DML Document 1-2 Filed 06/16/21 Page 120 of 120 PageID #: 125
   Mr. Clay Kennedy
   February 10, 2021
   Page 4



                 “satisfy the reasonable expectations         of the insured.”        Id. at   *6 (internal citations and
                 quotations omitted).


           o     Where the terms of an insurance policy are ambiguous, course ofperformance evidence
                 may be used t0     interpret insurance policies.       1             Handling Insurance
                                                                            Practical Tools for
                 Cases § 1:42 (2020). In fact, “[t]he conduct 0f the parties can be an important source
                 for deriving their intent as t0 the meaning 0f the insurance contracts.” Id.


           o     If   an insurer retains the premiums paid 0n a policy, the insurer will be estopped from
                 denying liability under the contract.   Hitt v. Githens, 509 N.E.2d 210, 212 (Ind. Ct.
                 App. 1987).

   Individually and collectively, these well-established principles of law dictate that coverage should
   be granted to Ivy Tech in connection with the “Building damage portion” of the Claim.

                               E. Travelers        Must Revise   Its   Coverage Position

          Put simply, the building portion 0f the Claim is covered under the Policy because the
   “Building value” for the Fisher Building was shown in Ivy Tech’s most recent “Statement of
   Values.” Moreover, Ivy Tech paid the premiums associated with the building coverage for the
   Fisher Building. Accordingly,         it is   incumbent upon Travelers t0 revise its coverage determination
   and agree    to provide the full bargained-for       coverage in connection with the Claim.

           As   it is   necessary t0   move   this   Claim forward (whether through Proof of Loss submission
   or litigation),    we request   a formal response 0n 0r before March          1,   2021.




   NBdeat
